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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


JANE DOE, LUKE LOE, RICHARD ROE, and
MARY MOE, individually and on behalf of all
others similarly situated,
                              Plaintiffs,
             v.                               No. 1:18-cv-09936-LGS
THE TRUMP CORPORATION, DONALD J.
TRUMP, in his personal capacity,
DONALD TRUMP JR., ERIC TRUMP, and             JURY TRIAL DEMANDED
IVANKA TRUMP,
                            Defendants.


                     AMENDED CLASS ACTION COMPLAINT
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       Plaintiffs Jane Doe, Luke Loe, Richard Roe, and Mary Moe, on behalf of themselves and

others similarly situated, allege, upon personal knowledge as to themselves and information and

belief as to other matters, as follows:

                                          INTRODUCTION

       1.      This case is about four working-class Americans, and tens of thousands more just

like them, who were deliberately defrauded by Donald J. Trump, his family, and the corporation

that bears their name. The Trumps conned each of these victims into giving up hundreds or

thousands of dollars—losses that many experienced as devastating and life-altering. Surely the

Trumps dismissed these amounts (and the lives they wrecked) as trivial. But by defrauding so

many for so long, the Trumps made millions.

       2.      For more than a decade, Defendants The Trump Corporation, Donald J. Trump,

Donald Trump Jr., Eric Trump, and Ivanka Trump (the latter four, collectively, the “Individual

Defendants”) have operated a large and complex enterprise with a singular goal: to enrich

themselves by systematically defrauding economically marginalized people looking to invest in

their educations, start their own small businesses, and pursue the American Dream.

       3.      Central to Defendants’ fraudulent scheme was a company called ACN, a multi-

level marketing company (“MLM”) that offers a business opportunity to individual participants.

From 2005 to at least 2015, Defendants received millions of dollars in secret payments to

promote and endorse ACN. In return, Donald J. Trump (“Trump”) told prospective investors

that “[y]ou have a great opportunity before you at ACN without any of the risks most

entrepreneurs have to take,” and that ACN’s flagship videophone was doing “half-a-billion

dollars’ worth of sales a year.” Trump also told investors that he had “experienced the

opportunity” and “done a lot of research,” and that his endorsement was “not for any money.”

Not a word of this was true.
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       4.      In the minds of many Americans, the Trump brand was once synonymous with

entrepreneurial success. Indeed, Trump spent years cultivating a brand for himself and his

family based on the impression that he was a successful entrepreneur. Defendants conducted the

affairs of their enterprise as a fraudulent scheme to leverage that brand, and use a series of false

and misleading statements and omissions, to ensnare vulnerable consumers in certain so-called

business opportunities and training programs like ACN.

       5.      Defendants’ association-in-fact enterprise included an array of holding

companies, operating companies, licensing companies, a production company, a real estate

company, and two of the Trump golf clubs (collectively, the “Trump Association-in-Fact”). The

members of the Trump Association-in-Fact did not share common ownership, nor were they all

wholly owned, directly or indirectly, by Defendants. Nevertheless, at all relevant times, the

Trump Enterprise was operated, directed, and controlled by Defendants. Allen Weisselberg, the

Chief Financial Officer of “The Trump Organization,” testified at a June 2015 deposition that

The Trump Corporation was “the operating entity that we use,” and that the Individual

Defendants had the authority to sign checks “over all our entities.” Defendant Donald Trump Jr.

testified in a 2011 deposition that “[w]e kind of run a little bit like a mom-and-pop,” and

Defendant Ivanka Trump wrote in 2009 that she and Donald Trump Jr. were “integral members

of the management team.”

       6.      Defendant The Trump Corporation, as a legal entity and enterprise (the “Trump

Corp. Enterprise,” and, together with the with Trump Association-in-Fact, the “Trump

Enterprise”), was operated, directed, and controlled by the Individual Defendants.




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       7.      Between 2005 and at least 2015, the Trump Enterprise fraudulently promoted and

endorsed the business opportunities and training programs (collectively, the “Investments”)

offered by at least three consumer-facing companies:

               A.     ACN Opportunity, LLC (“ACN”), an MLM;

               B.     TTN, LLC (d/b/a “The Trump Network”), another MLM; and

               C.     Business Strategies Group, LLC (d/b/a “The Trump Institute”), a live-

                      seminar program that purported to sell Trump’s “secrets to success” in

                      extravagantly priced seminars.

       8.      In exchange for large, secret payments from these companies (collectively, the

“Endorsed Entities”), the Trump Enterprise deliberately misled consumers by delivering a

common and consistent message: (1) that prospective investors would have a reasonable

probability of commercial success if they bought into the Investments; (2) that Trump was

endorsing and promoting the Investments because he believed that they offered a reasonable

probability of commercial success (rather than because the Trump Enterprise was being paid);

and (3) that Trump’s endorsement was predicated on Defendants’ extensive due diligence, inside

information, and personal experience with the Investments (collectively, the “Message”).

       9.      The Message was materially false. The Investments did not—and could not—

offer a reasonable probability of success. Nor was Trump endorsing the Investments because he

believed they would. Defendants were aware that the vast majority of consumers would lose

whatever money they invested in the business opportunities and training programs the Endorsed

Entities offered. It was, after all, the potential to profit from consumers’ unrecouped investments

that drew the Trump Enterprise to the Endorsed Entities in the first place. And while Defendants

claimed to have conducted extensive diligence and research, and to have access to inside




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information or personal experience with the Investments, those claims too were false and

misleading.

       10.     The Message was delivered primarily by Trump himself, who made materially

false and misleading statements about the nature of the Investments, as well as about his own

incentives, diligence, and experience, in person at the Endorsed Entities’ events and in numerous

written publications and videos. But Trump was not alone: Defendants Donald Trump Jr., Eric

Trump, and Ivanka Trump each also disseminated (and conspired to disseminate) the Message

by, among other things, making false and misleading statements about the Investments,

appearing in various publications and on television in support of the Endorsed Entities, and

lending their own explicit and implicit endorsements, all without disclosing any compensation

for those appearances.

       11.     In addition, all Defendants deliberately enhanced, amplified, and augmented the

Message by, among other things, selling to the Endorsed Entities the right to use the Trump

brand, licensing the Trump name to certain of the Endorsed Entities, and even arranging for

ACN to appear (twice) on The Celebrity Apprentice—a primetime national television show that

the Trumps used for what Defendant Ivanka Trump has called a “transparent form of product

placement.” Ms. Trump noted that “the show’s producers (including my father, naturally) are

being compensated handsomely for the ‘free’ airtime” they offered to corporate sponsors. And

one of those very producers described the program as a “convenient vacation [from] the truth,”

especially for businesses that “weren’t actually doing very well”—businesses like ACN. The use

of the Trump brand and these appearances on The Celebrity Apprentice were intended to create

(and did create) a veneer of legitimacy and an impression of success, which further encouraged

consumers to take the Message seriously and rely on it. This veneer of legitimacy was further




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enhanced by Trump’s involvement with SUCCESS Foundation, a nonprofit with which ACN’s

founders had close ties, and which purported to distribute “personal development” books to

millions of teens.

       12.     As they conveyed the Message, Defendants repeatedly failed to correct the

impression they had deliberately taken steps to create—namely, the impression that Trump was

endorsing the Investments because he genuinely believed that the Investments offered a realistic

probability of commercial success, and that this belief was predicated on extensive due diligence,

inside information, and personal experience with the Investments. All of the Defendants

willfully failed to disclose their financial ties to—and quid pro quo arrangements with—the

Endorsed Entities.

       13.     The Message had the effect Defendants intended, and for which the Trump

Enterprise was lavishly paid. Trump’s seemingly genuine endorsement brought prospective

investors to the table and helped them overcome any lingering reservations about the

Investments. Indeed, for the working people who fell prey to the Investments, the Trump

endorsement was typically the first thing they learned about the Investments, the reason they

took an interest, and the determining factor in their decision to invest. “Trust me,” Trump often

said in endorsing and promoting the Investments. Unfortunately, far too many victims did.

       14.     Many of the Trump Enterprise’s victims were then and are now among the most

economically marginalized and vulnerable Americans. Indeed, the victims were specifically

targeted because they were not experienced in financial and commercial matters.

       15.     Those consumers did not achieve the success the Message promised. To the

contrary, Plaintiffs have suffered considerable financial loss because of their reliance on the false

and willfully misleading Message.




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       16.     As alleged above, ACN—short for American Communications Network—was

central to the aspect of Defendants’ fraudulent scheme that is challenged by this action. From

2005 to at least 2015, Defendants, through the Trump Enterprise, received millions of dollars in

secret payments to promote and endorse ACN. These secret payments took the form of speaking

fees for Trump’s appearances in ACN-related videos, publications, and events; payments for

ACN’s appearances on The Celebrity Apprentice; and fees for ACN golf tournaments held at

Trump golf clubs. All of this was deliberately concealed from unsuspecting ACN recruits.

       17.     In exchange for these undisclosed payments, Trump, acting in concert with and

through the members of the Trump Enterprise that Defendants controlled, repeatedly, explicitly,

and bombastically endorsed ACN, in myriad formats and forums. Defendants and the Trump

Enterprise made, disseminated, and conspired to disseminate numerous knowingly false and

misleading statements concerning the value of ACN’s technology, the soundness of its business

model, and the level of risk participants would face in pursuing the ACN business opportunity.

       18.     Defendants were fully aware that these statements were false and misleading. Not

only did the Trump Enterprise have a longstanding commercial relationship with ACN, but

Trump himself boasted of having close personal and financial ties to ACN’s founders and

principals, and Defendants Donald Trump Jr., Eric Trump, and Ivanka Trump all regularly

appeared alongside and were photographed with those founders and principals. Further, during

the time that Defendants were endorsing and promoting ACN, a Trump company (and member

of the Trump Association-in-Fact) opened a realty office at the golf course that had just been

rebranded the Trump National Golf Club in Mooresville, North Carolina, and entities controlled

by an ACN co-founder bought multiple properties nearby. In addition, information that was

accessible to Defendants (but not to the consumers to whom they were pitching the ACN




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business opportunity) made clear that the likelihood of commercial success for an average new

participant was miniscule.

       19.     In addition to making knowingly false and misleading statements about the nature

of the ACN business opportunity, Defendants made and disseminated false and misleading

statements indicating that Trump was endorsing the company because he believed that the ACN

business opportunity offered a reasonable probability of commercial success (rather than because

the Trump Enterprise was being paid), as well as statements designed to assure consumers that

they had done extensive research before endorsing ACN and had experience with the ACN

business opportunity. All available evidence is to the contrary.

       20.     The Trump Enterprise’s fraudulent promotion and endorsement of ACN had the

desired effect on Plaintiffs. Indeed, Plaintiffs made the fateful decision to invest in ACN

because of the Trump Enterprise’s promotion and endorsement. As the truth behind the Message

emerged, Plaintiffs eventually realized that they had been scammed, cut their losses, and quit the

business. The Trump Enterprise’s fraudulent Message was thus the cause of both the Plaintiffs’

investments and the Plaintiffs’ losses.

       21.     Plaintiff Jane Doe is a resident of California who works as a hospice caregiver. In

2014, Doe attended a meeting for prospective ACN recruits. As she listened to the presentations,

Doe was skeptical and unpersuaded. But then she saw a promotional video prominently

featuring Trump. Trump’s endorsement was a turning point. Doe watched clips of ACN

appearing on The Celebrity Apprentice, where Trump, Donald Trump Jr., and Ivanka Trump

stood alongside the founders and praised the company. Among other things, Doe specifically

recalls hearing and relying on Trump’s statement that “You have a great opportunity before you

at ACN without any of the risk most entrepreneurs have to take.” She listened as Trump said




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that investing in ACN was a great business opportunity—and that the strength of the business

opportunity was why he was endorsing it. She believed he had researched ACN extensively, and

that his statements were supported by his own research. Doe had no idea Trump was being paid

lavishly for his endorsement—the video made no mention of that. Doe joined ACN then and

there. Despite her limited resources, Doe wrote a check for the $499 registration fee, in reliance

on Trump’s endorsement. In the two years that followed, Doe paid thousands of dollars in fees

and expenses to attend ACN events and host ACN meetings in an effort to succeed with the

business. But, ultimately, she had extremely limited success—she earned a single check for $38.

Eventually, Doe realized that ACN was not at all what Trump had described, and that she was

just going to continue losing money. When her next annual renewal date came up, Doe decided

not to renew her position.

       22.     Plaintiff Luke Loe is a self-employed resident of California. Loe first heard about

ACN in mid-2014 when he was working for the Salvation Army in Los Angeles, California. A

colleague approached Loe and invited him to an informational meeting in Los Angeles. At that

meeting, Loe saw a promotional video prominently featuring Trump. Loe had watched The

Celebrity Apprentice a few times and had seen Trump present himself as a savvy, experienced,

and knowledgeable entrepreneur who had achieved remarkable wealth and celebrity. One of the

things that Loe recalls relying on was Trump’s statement that “ACN is leading the way in a new

technology that will literally revolutionize the way we communicate with the ACN video phone.

And trust me it’s changing everything. The absolute truth is that this technology will be present

in every home within the next several years.” Critically for Loe, Trump also promoted ACN as a

“good moneymaking opportunity” and said that he was glad to be a part of ACN because he

genuinely believed the company provided a path to commercial success. Trump’s endorsement




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was the key factor in Loe’s decision to invest in the ACN business opportunity. Despite being

homeless at the time, Loe paid the $499 registration fee with a loan from a colleague. Though

Loe worked hard and attended more than 25 or 30 meetings, Loe never received any income

from ACN. Loe came to realize that, contrary to what Trump had said in the promotional videos,

ACN was not a good moneymaking opportunity, and he decided not to renew his membership.

       23.     Plaintiff Richard Roe is a resident of Maryland who works as a food delivery

driver. Roe first learned about ACN in mid-2016. Though Roe was initially skeptical about

investing in ACN, he decided to look up ACN on YouTube—and the first thing that caught his

eye was a video of Trump and Ivanka Trump from The Celebrity Apprentice, where the Trumps

stood next to two of the ACN founders, Greg Provenzano and Tony Cupisz, and endorsed ACN,

and Trump said he knew the company well. As with other Plaintiffs, the video was the turning

point for Roe. Roe believed that Trump was a successful businessman who knew how to make

money and that, by promoting ACN, Trump was telling others that they too could make money

and become successful business owners like him. As substantiation for that belief, Roe

remembers hearing Trump say that “When evaluating a business opportunity, people need to

look for strong leadership, a solid track record, success stories, a strong product people really

need and want and a clear plan for the future. ACN has all of these things.”

       24.     Though Roe was not able to afford the $499 registration fee at first, he saved up

and paid a few months later. After signing up, Roe incurred multiple additional fees and

expenses connected with his participation in ACN. At no time did Roe recover any of the money

that he invested. Eventually, Roe recognized that he was not making any money from ACN and

that Trump’s message was false. Roe then stopped engaging with ACN and did not renew his

position.




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       25.     Plaintiff Mary Moe is a resident of Pennsylvania. Moe signed up with ACN in

April 2013. Like so many others, she was recruited into ACN at a local meeting, the centerpiece

of which was a promotional video prominently featuring Trump’s endorsement. Moe watched

intently as Trump described ACN as a great, sophisticated company, and as he touted and

praised ACN’s products, even suggesting that he used the products himself. Most of all, Moe

was moved by Trump’s statement that there was huge potential to make money with ACN. Moe

did not have the money to sign up right away, but on her next pay day, Moe paid the $499

registration fee. She spent nearly two years working hard to pursue the business opportunity,

buying and studying training and promotional materials, pitching the products and the business

opportunities, and attending numerous meetings. Her repeated exposure to Trump’s false and

misleading statements kept her investing for a while. Indeed, at every meeting, organizers

reminded participants about Trump’s involvement. Moe remembers relying on various

statements from Trump including that “There are a few simple things a company must have in

order for me to believe in it . . . and ultimately for the company to be a success. ACN has all

these things and more.” But despite her hard work, Moe was not able to make money, and

ultimately she realized that she had been misled by Trump’s endorsement. At the end of 2014,

she cut her losses and left the company.

       26.     But for Defendants’ fraudulent promotion and endorsement of ACN, acting

through the Trump Enterprise, Plaintiffs would not have paid the initial fee to sign up with ACN,

would not have paid renewal fees, would not have incurred expenses attending meetings and

traveling to conventions, would not have purchased business tools and incurred other expenses in

attempting to recruit customers and other participants, and would not have forgone other income.




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       27.     ACN was not the only consumer-facing company selling a business opportunity

or training program for which Defendants agreed to disseminate the Message through the Trump

Enterprise in exchange for secret payments.

       28.     In 2005, Trump licensed his name to Business Strategies Group, LLC (d/b/a “The

Trump Institute”), a company that purported to sell Trump’s secrets for success in the real estate

business in the form of extravagantly priced multi-day training seminars. In reality, a substantial

amount of the content sold to those hungry to learn Trump’s insights for success in real estate

investing was plagiarized from other sources, and Trump had nothing to do with the purported

teachings of the so-called “Institute.”

       29.     In addition, during its years of doing business with ACN, the Trump Enterprise

was so impressed with its profitability that, in 2009, Defendants, acting through the Trump

Enterprise, made a deal with another MLM, which purported to sell vitamins and other similar

commodity products through a network of independent distributors. Unlike the deal with ACN,

Defendants agreed to license the Trump brand to the MLM, which was then dubbed the Trump

Network. This deal was an effort on the Trump Enterprise’s part to deepen its involvement with

the MLM industry—reflecting Defendants’ knowledge, based on its close relationship with

ACN, that the widespread losses of average investors in these sorts of MLMs can generate

enormous profits for the owners. Shortly after signing the licensing deal with the Trump

Enterprise, the Trump Network hired an ACN advisor to redesign its own compensation plan.

       30.     The Trump Enterprise was paid in secret to endorse and promote the Trump

Network from 2009 until the end of 2011, shortly before the Trump Network collapsed. As with

ACN, Defendants, acting through the Trump Enterprise, made or disseminated a series of

knowingly false statements about the retail demand for its products, and the likelihood of success




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for the participants in its business opportunities, as well as statements designed to mislead

consumers into believing that the endorsement was genuine and predicated on appropriate

diligence, inside information, and personal experience.

       31.     As a result of Defendants’ fraudulent promotion and endorsement of the

Investments Defendants are liable for a pattern of racketeering activity in violation of the

Racketeer Influenced and Corrupt Organization (“RICO”) Act, 18 U.S.C. § 1962(c); conspiring

to violate RICO, 18 U.S.C. § 1962(d); false advertising under California Business and

Professions Code § 17500; unfair competition under California Business and Professions Code

§ 17200; unfair and deceptive trade practices under the Maryland Consumer Protection Act;

unfair and deceptive acts under the Pennsylvania Unfair Trade Practices and Consumer

Protection Law; common law fraud; and common law negligent misrepresentation.

                                            PARTIES

       A.      Plaintiffs

       32.     Plaintiff Jane Doe is a resident, citizen, and domiciliary of California, who

participated in the ACN business opportunity from 2014 to 2016 because of the Trump

Enterprise’s fraudulent promotion and endorsement of ACN.

       33.     Plaintiff Luke Loe is a resident, citizen, and domiciliary of California, who

participated in the ACN business opportunity from 2014 to 2015 because of the Trump

Enterprise’s fraudulent promotion and endorsement of ACN.

       34.     Plaintiff Richard Roe is a resident, citizen, and domiciliary of Maryland, who

participated in the ACN business opportunity from 2016 to 2017 because of the Trump

Enterprise’s fraudulent promotion and endorsement of ACN.




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       35.     Plaintiff Mary Moe is a resident, citizen, and domiciliary of Pennsylvania, who

participated in the ACN business opportunity from 2013 to 2014 because of the Trump

Enterprise’s fraudulent promotion and endorsement of ACN.


       B.      Defendants

       36.     Defendant The Trump Corporation is a corporation incorporated under the laws of

the State of New York, with a principal place of business at 725 Fifth Avenue, New York, New

York, 10022. The Trump Corporation is itself an enterprise within the meaning of 18 U.S.C.

§ 1961(4) and is also the principal operating company for the collection of companies known as

The Trump Organization. Along with Defendant Donald J. Trump and the other Individual

Defendants, The Trump Corporation operates the Trump Association-in-Fact.

       37.     Defendant Donald J. Trump is currently the President of the United States,

although he is sued here in his personal capacity only. At all times relevant to this Complaint,

Trump was the Director, President, Chairman and sole shareholder of The Trump Corporation.

Trump is a resident, citizen, and domiciliary of New York.

       38.     Defendant Ivanka Trump is Defendant Donald J. Trump’s daughter. She

currently acts as Advisor to the President of the United States, although she is sued here in her

personal capacity only. Ivanka Trump was Vice President of The Trump Corporation from 2009

to 2017, and Executive Vice President of TNGC Charlotte, LLC from 2011 to 2017, Trump

National Golf Club, LLC from 2008 to 2017, and T International Realty, LLC from 2012 to

2017. Ivanka Trump is a resident, citizen, and domiciliary of New York.

       39.     Defendant Donald Trump Jr. is Defendant Donald J. Trump’s son. During the

relevant time period, Donald Trump Jr. held senior executive positions at, or otherwise exercised




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control over, entities included in or associated with the Trump Enterprise. Donald Trump Jr. is a

resident, citizen, and domiciliary of New York.

       40.     Defendant Eric Trump is Defendant Donald J. Trump’s son. During the relevant

time period, Eric Trump held senior executive positions at, or otherwise exercised control over,

entities included in or associated with the Trump Enterprise. Eric Trump is a resident, citizen,

and domiciliary of New York.

                                 JURISDICTION AND VENUE

       41.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, because

this action arises under the laws of the United States; 28 U.S.C. § 1332, because the parties are

completely diverse in citizenship and the amount in controversy exceeds $75,000; and 18 U.S.C.

§ 1964(c), because Plaintiffs assert claims under the Racketeer Influenced and Corrupt

Organizations Act (“RICO”), 18 U.S.C. § 1961 et seq. This Court also has subject-matter

jurisdiction pursuant to the Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d)(2), because

this is a class action, including claims asserted on behalf of a nationwide class, filed under

Rule 23 of the Federal Rules of Civil Procedure; there are at least tens of thousands of putative

class members, each of whom, like Plaintiffs, suffered at least $500 in damages; the aggregate

amount in controversy exceeds the jurisdictional amount or $5,000,000; and Defendants are

citizens of a State different from that of Plaintiffs and members of the Class. This Court has

supplemental jurisdiction over Plaintiffs’ state-law claims under 28 U.S.C § 1367, because those

claims are substantially related to Plaintiffs’ claims under federal law. Declaratory relief is

available pursuant to 28 U.S.C. §§ 2201 and 2202.

       42.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1) and (2)

because, among other things, Defendants reside in this District, and a substantial part of the

transactions and events giving rise to Plaintiffs’ claims occurred in this District.


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                                             FACTS

I.     THE TRUMP ENTERPRISE

       A.     The Trump Association-in-Fact

       43.    At all times relevant to this Complaint, the Trump Association-in-Fact was an

association-in-fact within the meaning of 18 U.S.C. § 1961(4), comprised of a network of

companies and individuals that shared a common purpose of earning revenue from the Endorsed

Entities in exchange for conveying the false and misleading Message. In other words, the

mission of the Trump Association-in-Fact was to carry out the scheme to defraud consumers.

       44.    The Trump Association-in-Fact was made up of a network of companies and

individuals that carried out the scheme under Defendants’ direction and control. The Trump

Association-in-Fact included several companies within the group of companies that operate

under the banner of “The Trump Organization.” Known members of the Trump Association-in-

Fact, which were also members of the Trump Organization, included the following:

                  a) Defendant The Trump Corporation;

                  b) Defendant Donald J. Trump;

                  c) Defendant Ivanka Trump;

                  d) Defendant Donald Trump Jr.;

                  e) Defendant Eric Trump;

                  f) Trump Productions, LLC (“Trump Productions”), which co-

                      produced The Celebrity Apprentice in association with Mark

                      Burnett Productions;

                  g) DSN Licensing, LLC, which licensed Trump’s name and brand to

                      The Trump Network;




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                    h) Trump University, LLC, which licensed Trump’s name and brand

                        to the Trump Institute;

                    i) T International Realty, LLC (“Trump International Realty”), a

                        Delaware LLC that is engaged in the business of acquiring and

                        developing property;

                    j) Trump National Golf Club, LLC, a New York LLC that operates

                        the Trump National Golf Club in Westchester County, New York;

                        and

                    k) TNGC Charlotte, LLC, a Delaware LLC that operates the Trump

                        National Golf Club in Mooresville, North Carolina.

        45.     The identities of other members of the Trump Association-in-Fact are currently

unknown but are expected to be identified through the discovery process.

        46.     The members of the Trump Association-in-Fact did not share common ownership,

nor were they all wholly owned, directly or indirectly, by Defendants. Nevertheless, at all

relevant times, the Trump Association-in-Fact was operated, directed, and controlled by

Defendants. Defendants approved, authorized, and/or either specifically or tacitly directed,

ratified or participated in the acts of the Trump Association-in-Fact detailed in this Complaint.

        47.     Allen Weisselberg, the Chief Financial Officer of “The Trump Organization,”

testified at a June 2015 deposition that The Trump Corporation was “the operating entity that we

use,” and that Trump and his children were among the small group of people who had the

authority to sign checks “over all our entities.” In a 2011 deposition, Defendant Donald Trump

Jr. testified: “We kind of run a little bit like a mom-and-pop in that sense . . . . I guess there is




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an organizational chart, but in theory, there is not too many levels. . . . Could I make one? Yes.

Is there one officially? Not that I’m aware of.”

        48.     Ivanka Trump served as a Vice President of The Trump Corporation from 2009 to

2017, and Executive Vice President of TNGC Charlotte, LLC from 2011 to 2017, Trump

National Golf Club, LLC from 2008 to 2017, and T International Realty, LLC from 2012 to

2017.

        49.     At various times during the relevant period, Donald Trump Jr. was an Executive

Vice President of The Trump Organization, the President of TNGC Charlotte LLC, and a

manager and Executive Vice President of T International Realty LLC. Donald Trump Jr. also

has been reported to have “had his hands in just about every Trump project over the years.” 1

Donald Trump Jr. is also a trustee of The Donald J. Trump Revocable Trust.

        50.     At various times during the relevant period, Eric Trump was CEO of the Trump

Corporation and The Trump Organization, the President of T International Realty LLC, CEO of

Trump Productions LLC, and President of the Eric Trump Foundation (now known as

Curetivity). Eric Trump is also chairman of the advisory board of the Donald J. Trump

Revocable Trust.

        51.     The Individual Defendants also have served for years as the directors of the

Donald J. Trump Foundation (the “Trump Foundation”). In June 2018, the New York Attorney

General filed suit against the Trump Foundation and its directors, alleging a “pattern of illegal

conduct,” including “improper and extensive political activity, repeated and willful self-dealing

transactions, and failure to follow basic fiduciary obligations or to implement even elementary

corporate formalities required by law.” See Petition ¶ 1, People of the State of New York v.


1
  Julia Ioffe, The Real Story of Donald Trump Jr., GQ (June 20, 2018), https://www.gq.com/story/real-
story-of-donald-trump-jr.


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Donald J. Trump, Index No. 451130/2018 (June 14, 2018), ECF No. 1. The New York Attorney

General sought, among other things, “to dissolve the Foundation for its persistently illegal

conduct, [and] enjoin its board members from future service as a director of any not-for-profit

authorized by New York law.” Id. In December 2018, the Trump Foundation agreed to

dissolve.


       B.      The Trump Corp. Enterprise

       52.     At all times relevant to this Complaint, The Trump Corporation was an enterprise

within the meaning of 18 U.S.C. § 1961(4) (the “Trump Corp. Enterprise”), operated, directed

and controlled by high-level executives, including without limitation Defendants Donald J.

Trump, Ivanka Trump, Donald Trump Jr., and Eric Trump, who worked together to generate

revenue from the Endorsed Entities in exchange for conveying the false and misleading Message.

The mission of the Trump Corp. Enterprise was to carry out the scheme to defraud consumers.

       53.     The Trump Enterprise and the Trump Corp. Enterprise are referred to collectively

as “The Trump Enterprise.”


II.    BETWEEN THE EARLY AND MID-2000S, TRUMP REINVENTED HIS BRAND,
       AND THE TRUMP ENTERPRISE BEGAN TO CONCOCT ITS FRAUDULENT
       SCHEME

       54.     In the early 2000s, The Trump Organization was in dire straits. It was saddled in

debt left over from Trump’s extravagances in the early 1990s. In 1995, Trump had rolled up The

Trump Organization’s hotel and casino businesses into a public company, Trump Hotels &

Casino Resorts, Inc. In the years that Trump was the company’s chairman, the company lost

more than $1 billion and was in the red every year from 1995 to 2005. It filed for bankruptcy in

2004 (the fifth corporate bankruptcy filing in Trump’s career). Shareholders and creditors

suffered devastating losses. Indeed, Trump’s Taj Mahal casino in Atlantic City went bankrupt


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even though Trump’s father, Fred Trump, reportedly made at least one quiet loan to the casino

by buying $3 million in chips and not using them. 2

       55.     By the early 2000s, Trump himself was living on a personal allowance from a

syndicate of banks as part of their deal to restructure the organization’s debt. The New York

tabloid press often ridiculed Trump for continuing to live a lavish lifestyle while his empire

crumbled around him. He needed a way to restore his brand—and to start making money again.

       56.     Trump began rebuilding his brand and public persona in the early 2000s. His real

breakthrough in this comeback came when he agreed to host the reality television show, The

Apprentice, and its successor, The Celebrity Apprentice. 3

       57.     In 2002, Mark Burnett, the creator of the highly successful reality television

show, Survivor, approached Trump with the idea for The Apprentice. The pitch was that the

show would feature “Trump’s whole empire—Trump Tower, the casinos, the hotels, the

helicopter and the jet, the opulent apartment, and the splendor of Mar-a-Lago.” 4 Each episode

would feature contestants competing in business-oriented tasks, with Trump evaluating their

performance and “firing” each episode’s least impressive competitor. The ultimate prize at the

end of the season was a job at The Trump Organization.

       58.     Trump loved the idea, and soon the deal was done. On the air beginning in

January 2004, The Apprentice was produced by Mark Burnett Productions in association with

Trump Productions, LLC, a company within the Trump Enterprise that was effectively controlled

by Defendants. Mark Burnett and Trump were executive producers, and Trump Productions,

LLC owned 50% of the show.


2
  See Netflix, Dirty Money, Season 1, Episode 6: The Confidence Man (2018).
3
  See generally Michael Kranish & Marc Fisher, Trump Revealed 210–20 (2016).
4
  See Michael Kranish & Marc Fisher, The Inside Story of How “The Apprentice” Rescued Donald
Trump, Fortune (Sept. 8, 2016), http://fortune.com/2016/09/08/donald-trump-the-apprentice-burnett/.


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       59.    In 2007, The Apprentice became The Celebrity Apprentice. Instead of ordinary

people competing for a job at The Trump Organization, contestants were celebrities who

competed to win cash donations for their nominated charities. Defendants Donald Trump Jr.,

Ivanka Trump, and Eric Trump, were all advisors to The Apprentice and The Celebrity

Apprentice, and each appeared on dozens of episodes.

       60.    These shows portrayed Trump to an audience of millions around the country as a

credible and authoritative voice in the world of business—a man portrayed, in the words of

biographers Michael Kranish and Marc Fisher, as “supremely competent and confident,

dispensing his authority and getting immediate results.” Far from the hard-scrabble Queens-to-

Brooklyn-to-Manhattan property developer whose empire was collapsing under debt, Trump was

presented to the world as a highly successful and fabulously wealthy entrepreneur and

businessman. As Trump boasted in a voice-over at the start of an episode:

              I’m the largest real-estate developer in New York. I own buildings all
              over the place. Model agencies, the Miss Universe pageant, jetliners,


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              golf courses, casinos, and private resorts like Mar-a-Lago. . . . I’ve
              mastered the art of the deal and have turned the name Trump into the
              highest-quality brand. And as the master, I want to pass along some of
              my knowledge to somebody else.




       61.    In contrast to the image of Trump projected to the television audience, The

Apprentice’s producers candidly acknowledged that their portrayal of Trump was pure fiction.



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One of the producers commented that the producers intended Trump’s persona on The

Apprentice to be a satirical figure:

                  How funny is it to have this washed-up, 5-time bankruptcy guy, who
                  lives in a golden palace that other people are paying for—that he is now
                  the “executive in charge of this big corporation”? 5




          62.     Of the show’s impact on its audience, the producer commented that “a lot of

people who watched the show believed in Donald Trump that we were presenting, in this

character . . . [but] it was a scam, that was entertainment.” Trump’s character was “a construct,

almost from the very beginning.” In a podcast interview with producer Bill Pruitt, an NPR

reporter noted that “it’s not just that they ignored the offensive comments, the producers, editors




5
    See Netflix, Dirty Money, Season 1, Episode 6: The Confidence Man (2018).



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cut out other bad stuff, too, and they played up the good stuff”—in other words, they “helped

create a Donald Trump who wasn’t the real Donald Trump.” 6

       63.     Pruitt expanded on this theme as follows:

               BILL PRUITT: . . . the jet was, you know, questionable whether it
               would fly that week. The helicopter was up for sale, I believe. We
               didn’t know if we were going to have it next week.

               KELLY MCEVERS: Huh. But that’s not the way you made it look . . . .

               BILL PRUITT: Not at all.

               KELLY MCEVERS: . . . In that opening sequence.

               BILL PRUITT: Exactly.

               KELLY MCEVERS: Oh, my gosh. You created a fiction, a fictional
               billionaire.

               BILL PRUITT: Well, he had been a billionaire. I mean, everything we
               said about him was truthful. It’s what we didn’t say about him. Do you
               know what I mean? It was a convenient vacation of the truth. . . . [A]
               cultural icon emerged because we weren’t necessarily truthful about our
               portrayal. 7

       64.     The Apprentice was a hit, both financially and for Trump’s larger project to

restore his brand. As one commentator put it: “The Apprentice really overnight repositioned

[Trump] in the American imagination as the embodiment of dealmaking savvy, capable

entrepreneur, and business success.” 8




6
  Kelly McEvers, Trump Stories: The Apprentice, NPR (Oct. 11, 2017),
https://www.npr.org/templates/transcript/transcript.php?storyId=555768139.
7
  Id. (emphasis added).
8
  See Netflix, Dirty Money, Season 1, Episode 6: The Confidence Man (2018).


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       65.    A defining aspect of Trump’s rebuilt brand was the notion that Trump was very

rich. The Apprentice portrayed him as enjoying the trappings of extraordinary wealth. Trump

was shown in private jets, at luxury golf courses, surrounded by beauty pageant contestants, and

strolling through the marble-and-brass excess of his Trump Tower apartment.




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       66.     A court document reportedly filed on Trump’s behalf in December 2009—at the

peak of the success of The Celebrity Apprentice—explained the centrality of this perception of

wealth to Trump’s brand:

               Critical to Trump’s success in business is the fact that he is widely
               recognized by both the financial community and the public as a skilled,
               successful businessman, who has financial resources totaling billions of
               dollars. . . . Trump’s ability to close deals and secure financing for his
               projects depends on investors trusting his reputation and net worth.

(emphases added).




       67.     Trump has a long and storied history of wildly exaggerating his net worth. In one

notorious account, Trump told an author in early 2005 that he was worth “five to six” billion

dollars—a significant increase from the “four to five billion dollars” Trump had told the same



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author before. A brochure for one of Trump’s clubs around the same time claimed he was worth

“$9.5 billion.” 9 The author conducted further research, and was told by people who claimed

“direct knowledge” of Trump’s finances that his net worth was “somewhere between $150

million and $250 million.” 10

       68.     When the author published this account, Trump sued the author in the Superior

Court of New Jersey on the basis that the author had defamed him by understating his wealth.

The Superior Court granted summary judgment in the author’s favor, holding that Trump had

failed to prove that the author published the statements regarding Trump’s wealth with actual

malice. In affirming the Superior Court’s decision, the Appellate Division held that there was no

“reliable information” contradicting the author’s reports and that the author had no “obvious

reasons to doubt the veracity” of his sources’ statements. 11 The court noted that “Trump’s

estimates of his own worth changed substantially over time,” and quoted from Trump’s

deposition in the case:

               Q: Now, Mr. Trump, have you always been completely truthful in your
               public statements about your net worth of properties?

               A: I try.

               Q: Have you ever not been truthful?

               A: My net worth fluctuates, and it goes up and down with markets and
               with attitudes and with feelings, even my own feelings, but I try.

               Q: . . . You said that the net worth goes up and down based upon your
               own feelings?

               A: Yes, even my own feelings, as to where the world is, where the world
               is going, and that can change rapidly from day to day. . . . So yeah, even
               my own feelings affect my value to myself.


9
  See Michael Kranish & Marc Fisher, Trump Revealed 293–308 (2016).
10
   Id.
11
   Trump v. O’Brien, 422 N.J. Super. 540, 557, 29 A.3d 1090, 1101 (App. Div. 2011).


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               ...

               Q: When you publicly state what you’re worth, what do you base that
               number on?

               ...

               A: I would say it’s my general attitude at the time that the question may
               be asked. And as I say, it varies. 12

       69.     The Court also noted that the document that Trump principally relied on to

establish that he was a billionaire had “limited value as an accurate representation of Trump’s net

worth” as it was “not audited” and disclosed on its face “significant departures from generally

accepted accounting principles.” 13

       70.     Put simply, through The Apprentice and other means, Trump painted himself as a

billionaire who had achieved the pinnacle of financial success. But, in reality, Trump

consistently exaggerated his wealth and success, and hid from his audiences any evidence by

which they could assess his true financial position (and that of The Trump Organization).

       71.     In the mid-2000s, to capitalize on Trump’s rebuilt brand and massive exposure,

Defendants concocted a scheme to use Trump’s brand and reputation to promote other

businesses and brands that were willing to pay for the privilege, as Ivanka Trump has explained.

       72.     In her 2009 book, The Trump Card, Ivanka Trump explained that her and Donald

Trump Jr.’s “prominent roles” on The Celebrity Apprentice made them “almost instant

celebrities.” 14 In Ivanka Trump’s words, “Don and I were cast as high-profile emissaries for my

father’s company, and the Trump ‘brand’ seemed to transition in real estate and media circles

into more of a family brand. Because of our roles on the show, people were suddenly inclined to


12
   Id. at 555–56.
13
   Id. at 554.
14
   Ivanka Trump, The Trump Card 186–87 (2009).



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take us more seriously than they might have otherwise.” 15 They also became more powerful

officials within—and more prominent representatives of—The Trump Organization, including

through high-level positions at The Trump Corporation and other Association-in-Fact

entities. Ms. Trump explained that the celebrity she and her brothers achieved through their

television appearances had an “immediate impact at the Trump Organization, where [they]

suddenly slotted in as integral members of the management team,” noting that “in fact, we’d held

those positions all along, but in our own, low-key way.” 16 Ms. Trump similarly told CBS news

that, through The Apprentice, she and her brothers “became more visible as a part of the

organization and a part of what the Trump brand stands for.” 17

       73.     According to Ms. Trump, “I discovered early on that I had an intuitive

understanding of marketing.” 18 Ms. Trump has said that, “[a]s an ambassador of the Trump

organization, I spend a lot of time thinking about branding considerations.” 19 The Trump brand,

as she sees it, communicates “luxury and uncompromising quality,” and that brand has “been the

cornerstone of our business.” 20 The family’s “worldwide media exposure,” including through

The Apprentice and The Celebrity Apprentice, has “created tremendous value” for that brand, as

well as those associated with it. 21 Equally as important, Ms. Trump has recognized that inviting

key partners to appear on The Celebrity Apprentice provides them with a marketing benefit for

which they might reward the Trump Organization—after one networking contact “appeared on


15
   Id.
16
   Id.
17
   Dan Schawbel, Branding Advice from Ivanka Trump (Mar. 17, 2010),
https://www.cbsnews.com/news/branding-advice-from-ivanka-trump/ (quoting Ivanka Trump).
18
   Ivanka Trump, Women Who Work 35 (2017).
19
   Dan Schawbel, Branding Advice from Ivanka Trump (Mar. 17, 2010),
https://www.cbsnews.com/news/branding-advice-from-ivanka-trump/ (quoting Ivanka Trump).
20
   Ivanka Trump, The Trump Card 190 (2009).
21
   Id.



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an episode of Celebrity Apprentice,” Ms. Trump said that their relationship “has come full circle,

as his company sells my collection online.” 22

       74.     Ms. Trump has been crystal clear that Defendants used The Apprentice and The

Celebrity Apprentice as a vehicle to promote and endorse brands: “In a world obsessed with

branding and celebrity, our partners are very impressed to see this kind of validation of their

decision to work with the Trump brand. They love the fanfare and the positive spillover to our

joint efforts.” 23 While Ms. Trump has said that “You can’t put a price on that kind of

exposure,” 24 the Trumps did indeed put a price on it:

               [Apprentice producer Mark] Burnett and Trump negotiated with NBC to
               retain the rights to income derived from product integration, and split the
               fees. On set, Trump often gloated about this easy money. One producer
               remembered, “You’d say, ‘Hey, Donald, today we have Pepsi, and
               they’re paying three million to be in the show,’ and he’d say, ‘That’s
               great, I just made a million five!’” 25

       75.     Ms. Trump further explained that these arrangements constituted “a transparent

form of product placement”:

               During the 2009 season of Celebrity Apprentice, I managed to integrate
               my role at the Trump Organization with my television persona in such a
               way that it reinforced my jewelry brand. . . . You see, one of the
               hallmarks of my father’s television show has been the brand-backed
               tasks or projects the contestants are assigned. These invariably involve a
               corporate sponsor, which naturally looks to integrate its product or
               service into our story line so that there’s a clear carryover benefit to its
               business. Think of it as a transparent form of product placement, but
               you can be sure that NBC and the show’s producers (including my



22
   Ivanka Trump, Women Who Work 68 (2017).
23
   Ivanka Trump, The Trump Card 189 (2009).
24
   Id. at 241.
25
   Patrick Radden Keefe, How Mark Burnett Resurrected Donald Trump as an Icon of American Success,
The New Yorker (Jan. 7, 2019), https://www.newyorker.com/magazine/2019/01/07/how-mark-burnett-
resurrected-donald-trump-as-an-icon-of-american-success (emphasis added).



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               father, naturally) are being compensated handsomely for the “free”
               airtime. 26

       76.     Producer Bill Pruitt has explained that the show was particularly good at

promoting businesses that in reality were struggling:

               KELLY MCEVERS (podcast host): Think about it. Donald Trump was
               getting paid a salary by NBC to have this huge platform where he could
               promote his businesses, even when some of those businesses weren’t
               actually doing very well.

               BILL PRUITT: The brands, you know, like Taj Mahal—it was
               enormously difficult to promote that because you walk in there, and you
               see, you know, neons falling. It was the Ta Mahal or something. You
               know, there was no J because the neons were out. [Laughter]. They just
               hadn’t had the opportunity to replace it yet. It wasn’t a priority because
               the carpets were already rotting, and, you know, it just stank to high
               heaven.

               ...

               KELLY MCEVERS: In helping make “The Apprentice,” Bill says he
               was a good con artist. . . . And on “The Apprentice,” his con helped take
               Donald Trump all the way to the White House. 27

       77.     Having rehabilitated Trump’s personal image and created a false brand of

extraordinary wealth and success, elevated Trump’s children to national celebrities, and created a

massively popular platform to promote struggling businesses that were willing to pay,

Defendants concocted a further scheme to use the rehabilitated Trump brand, their national

celebrity, and their platform, as well as their casual willingness to make false and misleading

statements, to defraud consumers who were inspired by Trump’s apparent wealth and success.

       78.     Beginning in 2005, the year after The Apprentice first aired, Defendants used the

Trump Enterprise to operate a fraudulent scheme in which companies that offered training


26
  Ivanka Trump, The Trump Card 239 (2009) (emphasis added).
27
  Kelly McEvers, Trump Stories: The Apprentice, NPR (Oct. 11, 2017),
https://www.npr.org/templates/transcript/transcript.php?storyId=555768139.


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programs and/or business opportunities to ambitious and entrepreneurial consumers paid the

Trump Enterprise in secret in exchange for the Trumps’ conveying the Message, with the full

weight of Trump’s personal brand and his family’s brand behind it. Defendants’ conspired and

knowingly designed their scheme to defraud consumers and enrich themselves.

       79.    The operation of the scheme with respect to each of the Endorsed Entities is

detailed below.


III.   THE TRUMP ENTERPRISE AGREES TO ENDORSE AND PROMOTE ACN
       THROUGH A PERVASIVE AND WIDELY DISSEMINATED MESSAGE

       A.     The ACN “Business Opportunity” Needed High-Profile Endorsement To
              Recruit and Maintain Investors

       80.    ACN is a multi-level marketing company that offers a business opportunity to

“Independent Business Owners” (“IBOs”). IBOs are required to pay an initial sign-up fee and an

annual renewal fee for the privilege of selling ACN’s products. As of the 2013-2016 time

period, the sign-up fee was $499 and the renewal fee was $149.

       81.    According to the ACN compensation plan, IBOs can earn small commissions on

sales and billing to customers who purchase ACN products and services through that IBO, with

additional bonuses for meeting sales targets. IBOs can also earn money by recruiting others to

sign up as IBOs. When an existing IBO recruits a new IBO, the recruit becomes part of the

existing IBO’s “downline.” IBOs can receive a commission on the sales and bills generated by

members of their downline.

       82.    ACN forbids IBOs from engaging in mass-marketing or advertising. Instead, the

lifeblood of ACN’s recruiting operation is small group events hosted by IBOs in their own

homes or at local hotels and event spaces. IBOs are encouraged to identify “warm” leads among

friends, family, and other contacts and to invite them to small group meetings at their homes. To



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help them in their sales and recruitment efforts, ACN sells IBOs a series of “Business Tools,”

including promotional DVDs and magazines, as well as “Your Business Assistant,” a web

application IBOs can use to manage both their downlines and customers.

       83.     At these small-group recruiting events, hosts will typically play the DVDs and

distribute the materials they have bought from ACN. The aim is both to sell ACN’s products and

services and to “share the opportunity” to become an IBO. These small meetings are the primary

mechanism through which consumers are persuaded to make the initial investment to become an

IBO.




       84.     In order to keep IBOs motivated to invest in promotional materials and business

tools after they have signed up, ACN stages ticketed multi-day events. These events, often billed

as large “Training Events” or “International Conventions,” include both large rallies held in

arenas, with guest speakers who encourage IBOs to make continued investments in ACN, as well

as smaller seminar-style break-out sessions. These conventions are not merely business

conferences at which participants meet to network and hear from industry experts: they are



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motivational rallies, designed to stoke enthusiasm and convince IBOs that they can make a profit

if they just keep investing and trying to build their downline. These events themselves are

another source of substantial revenue for ACN.




       85.     In order to make both the small-group recruiting meetings and the larger

motivational rallies successful, it was critical for ACN to obtain high-profile celebrity

endorsement. Enter the Trump Enterprise.


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       86.     ACN first announced that the Trump Enterprise had agreed to promote and

endorse ACN in the Q4 2005 edition of ACN Newsmagazine, ACN’s quarterly magazine sent to

IBOs. The announcement stated that Trump would be “featured in a variety of print and video

media over the coming months, all designed to help you build your ACN business.” 28 The

announcement also said that Trump would “speak to important points, edifying ACN—the

company and vision.” 29 The magazine quoted Trump touting ACN. 30

       87.     Not long after Trump’s endorsement was first announced, the Q2 2006 issue of

ACN Newsmagazine explained to investors the unprecedented significance of Trump’s

endorsement. The magazine emphasized Trump’s global entrepreneurial stature and the impact

it had on bolstering ACN’s integrity in the eyes of investors:

       This endorsement serves as a huge testament to the integrity of the ACN
       Opportunity—never before has a company in the direct selling industry received
       an endorsement from someone of such stature. Donald J. Trump is an

28
   Donald Trump & ACN, ACN Newsmagazine, Q4 2005, at 2 (emphasis added).
29
   Id.
30
   Id.



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          entrepreneurial icon. He’s a multi-billionaire, Founder and CEO of The Trump
          Organization, a globally-renowned property mogul, Executive Producer and host
          of The Apprentice, Founder of Trump University, and a best-selling author.

(emphases added). 31

          88.     Following the announcement, the Trump Enterprise endorsed and promoted ACN

through four principal channels: (1) in ACN videos distributed for IBOs to screen at home

meetings; (2) in features in print and online media, including in ACN-branded magazines; (3) at

ACN events; and (4) during episodes of The Celebrity Apprentice. Through each of these

channels, as alleged more fully and with greater detail in Section IV below, the Trump Enterprise

conveyed a common, consistent, and pervasive Message. The overall reach of the Message

across these channels was enormous, allowing the Trump Enterprise to convey the Message to

millions of potential investors. And these channels were not separate or independent: Clips of

ACN videos were played at events, live event appearances were recorded and incorporated into

ACN videos, screenshots and photos from events appeared in print materials, and screenshots of

print materials appeared in videos—all of which was disseminated to, recirculated among, and

relied on by prospective investors and IBOs for years afterward.


          B.      The Trumps Disseminated the Message Through ACN Videos

          89.     Trump was featured prominently on multiple versions of the “ACN Opportunity

Disc,” a series of promotional CDs and DVDs that IBOs used consistently to pitch the ACN

business opportunity to prospective recruits. (Other Individual Defendants appeared as well.)

IBOs were encouraged to purchase copies of the Opportunity Disc in bulk from ACN, so that

they could play the videos on the disc at meetings with potential recruits and sell or give copies

of the disc to other ACN participants to do the same. The Opportunity Disc was updated


31
     Baltimore International Training Event Sept. 8-10, 2006, ACN Newsmagazine, Q2 2006, at 2.


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frequently, sometimes more than once per year. Each edition of the Opportunity Disc during the

period of Trump’s endorsement included prominent footage of Trump giving his personal

endorsement to ACN and the business opportunity it offered. Indeed, the same footage of Trump

was reused frequently in successive editions with only minor editing between editions. The

effect was consistent: during the relevant time period, the Message was conveyed in every

edition of the Opportunity Disc in substantially the same form.




       C.      The Trumps Disseminated the Message Through Print and Online Media

       90.     Trump appeared regularly in ACN print materials, including ACN Newsmagazine,

a quarterly publication by ACN, where he touted the company and the business opportunity.




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        91.    From August 2013 to around February 2015, Trump also regularly contributed

“inspirational note[s]” to ACN’s blog. 32 Trump’s posts were designed to motivate and

encourage IBOs to persevere with ACN. The posts also encouraged readers to attend ACN

events at which Trump was scheduled to speak.

        92.    ACN also was featured frequently and prominently in Success from Home, a

monthly magazine that purportedly included reporting on the network marketing and direct-

selling industry but, in reality, exclusively published content sponsored by companies in that

industry. ACN encouraged IBOs to buy copies of the magazine, touting it as “A Valuable Third-

Party Validation Tool” for its business model and the direct-selling industry generally, and

exhorting IBOs to “put one in the hands of each of your top prospects!” 33 Trump also

encouraged ACN IBOs to use copies of the magazine to “legitimize [their] business” in the eyes

of potential recruits. 34 But, far from being an independent and objective source, Success from

Home was and is owned by Success Partners, whose mission is to provide paid marketing

services for MLM businesses. Indeed, Success Partners identifies ACN as a “client” on its

website. 35

        93.    Examples of ACN’s features in Success from Home abound. The April 2007

edition featured ACN’s founders on the cover. According to an ACN newsletter, the edition

contained “128 pages of company information, success stories and an article by Donald J. Trump


32
   See, e.g., Donald J. Trump, From the Mind of Donald J. Trump, ACN (Aug. 7, 2013), available at
https://web.archive.org/web/20150126184008/http:/acninc.com:80/news/donald-j-trump-
messages/2013/08/07/acn-donald-j-trump.
33
   Success from Home Magazine Featuring ACN, ACN Newsmagazine, Q4 2005, at 6; see also Home
Sweet Home, ACN Newsmagazine, Q2 2007, at 6.
34
   Donald J. Trump, From the Mind of Donald J. Trump, ACN (Aug. 7, 2013), available at
https://web.archive.org/web/20150126184008/http:/acninc.com:80/news/donald-j-trump-
messages/2013/08/07/acn-donald-j-trump.
35
   Our Clients, Success Partners, http://www.successpartners.com/#section-1.



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on the power of network marketing.” 36 In a May 2007 article entitled “Why Network

Marketing? Donald J. Trump’s Response,” Trump explained that “the network marketing

business is designed to bring you to the top, not keep you at the bottom.” 37

       94.     ACN was also featured in Success from Home’s April 2008 issue, which ACN

touted as including “page after page of all the reasons why ACN is THE vehicle for individuals

to achieve their dreams,” and being “[p]acked with 132 pages of success stories from ACN’s top

leaders; complete company history, product and training information, and validation of the

direct-selling industry from best-selling authors and advisors.” 38

       95.     Trump was featured in or contributed to issues of Success from Home published

in April 2007, April 2008, August 2010, August 2011, July 2012, September 2013, September

2014, and August 2015. Defendants Donald Trump Jr., Ivanka Trump, and Eric Trump were

also featured in Success from Home, and a similar MLM publication, Success, in June 2008, July

2012, and August 2015.




36
   Home Sweet Home, ACN Newsmagazine, Q2 2007, at 8.
37
   Why Network Marketing? Donald J. Trump’s Response, Success from Home, May 2017, at 71.
38
   A New Day at ACN, ACN in Action: North America (Feb. 17, 2008), available at
https://web.archive.org/web/20080228151209/http:/www2.acnin.com:80/acninaction/2008/action217.htm


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       D.      Trump Disseminated the Message at ACN Events

       96.     Between 2006 and 2015, Trump disseminated the Message during at least

fourteen appearances at major ACN events held in auditoriums across the United States and

overseas. Trump was by far ACN’s most important speaker—indeed, in 2014, the ACN website

stated that Trump “[set] the record for the most appearances from the ACN stage by any ACN

special guest speaker.” 39 His appearances included the following events: ACN’s International

Training Event in Baltimore, Maryland, around September 8–10, 2006; ACN’s International

Convention in Fort Worth, Texas, around February 23–25, 2007; ACN’s International Training

Event in East Rutherford, New Jersey, around June 27–29, 2008; ACN’s International Training

Event in Charlotte, North Carolina, around June 26–28, 2009; ACN’s International Convention

in San Jose, California, around February 19–21, 2010; ACN’s 2010 International Training Event

in Charlotte, North Carolina, around September 10–12, 2010; ACN’s International Convention in

Barcelona, Spain, around March 18–20, 2011; ACN’s International Training Event in San Jose,

California, around June 24–26, 2011; ACN’s International Convention in Charlotte, North

Carolina, around February 17–19, 2012; ACN’s 20th Anniversary International Training Event in

Charlotte, North Carolina, around February 15–18, 2013; ACN’s International Training Event in

San Jose, California, around December 6–8, 2013; ACN’s Canada International Training Event

in Toronto, Ontario, around May 31, 2014; ACN’s International Convention in Barcelona, Spain,

around June 27–29, 2014; and ACN’s International Convention in Charlotte, North Carolina,

around February 13–15, 2015.




39
  Catching the Eye of a Billionaire: Donald J. Trump and ACN, ACN, available at
https://web.archive.org/web/20140717125753/http:/acninc.com:80/trump.


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       97.     Attendees paid substantial sums to attend these events. For example, tickets to

watch Trump’s speech from an overflow room next to the main hall at the September 2006 event

in Baltimore cost $99. Tickets to the June 2008 event in East Rutherford were $150. And tickets

to the February 2012 event in Charlotte ranged from $149 to $189 each.

       98.     In many instances ACN made substantial efforts to prevent recording of these

appearances—including by banning the use of cameras or smartphones and sending security

guards through the crowd with flashlights to enforce the prohibition. Nevertheless, many of

these appearances were recorded and various clips were incorporated into official and unofficial

promotional materials, as well as made available online, for years afterward. Many are still

available online and elsewhere, and more are expected to be obtainable through the discovery

process.


       E.      The Trumps Disseminated the Message Through National Primetime
               Television

       99.     On two separate occasions, the Trump Enterprise facilitated an appearance by

ACN and promoted it on The Celebrity Apprentice, a national primetime television show.

According to the Hollywood Reporter, the first such episode, which aired March 22, 2009,

reached 12.4 million viewers. The second episode, which aired March 27, 2011, reached 8.58

million viewers, according to the Los Angeles Times.



       100.    Defendants Trump, Donald Trump Jr., and Ivanka Trump each appeared

alongside ACN representatives in both episodes. And not only did Trump disseminate the

Message on primetime television on both occasions, but, in anticipation of each episode’s

release, ACN also issued press releases further touting the Message, on February 24, 2009, and

March 16, 2011, respectively.


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       101.    These appearances achieved the Trump Enterprise’s goals. For example, shortly

after the second episode was screened, on April 1, 2011, Debbie Davis, an ACN “Senior Vice

President and Circle of Champions Member,” wrote on ACN’s Company Blog that:

               This primetime opportunity has simply changed the game. Because of
               the show, many representatives were able to talk to people they’ve never
               talked with before, and . . . many of those people may have never heard
               of the ACN home-based business opportunity. When Mr. Trump
               acknowledged our Co-Founders as “friends” of his, at that moment,
               ACN was oozing with credibility in everyone’s eyes.

(emphasis added). 40




40
  Debbie Davis, ACN & The Celebrity Apprentice: Next Steps, ACN (Apr. 1, 2011),
http://acninc.com/news/company/2011/04/01/acn-celebrity-apprentice-follow-up-next-steps-debbie-
davis/.


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           102.   Davis continued: “Ask everyone on your list if they watched The Celebrity

Apprentice last Sunday. . . . [T]hat question has become the easiest, most successful way for me

to share this opportunity with someone new.” 41

           103.   As alleged above, The Celebrity Apprentice episodes were heavily edited and

scripted to create false impressions, including with respect to Trump himself and the businesses

and brands that payed for the privilege of being promoted on the show. The ACN episodes too

were heavily edited and presented ACN as an appealing business opportunity. In light of the

benefits to the Trumps of this misleading presentation, their role as producers on the show, their

influence with respect to their own brand, and their claims about remuneration to themselves

personally, Plaintiffs allege on information and belief that Defendants exercised substantial

editorial control over these episodes and deliberately caused those episodes to present a false and

misleading picture of the ACN business opportunity.




41
     Id.


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IV.    THE TRUMP ENTERPRISE KNOWINGLY CONVEYED A CONSISTENT
       FRAUDULENT MESSAGE ABOUT ACN

       104.    Through all four channels described above, the Trump Enterprise deliberately

misled consumers into believing a common and consistent false Message—(1) that prospective

investors would have a reasonable probability of commercial success if they bought into the

ACN business opportunity; (2) that Trump was promoting and endorsing the ACN business

opportunity because he believed that they offered a reasonable probability of commercial success

(rather than because the Trump Enterprise was being paid); and (3) that Trump’s endorsement

was predicated on extensive due diligence, inside information, and personal experience with

ACN. Each part of that Message was knowingly false.


       A.      The Trump Enterprise Falsely Represented that the ACN Business
               Opportunity Offered Consumers a Reasonable Probability of Commercial
               Success

       105.    Throughout the relevant period, the Trump Enterprise falsely represented to

consumers they would have a reasonable probability of commercial success if they bought into

the ACN business opportunity (the “Success Claim”). The Trump Enterprise conveyed the

Success Claim to consumers through appearances by Trump himself, as well as his children, in

each of the channels of distribution described above—video, print and online media, in-person

events, and national television broadcasts.

       106.    The Trump Enterprise built the Success Claim on three false pillars: in his

appearances on behalf of ACN, Trump falsely misrepresented (1) the level of risk inherent in the

ACN business opportunity; (2) the potential profitability to consumers of the ACN business

opportunity and MLMs in general; and (3) the market for ACN’s products and services.




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                    1. Trump Misrepresented ACN’s Risk-Profile

       107.    Trump repeatedly misrepresented ACN’s risk profile to consumers, falsely

claiming that investing in ACN was a low-risk entrepreneurial venture. Chief among the

vehicles for disseminating this false message was the ACN Opportunity Disc, a video that was

distributed to prospective investors. In that video, Trump stated:

               You have a great opportunity before you at ACN without any of the
               risks most entrepreneurs have to take. You have the ability to market
               breakthrough technology before it hits the critical mass. I’ve
               experienced the opportunity that exists when you’re able to jump ahead
               of the curve, and ACN gives you that opportunity.

(emphasis added). Trump repeated this claim over and over again—this statement appeared in

every edition of ACN Opportunity Disc released from 2010 to 2013. Every one of the Plaintiffs

recalls hearing and relying on it.

       108.    Trump doubled down on his claim during his in-person endorsements, going so

far as to suggest that ACN was risk-free. Onstage at ACN’s International Convention in

Barcelona, Spain, in March 2011, Trump explained to the auditorium that:

               A lot of the [ACN] people that I’ve met had their job for two or three
               years, and all of a sudden they started leaving out of their job and going
               full-time at ACN because they’re making more money with ACN. So I
               like it because it really takes the risk out. It takes a lot of the risk out of
               the decision.

(emphases added).




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       109.     Investigations by regulatory agencies, however, show that the ACN business

opportunity was high risk and that investors had a miniscule probability of commercial success.

In multiple jurisdictions in the United States and throughout the world, a common and consistent

finding has emerged: consumers have not (and could not) achieve a reasonable probability of

financial success by investing in the ACN business opportunity.

       110.     For example, a Montana Commissioner of Securities and Insurance (“CSI”)

investigation reviewed ACN internal documents as part of an investigation into its business

practices. The CSI found that the IBOs recruited in Montana in the previous year paid

approximately $234,812 in membership and convention fees and supplies to ACN, but received

only $16,615 in compensation. In one year, the average Montana IBO paid $752.60 to ACN, but

received only $53.25 in compensation. In other words, these IBOs had costs associated with

their investment in the ACN business opportunity that were over ten times greater than their

returns.




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       111.    A French investigation into ACN reached similar findings. During its

investigation, the French Directorate General for Competition Policy, Consumer Affairs and

Fraud Control (“DGCCRF”) modeled the earnings potential of ACN IBOs, using records

furnished by ACN. The DGCCRF concluded that “only 1 percent of people recruited could

claim a satisfactory income, while 99 percent either lose money or at best earn a monthly

income of €28.20” (approximately US$35) (emphasis added). Moreover, the DGCCRF

projected that even comparably successful IBOs within ACN could earn only a paltry income.

For example, an IBO who had as many as 50 direct clients and 72 clients in their network earned

only €2.35 monthly (approximately US$3), while an IBO who had as many as 40 direct clients

and 350 clients in their network earned only €79.70 monthly (approximately US$98). The

projections suggested that the vast majority of IBOs lost money regardless of their client

configurations. Even if an IBO acquired six clients, 15 direct clients and six network clients, or

20 direct clients and 18 network clients, the IBO was projected to lose between €376

(approximately US$458) and €613 (approximately US$747) annually.

       112.    In addition, ACN’s own reports in Canada confirm that consumers did not have a

reasonable probability of commercial success. 42 According to ACN, the average “active” ACN

Canada IBO earned only approximately CA$500 in one year. Previous versions of the same

reports reveal even lower earnings. For example, according to Sergio Pareja of the University of

New Mexico, the average ACN Canada active IBO “earned approximately [CAN] $400” in a

single year. 43 Even these figures, however, do not reveal the full extent of IBOs’ losses. As

Pareja explained, ACN’s figures showed gross earnings that did not take account of expenses


42
   Unfortunately for Plaintiffs, Trump did not mitigate the Success Claim by reference to any such
disclosures, nor did ACN make disclosures of such granularity in the United States.
43
   Sergio Pareja, Sales Gone Wild: Will the FTC’s Business Opportunity Rule Put an End to Pyramid
Marketing Schemes?, 39 McGeorge L. Rev. 83, 129 n.306 (2008).


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incurred by IBOs; nor did those figures identify the percentage of non-active IBOs, who were

categorically excluded from the calculation.


                   2. Trump Falsely Claimed That ACN’s Business Model (and Direct-Selling
                      in General) Provided a Viable Source of Income for Prospective Investors.

       113.    Not only did Trump misrepresent ACN’s risk profile, but also Trump falsely

claimed that the ACN business opportunity (and the MLM business model in general) was highly

profitable for investors. Trump stated that “direct selling”—a component of the MLM business

model—“is actually one of the oldest, most respected business models in the world, and has

stood the test of time, most importantly.” Every one of the Plaintiffs recalls hearing this

statement and relying on it. In an extract from his book, Why We Want You to Be Rich, which

was published in Success from Home, Trump (and his co-author) stated that

               Network marketing has proven itself to be a viable and rewarding
               source of income. . . . My advice about network marketing is to do your
               research, and put everything you’ve got into your product. Genuine
               enthusiasm is hard to beat, and the odds will be with you.

(emphases added). 44

       114.    Plaintiffs and class members also heard and relied on numerous similar

statements:

               •   “Direct selling puts the people element back into business. And for
                   thousands and thousands of people, that means good business and a
                   solid opportunity.” 45

               •   “Direct selling is actually one of the oldest, most respected business
                   models in the world. And has stood the test of time most importantly.
                   ACN approaches it with a fresh perspective that you won’t find
                   anywhere else.” 46


44
   Donald J. Trump, Why Network Marketing?, Success from Home, Aug. 2011, at 96.
45
   Anne Archer, Thinking Big with Donald Trump and ACN, Success from Home, Sept. 2014, at 68.
46
   The ACN Opportunity, ACN Opportunity Disc (2010).



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       115.    In addition, far from encouraging prospective IBOs to exercise caution in a tough

economic climate during the peak of the global financial crisis, Trump claimed that the MLM

industry was “growing when many others are suffering massive losses.” 47 Every one of the

Plaintiffs recalls hearing this statement and relying on it.

       116.    Trump provided further assurances: “ACN has a reputation for success. Success

that’s really synonymous with the Trump name and other successful names and you can be part

of it.” Every one of the Plaintiffs recalls hearing this statement and relying on it.

       117.    Trump and other Individual Defendants continued the same theme elsewhere. In

the Success from Home magazine, Trump repeatedly praised ACN’s business model as

presenting a “good business and a solid opportunity” for “thousands and thousands of people.” 48

Likewise, in Success from Home, Defendant Eric Trump described ACN as “an incredible

company,” 49 and, in an article published on ACN’s website, Eric Trump said that the “Co-

Founders of ACN are some of the most incredible people I know.” 50 Speaking from a position

of apparent authority as a self-proclaimed business expert, Trump portrayed ACN as a business

with strong fundamentals and sound management:

               When evaluating a business opportunity, people need to look for strong
               leadership, a solid track record, success stories, a strong product people
               really need and want, and a clear plan for the future. ACN has all of
               these things.




47
   Anne Archer, Direct Selling in the Age of Donald J. Trump, Success from Home, Aug. 2010, at 22.
48
   Id.
49
   Mark Maremont, Magazine Touts Trump’s Lucrative Ties to Multilevel Marketing Firm, Dow Jones,
Aug. 19, 2015.
50
   ACN Commits to $100K Titanium Sponsorship for Third Consecutive Year, ACN (July 15, 2015),
available at
http://web.archive.org/web/20150719165029/http://acninc.com/news/es/company/2015/07/15/acn-
commits-100k-titanium-sponsorship-third-consecutive-year.


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       118.    In sum, Trump told his audiences: “I know what it takes to be a success, and

ACN has a winning business model. And I mean—winning.” This statement was reproduced in

video recordings time and time again and every one of the Plaintiffs recalls hearing this

statement and relying on it.




       119.    Plaintiffs and class members also heard and relied on numerous similar

statements:

               •    “It’s my absolute pleasure to speak to you on behalf of ACN. I work
                   with a lot of companies and I can say with 100% confidence that
                   you’ve made the right decision choosing ACN.” 51

               •   “There are a few simple things a company must have in order for me
                   to believe in it . . . and ultimately for the company to be a success.
                   ACN has all these things and more.” 52

               •   “I’ve found there are two types of people: Those who take action and those
                   who let opportunity pass them by. Which one are you?” 53


51
   Welcome to ACN, ACN Opportunity Disc (2012).
52
   ACN Opportunity Disk (2010).
53
   The ACN Opportunity, ACN Opportunity Disc (2010).



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               •   “The ACN co-founders love this company and all those years of success that
                   they have already had are going to build a strong future of success.” 54

               •    “ACN provides you with everything you need to be successful. All the
                   training, support and tools, combine that hard work and commitment and
                   you’ll be well on your way to living the lifestyle that you deserve.” 55

        120.   Trump’s claims about the profitability of the ACN business opportunity was false.

As alleged above, only 1% of IBOs were able to earn a satisfactory income—every regulatory

agency to have studied the matter has concluded that the costs to IBOs greatly exceeds their

returns. Moreover, the losses were not just limited to ACN’s IBOs. Contrary to Trump’s

statements, such losses were endemic to MLM and direct-selling opportunities. As Jon M.

Taylor, President and co-founder of the nonprofit Consumer Awareness Institute, has written,

loss rates in the multi-level marketing industry are “extraordinary.” Taylor concluded that,

“[b]ased on available company data, approximately 99.7% of all MLM participants lose

money—spending more on company purchases and promotion and operating expenses than they

receive in commissions from the company.” Taylor lists ACN as one such company.

        121.   Finally, consumer complaints bureaus have received a litany of complaints about

the “business opportunity” offered by ACN. Countless IBOs made no money at all. For

example, one said: “I trusted a very good friend and paid out $500.00 and never saw any income

from this business.” 56 Another said: “I did everything I was supposed to and have not made a

dollar.” 57




54
   Anne Archer, Thinking Big with Donald Trump and ACN, Success from Home, Sept. 2014, at 67.
55
   Welcome to ACN, ACN Opportunity Disc (2012).
56
   Review No. 832927, Pissed Consumer (Apr. 19, 2016), https://acn.pissedconsumer.com/very-very-bad-
idea-20160419832927.html.
57
   Review No. 601509, Pissed Consumer (Feb. 27, 2015), https://acn.pissedconsumer.com/rip-off-acn-is-
a-scam-all-the-way-beware-20150227601509.html.


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                   3. Trump Misrepresented the Commercial Viability of ACN’s Products,
                      Especially the ACN Video Phone.

         122.   In addition to misrepresenting the risk profile and profitability of the ACN

business model, Trump misrepresented the commercial viability of ACN’s products. When

Trump first began endorsing the company, ACN dedicated an important part of its business to

reselling third-party telephone and internet utility plans through IBOs. In late 2008, however,

ACN moved into selling a “videophone,” a desktop telephone with a screen and camera that

allowed users to have conversations using voice and video. The videophone was a central

component of ACN’s sales strategy for many years. During this period, Trump repeatedly

praised ACN’s “great product”—its “new ACN Video Phone.”

         123.   Trump stated that “ACN is leading the way in a new technology that will literally

revolutionize the way we communicate with the ACN video phone.” Trump told prospective

investors to “trust me it’s changing everything.” Trump personally vouched for its value: “No

matter who you are, no matter what you do, everyone can find value in this technology. With

my busy schedule the ACN video phone keeps me personally connected to my contacts around

the world without ever leaving my office.” And Trump vouched for the commercial viability of

ACN’s technology in the strongest possible terms: “The absolute truth is that this technology

will be present in every home within the next several years.” That was not, in fact, the absolute

truth.

         124.   In fact, ACN’s videophone was anything but great—the product was doomed

almost from the outset. The videophone was essentially a desktop, wired telephone with a video

screen and webcam in addition to the usual handset and keypad. It required an internet

connection to work. And, because an ACN videophone could only be used to make video calls

to other ACN videophones, both parties to a call had to subscribe to ACN services to use the



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phone’s video capabilities. The ACN videophone was in direct competition with easily

accessible video calling software (including Skype) and was soon eclipsed by smartphones with

video calling capability. In short, based on information available to Defendants (but not readily

available to Plaintiffs or class members), there was no proven market for the phone, no reason to

expect consumers would demand the phone, and nothing to suggest a standalone videophone was

a desirable product in light of its competition.




       125.    Information available to the Trump Enterprise (but unfortunately not readily

available to Plaintiffs or class members) reflected the ACN videophone’s dim commercial

prospects. Worldgate Communications, Inc. was a small company that sold “digital video

phones directly or through agents to telecommunications service providers who have a digital

voice and video management and network infrastructure.” 58 In late 2008, Worldgate was on the




58
  Company Overview of WorldGate Communications, Inc., BLOOMBERG, available at
https://www.bloomberg.com/research/stocks/private/snapshot.asp?privcapId=36713.



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brink of collapse. 59 It had been delisted from the NASDAQ in 2007 and suspended operations

for some time during 2008. 60 Its managers doubted it could continue as a going concern. 61

           126.   In December 2008, a mere three months before ACN appeared on The Celebrity

Apprentice for the first time, ACN agreed to buy 300,000 videophones from Worldgate and to

provide $1.2 million in funding for Worldgate. The same month, WGI Investor LLC, an entity

owned indirectly by ACN co-founder Robert Stevanovski and his wife, agreed to purchase a

63% stake in Worldgate in exchange for $1.45 million and the assumption of $5.1 million in

debt. 62

           127.   In the 2009 episode of The Celebrity Apprentice featuring ACN, Trump said that

“ACN is the largest distributor of videophones anywhere in the world. They do half-a-billion

dollars worth of sales a year.” This revenue representation was abjectly false.




59
   See generally WorldGate 10-K Annual Report at 6 (2009), available at
https://www.sec.gov/Archives/edgar/data/1030058/000114420410017605/v179472_10k.htm.
60
   Id. at 45.
61
   Id. at 6.
62
   Id. at 21


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          128.    Even if ACN sold each and every one of the 300,000 videophones it ordered in

one year, at the retail price of $300, for example, that would only amount to $90 million in sales.

          129.    In addition, ACN’s order for 300,000 units from Worldgate came nowhere close

to making ACN the “largest distributor of videophones” in the world.

          130.    At an ACN convention in June 2009, Trump continued to claim ACN had a “great

product.” Trump stated that ACN was a “leader in the field,” and assured participants that they

were in the “right business.” He had previously told ACN participants that “I think [ACN’s]

new videophone is going to be tremendous.” But there was neither a basis for Trump to assert

that ACN was a “leader” in the field of telecommunications hardware generally nor videophones

specifically.

          131.    Trump repeatedly represented that ACN’s videophone products were

technologically superior to their competition. In one video, he said:

                  I would say, knowledge is so important, especially when you’re dealing
                  in high-tech kind of things like you. . . . With ACN it’s really
                  knowledge, and one of the beauties with ACN, that I’ve been able to
                  determine after some research, is that you guys have stayed ahead of the
                  pack. You’ve stayed ahead of it from a technological standpoint, from a
                  knowledge standpoint. And in your world, I think the word knowledge is
                  so important.

(emphasis added).

          132.    Onstage at an ACN event, Trump said that:

                  Breakthrough products like the ACN Video Phone reveal ACN’s
                  commitment to pioneering technologies of the future. With the ACN
                  Video Phone, they are leading the way in a communication revolution.
                  Staying at the forefront of innovation is key to long-term business
                  success, and ACN is doing just that. 63




63
     Anne Archer, Direct Selling in the Age of Donald J. Trump, Success from Home, Aug. 2010, at 22.


                                                   -57-
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          133.    Trump repeatedly claimed that this technological superiority would lead to robust

consumer demand for the video phones. In an ACN Opportunity Disc released around 2010,

Trump said:

                  Imagine seeing the person you’re talking to, not just hearing their voices.
                  No matter who you are, no matter what you do, everyone can find value
                  in this technology. With my busy schedule, the ACN video phone keeps
                  me personally connected to my contacts around the world, without ever
                  leaving my office.

(emphasis added). This could not possibly be true.

          134.    To put it beyond doubt, in a 2010 edition from Success from Home, Trump was

quoted as saying that the video phone was “changing communications as we know it. . . . It’s a

product that practically sells itself.” 64




64
     Anne Archer, Direct Selling in the Age of Donald J. Trump, Success from Home, Aug. 2010, at 21.


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       135.    In ACN’s press release announcing its appearance in the 2011 season of The

Celebrity Apprentice, ACN again referred to its “latest video phone” as “revolutionary” and

quoted Trump as saying:

               I think the ACN Video Phone is amazing. It’s connecting people face-
               to-face regardless of where they are. I simply can’t imagine anybody
               using this phone and not loving it. 65

       136.    Trump’s statements regarding the technological superiority of the video phone

and expected consumer demand were false and misleading. ACN’s videophone was less

technologically advanced than any of its competitors, which also offered their competitive

products at lower prices. For example, as alleged above, desktop applications such as Skype

offered voice and video calling at far lower costs than ACN’s videophone plan. Indeed, the

market’s reception showed ACN videophone was anything but amazing. In March 2011, mere

days before the 2011 episode of The Celebrity Apprentice aired, Worldgate announced that it

was in a “cash crunch” and would fire 65% of its workforce (leaving it with 15 employees).

That same month, ACN revised downward its agreement to buy 300,000 videophones.


       B.      The Trump Enterprise Falsely Represented that Trump Genuinely
               Supported ACN and Failed To Disclose That He Was Being Paid Lavishly
               for His Endorsement

       137.    Trump repeatedly told his audiences that he endorsed ACN because he believed it

offered a reasonable probability of commercial success. He touted ACN’s commercial prospects

and his regard for its founders. And he failed to disclose that he was, in fact, being paid millions

of dollars for his ACN endorsement.



65
  ACN Goes Primetime with Encore Appearance on Donald J. Trump’s The Celebrity Apprentice, ACN
(Mar. 16, 2011), available at
https://web.archive.org/web/20130627214919/http:/www.acnpresskit.com/documents/ACN-Celebrity-
Apprentice-NBC-Trump-Press-Release.pdf.


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       138.    ACN promotional videos also failed to disclose that Trump was being paid for his

endorsement. Every one of the Plaintiffs recalls watching multiple videos in which Trump

endorsed and promoted ACN, and they do not recall any suggestion that Trump was being paid.

This, in fact, gave Plaintiffs the (false) impression that Trump was not being paid by ACN for his

endorsement. Indeed, if Trump’s compensation from ACN had been disclosed, they would not

have signed up and/or would have cut their losses earlier.




       139.    The same practice continued at various events. For example, in his speech at

ACN’s 2008 International Convention in East Rutherford, New Jersey, Trump stated that he had

just “extended” his “partnership with ACN,” because “when you have knowledge of something,

and you really believe in something, it’s very easy to give an endorsement. And I give my

endorsement 100 percent” (emphasis added). 66 Neither Trump nor ACN disclosed to the

audience that Trump was paid for this appearance, though he was paid lavishly for each

appearance—at times millions of dollars for delivering a single speech. 67


66
   Learn 3 Networking Secrets from Donald Trump on Effective MLM Marketing, YouTube (Apr. 5,
2010), www.youtube.com/watch?v=NsIQSku1ioI.
67
   James V. Grimaldi & Mark Maremont, Donald Trump Made Millions from Multilevel Marketing Firm,
The Wall Street Journal (Aug. 13, 2015), https://www.wsj.com/articles/trump-made-millions-from-
multilevel-marketing-firm-1439481128.


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        140.    Onstage at ACN’s 2009 International Training Event in Charlotte, North Carolina,

Trump noted it was the “fourth time I’ve felt like I’m part of you.” He praised ACN’s founders,

saying, “I really understand these guys,” having “been with them for over three years as their

friend.” He concluded: “I mean that, and if I didn’t, I wouldn’t be here.” 68

        141.    Trump was the “keynote speaker” at ACN’s 2010 International Training Event in

Charlotte, North Carolina, where he was misleadingly billed as a “multi-billionaire

entrepreneur.” 69 At the convention, he was interviewed by Darren Hardy, publisher of Success

from Home. In the interview, Trump emphasized his liking for ACN’s founders, saying that he

had “developed a real liking for Greg [Provenzano] and Robert [Stevanovski],” and that “I really

enjoy and use your product . . . . I really like it a lot. I use it when I can.” 70 Trump also said that

“ACN is going to become a major sponsor of The Apprentice,” and suggested that he would “put

in a little special flavor because I really feel strongly about the company.” 71

        142.    Trump was the guest speaker at ACN’s 2011 International Convention in

Barcelona, Spain, where he was again interviewed onstage by Hardy. Asked why he had “such

affinity for ACN,” Trump explained that he “really like[s] the guys,” who “have really become

friends of mine.” 72 He continued to explain that he “give[s] lots of money to charity, and [the

ACN founders] contribute to my charities. They really have been very generous. . . . These are



68
   ACN Donald Trump TRUMP CLT, YouTube (Mar 4. 2010),
https://www.youtube.com/watch?v=EziHMkg5GfI.
69
   ACN Welcomes Representatives to Hometown for International Training Event, ACN (Aug. 30, 2010),
http://acninc.com/news/press-releases/2010/08/30/acn-welcomes-representatives-to-hometown-for-
international-training-event/.
70
   Donald Trump Interviewed by Darren Hardy Part 1, YouTube (Mar. 26, 2011),
https://www.youtube.com/watch?v=rj0tlNg5WGM.
71
   Donald Trump Interviewed by Darren Hardy Part 3, YouTube (Mar. 27, 2011),
https://www.youtube.com/watch?v=x7Uq0dl9DsA.
72
   Convention Internationale Barcelone 2011 Iterview de M. Donald J. Trump, YouTube (Apr. 10, 2011),
https://www.youtube.com/watch?v=l081iz5QAEk.



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good guys. And I just felt I had a little bit of an obligation. . . . [It] was a pain in the ass to get

here.” 73 (There is little evidence to support Trump’s claims about giving lots of money to

charity.)

        143.    At an ACN convention shortly thereafter, Trump explained to great applause: “I

do speeches because I like doing it.” 74

        144.    In a 2012 edition of the ACN Opportunity Disc, Trump elaborated on his reasons

for supporting the company:

                I’ve been working with ACN for a few years now. Since that time I have
                developed a great relationship with ACN, and the more I learn about
                them, the more I like and respect them. I see incredible potential in the
                things they’re doing now, and are planning in the future.

        145.    At ACN’s 20th Anniversary International Training Event in Charlotte, North

Carolina, in February 2013, ACN announced that Trump was now an “exclusive” endorser.

Onstage at the event, Hardy asked Trump, “why do you keep coming back? What is it about

ACN? Certainly not for any money” (emphasis added). 75 Trump answered: “No.” 76




73
   Id.
74
   Trump Loves ACN, YouTube (Feb. 22, 2012), https://www.youtube.com/watch?v=53I_vIjFsMs.
75
   Donald Trump 1 of 5 at ACN’s 20th, YouTube (Feb. 18, 2013)
https://www.youtube.com/watch?v=bY_g7Ws3C3Q.
76
   Id.



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       146.    Hardy continued, “It’s for the love of the organization. Tell us why you love

ACN?”77 Trump replied:

               [T]he reason I’m doing it is because I really have a just a special
               relationship with the founders, they are good people, they are hard
               workers, they love what they are doing, they love the people in the
               room. . . . [T]hey are really good people with great ideas and they want
               to help other people. 78

       147.    Trump continued to say that he had “agreed to extend the relationship for a

substantial period of time . . . . Again, because of my relationship with the founders.” 79 After

Hardy noted that Trump had “[chosen] to become exclusive with ACN,” 80 Trump said, “It’s true.

It’s an honor. Believe me.” 81

       148.    At the June 2014 ACN International Convention in Barcelona, Trump again

affirmed that he was not endorsing ACN because he was paid to do so. He claimed he was “a

fan of the founders and the vision” of ACN, and continued to say that he was “not an owner of

ACN” so he did not “really need this,” but that he “respect[s] what the owners are doing.”

       149.    Plaintiffs and class members relied on numerous similar statements:

               •   “I do this . . . because I love it because I think this is a great company
                   and I love these ACN audiences!” 82

               •   “I’ve known the ACN co-founders for years and I must tell you, I’ve
                   gotten to know them very well. And the level of integrity there is
                   amazing. They love the people involved in ACN. They want to do



77
   Id.
78
   Id.
79
   Donald Trump 2 of 5 ACN 20th, YouTube (Feb. 18, 2013)
https://www.youtube.com/watch?v=8l3ilD5j4WA.
80
   This “exclusive” agreement appears to have been reached shortly after the Trump Network collapsed in
late 2011.
81
   Donald Trump 2 of 5 ACN 20th, YouTube (Feb. 18, 2013)
https://www.youtube.com/watch?v=8l3ilD5j4WA.
82
   Anne Archer, Thinking Big with Donald Trump and ACN, Success from Home, Sept. 2014, at 66–67.



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                     well for the company and for the people at ACN—far beyond
                     themselves.” 83

                 •   “I’ve watched this company grow . . . . I’ve been a fan of the
                     company. I think it’s terrific and the ACN leadership is terrific.” 84

                 •    “I love the leadership at ACN. These co-founders know what they are
                     doing. They know where they are going. I’ve always had a good
                     feeling about ACN; I just feel good about it. A company is only as
                     good as the people at the top, and ACN has good people behind it.” 85

          150.   Every Plaintiff recalls watching videos featuring Trump and being left with the

same understanding—that Trump’s endorsement was not in exchange for any compensation

from ACN.

          151.   Trump’s representations that he genuinely supported ACN out of admiration for

its business and affection for its founders were knowingly misleading. During the period of his

endorsement, Trump never disclosed to his audiences that he was paid vast sums of money for

each appearance as an ACN guest speaker.

          152.   To the contrary, Trump affirmatively claimed that he did not endorse ACN for the

money. For example, in the August 2011 issue of Success from Home, Trump was quoted as

saying:

                 When Trump was negotiating with ACN, Inc. to represent the company
                 and speak at their events, he made it clear that he would not be doing it
                 “for the money.” He has plenty of money, so something else had to be
                 the deciding factor. For him, it came down to the four ACN co-
                 founders. 86

          153.   Trump reiterated this message repeatedly at ACN’s events.




83
   Id. at 68.
84
   Id.
85
   Id.
86
   Anne Archer, Catching the Eye of a Billionaire, Success from Home, Aug. 2011, at 23.


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       154.    No Plaintiff can recall any instance in which Trump disclosed that he was being

paid. To the contrary, each Plaintiff recalls having precisely the opposite understanding after

hearing Trump’s statements.

       155.    In direct contradiction to his many years of statements and omissions indicating

that he was not doing it “for the money,” Trump admitted years later that his speaking fees

amounted to “a substantial amount of money, even if you’re rich.” 87 Plaintiffs are not presently

aware of just how much Trump and the Trump Enterprise were paid for Trump’s endorsement.

But the evidence now available suggests that the amounts were staggering—especially compared

to the income of the average ACN IBO. According to Trump’s 2015 financial disclosures, ACN

Inc. paid him $450,000 each for three in-person appearances between May 2014 and

February 2015. 88

       156.    Similarly, in neither the 2009 nor the 2011 episode did Trump or the Trump

Enterprise disclose that ACN had paid the producers of The Celebrity Apprentice handsomely to

be featured on the show. But, years later, Trump admitted that ACN “paid a lot of money to go

on the show,” saying that “it was like a two-hour advertisement, as opposed to a 30-second

commercial.” 89 Although Plaintiffs are not aware how much ACN paid for its appearances on

The Celebrity Apprentice, public reports have estimated that the company paid between $5–9

million to appear in a single episode. 90 Plaintiffs are unaware of which entity within the Trump

Enterprise received these payments, or whether other parties shared in the payments.


87
   James V. Grimaldi & Mark Maremont, Donald Trump Made Millions from Multilevel Marketing Firm,
The Wall Street Journal (Aug. 13, 2015),https://www.wsj.com/articles/trump-made-millions-from-
multilevel-marketing-firm-1439481128.
88
   Donald J. Trump, Office of Government Ethics Disclosure Form, July 22, 2015.
89
   James V. Grimaldi & Mark Maremont, Donald Trump Made Millions from Multilevel Marketing Firm,
The Wall Street Journal (Aug. 13, 2015), https://www.wsj.com/articles/trump-made-millions-from-
multilevel-marketing-firm-1439481128.
90
   Id.


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       157.    The Federal Trade Commission (the “FTC”), the agency charged with protecting

the nation’s consumers, has long emphasized the importance of disclosing clearly and

conspicuously compensation for endorsement activities—and that failing to do so misleads

consumers. Indeed, as part of its consumer protection mandate, the FTC issues specific guidance

concerning the use of endorsements. 91 In the FTC’s view, endorsers must disclose “connections”

with, including monetary compensation they receive from, sellers of advertised products “that

might materially affect the weight or credibility of the endorsement.” 92

       158.    The FTC succinctly explains why endorsers must clearly and conspicuously

disclose “material connections” with sellers of products:

               Suppose you meet someone who tells you about a great new product.
               She tells you it performs wonderfully and offers fantastic new features
               that nobody else has. Would that recommendation factor into your
               decision to buy the product? Probably.

               Now suppose the person works for the company that sells the product—
               or has been paid by the company to tout the product. Would you want
               to know that when you’re evaluating the endorser’s glowing
               recommendation? You bet. That common-sense premise is at the heart
               of the Federal Trade Commission’s (FTC) Endorsement Guides.

(emphases added). 93

       159.    In recent years, the FTC has taken a more vigorous approach towards those who

fail to comply with its advice. Indeed, in 2017, the FTC announced that its staff had issued in




91
   16 C.F.R. Part 255.
92
   Id.; see also FTC Staff Reminds Influencers and Brands to Clearly Disclose Relationship, Federal
Trade Commission (Apr. 19, 2017), https://www.ftc.gov/news-events/press-releases/2017/04/ftc-staff-
reminds-influencers-brands-clearly-disclose (“FTC Reminder”).
93
   The FTC’s Endorsement Guides: What People Are Asking, Federal Trade Commission (Sept. 2017),
https://www.ftc.gov/tips-advice/business-center/guidance/ftcs-endorsement-guides-what-people-are-
asking.



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excess of 90 letters reminding celebrities to disclose material connections with relevant parties

when promoting or endorsing products. 94

       160.    In addition to requiring disclosure of an endorser’s material connections, the FTC

states that endorsements “must reflect the honest opinions, findings, beliefs, or experience of the

endorser.” 95 The FTC again explains the responsibility that a celebrity endorser assumes when

she or he elects to make a paid endorsement:

               The celebrity has decided to earn money by providing an endorsement.
               With that opportunity comes the responsibility for the celebrity or his or
               her legal representative to ensure in advance that the celebrity does not
               say something that does not “reflect [his or her] honest opinions,
               findings, beliefs, or experience.”

(emphases added). 96 Indeed, in the FTC’s view, even if a celebrity is only reading from a script

that was written by the advertiser, the endorser may have “an obligation to make reasonable

inquiries of the advertiser that there is an adequate basis for assertions that the script has them

making” (emphasis added). 97

       161.    Trump’s persistent failure to disclose that he was being paid for his endorsement

of ACN was wholly inconsistent with these basic consumer-protection principles.


       C.      The Trump Enterprise Falsely Represented that the Trumps’ Endorsement
               Was Predicated on Appropriate Due Diligence and Personal Experience with
               ACN’s Business

       162.    Trump reassured his audiences that they could trust what he was saying about

ACN by making further false statements about the basis for his statements. In particular, Trump

claimed that he conducted appropriate due diligence into ACN before agreeing to endorse it. In



94
   FTC Reminder.
95
   16 C.F.R. § 255.1(a).
96
   74 Fed. Reg. 53124-01, 53128 (quoting 16 C.F.R. § 255.1(a)).
97
   Id. at 53128–29.


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so doing, he implied that his diligence confirmed that ACN presented a reasonable probability of

commercial success for prospective IBOs. Trump also claimed that he had personally

experienced the ACN opportunity and that his endorsement was based on that experience.

        163.      For example, in announcing his endorsement in 2005, Trump said: “ACN is a

great company. How do I know? Because we have done a lot of research.” 98 Later, in another

ACN Opportunity Disc, Trump explained his process for deciding to endorse ACN, saying “we

do a lot of research on companies before we agree to do something like I’m doing for you. And

ACN’s a great company.” 99

        164.      Trump echoed these false statements during his in-person appearances. When

explaining to a live audience in 2008 why he had decided to extend his endorsement, Trump said

that “when you have knowledge of something . . . it’s very easy to give an endorsement 100

percent.” 100 And Trump repeated this message in interviews for Success from Home. As the

August 2011 issue put it:

                  When Trump was initially deciding to work with ACN, his organization
                  did a great deal of research on the company and took a hard look before
                  deciding to endorse ACN and its products. 101

A later issue stated reiterated Trump “only chooses” to invest “after performing due

diligence.” 102




98
   Donald Trump & ACN, ACN Newsmagazine, Q4 2005, at 2.
99
   ACN Interview with Donald Trump #3, YouTube (Apr. 3,
2008),https://www.youtube.com/watch?v=sMpnCXmMrxM.
100
    Learning 3 Network Secrets from Donald Trump on Effective MLM Marketing, YouTube (Apr. 5,
2010), www.youtube.com/watch?v=NsIQSku1ioI.
101
    Anne Archer, Catching the Eye of a Billionaire, Success from Home, Aug. 2011, at 24; see also Anne
Archer, Direct Selling in the Age of Donald J. Trump, Success from Home, Aug. 2010, at 20.
102
    Beth Douglass Silcox, Recognizing a Winner, Success from Home, Sept. 2013, at 74.


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       165.    In a video on an ACN Opportunity Disc, Trump similarly claimed that, “I’ve

experienced the opportunity that exists when you’re able to jump ahead of the curve, and ACN

gives you that opportunity.”

       166.    In addition to claiming he had conducted research into and had personal

experience with ACN’s business model, Trump claimed to have conducted specific research into

its videophone product. Affirming the importance of “knowledge” when dealing with “high-

tech” products, Trump claimed, “I’ve been able to determine after some research” that ACN’s

technology had “stayed ahead of the pack.” 103

       167.    But all available information is to the contrary. As Trump told the Wall Street

Journal in 2015, “I’m not familiar with what [ACN] do[es] or how they go about doing that.” 104

He went on to say, “and I make that clear in my speeches” 105—yet another blatant falsehood.


V.     THE TRUMP ENTERPRISE’S FRAUDULENT PROMOTION AND
       ENDORSEMENT OF ACN WAS THE KEY FACTOR IN PLAINTIFFS’
       INVESTMENT DECISIONS

       168.    Trump’s fraudulent message was highly material in the minds of investors, as

ACN itself acknowledged—all the more so because the Trump Enterprise used the Trump brand

to bolster the Message, and permitted ACN to do the same. This use of the Trump brand and

association with Trump was also extremely powerful in the minds of investors. Indeed, in

numerous published testimonials, IBOs attributed their decision to join ACN to Trump’s

endorsement.




103
    ACN Interview with Donald Trump #3, YouTube (Apr. 3, 2008),
https://www.youtube.com/watch?v=sMpnCXmMrxM.
104
    James V. Grimaldi and Mark Maremont, Donald Trump Made Millions from Multilevel Marketing
Firm, THE WALL STREET JOURNAL, Aug. 13, 2015, available at https://www.wsj.com/articles/trump-
made-millions-from-multilevel-marketing-firm-1439481128.
105
    Id.


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       169.    For example, one IBO described leaving her job as a dental hygienist to join ACN

after a patient left her a copy of the Opportunity Disc:

               One special day, however, it was a patient who was looking out for Kim
               when she told her all about ACN and left behind an Opportunity Disc.
               ‘She really drove home two major points that made an impression: first,
               that Donald Trump endorsed the company, and second, that the disc she
               had given me would take less than 10 minutes to take a look at.’ . . . As
               soon as she watched the videos, she signed up right away.

(emphasis added).

       170.    ACN itself proudly boasted of its relationship with Trump and the legitimacy the

Trump brand afforded the company. As one edition of the ACN Opportunity Disc put it:

               We’re attracting attention in very high places, and among the world’s
               most successful business leaders. One such leader is billionaire
               entrepreneur Donald Trump, who has built his career on recognizing an
               exceptional opportunity when he sees it.

(emphases added). Every one of the Plaintiffs recalls hearing this statement.

       171.    ACN’s prime-time features on The Celebrity Apprentice massively boosted

ACN’s business. Indeed, a narrator in one of ACN’s own video clips makes clear just how

impactfully the Message was delivered through The Celebrity Apprentice:

               The excitement around ACN’s revolutionary video phone is spreading
               and the world is taking notice. After a personal invitation from Donald
               Trump himself, ACN was featured on an episode of the Celebrity
               Apprentice, NBC’s hit reality television show. ACN’s video phone took
               center stage during this episode as the cast of celebrities launched the
               ACN video phone to the world. And this is only the beginning.

(emphasis added.)
       172.    In June 2010, Direct Selling News reported that ACN “had tremendous growth

after its video phone was featured on Donald Trump’s The Celebrity Apprentice.” Provezano

was quoted as saying that ACN’s performance was “spectacular” in the first quarter of 2010. In

2012, Provenzano explained that, from ACN’s perspective, “having Donald Trump endorse our



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organization would be the epitome of an endorsement.” 106 As an article in Success from Home

noted, “[t]he endorsement is truly a direct seller’s dream. After all, Trump personifies the will to

win. He is an entrepreneurial icon, nobody can outwork him and he is a fan of network

marketing.” 107

       173.       ACN made crystal clear that Trump’s brand was an impactful recruiting tool for

investors in two principal ways: first, it attracted the interest of prospective investors and

second, it would help close the deal with prospective recruits. As ACN Newsmagazine

explained, the ACN Opportunity Disc was designed to “pique interest in ACN and get existing

prospects off the fence,” including by using “the powerful endorsement of Donald J. Trump”

(emphases added). 108

       174.       ACN executives repeatedly emphasized that the Trump brand would heighten the

impact of his endorsement in the minds of prospective investors. ACN co-founder Tony Cupisz

was quoted as saying “You’ve got that incredible disc with Donald Trump on it . . . whoever

hands out the most of those discs will get the most results. . . . Donald Trump is promoting

your business for you” (emphasis added). 109 Co-founder Mike Cupisz noted that Trump’s

support for ACN was unparalleled: “We have got Donald Trump—a multi-billionaire—giving

us the highest level endorsement than any other network marketing company has ever had in

history” (emphases added). 110 Greg Provenzano, ACN’s co-founder and president, boasted in his

“President’s Message” about the significance and singularity of Trump’s endorsement—and the

enormous value it would have because of its impact on investors:



106
    Barbara Seale, The Wizard of Winning, Success from Home, July 2012, at 76.
107
    Id.
108
    Baltimore International Training Event Sept. 8–10, 2006, ACN Newsmagazine, Q2 2006, at 2.
109
    Id.
110
    Id.


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               One of the most important tools available to ACN representatives today is
               obviously the Donald J. Trump endorsement. It’s all about Trump this
               quarter at ACN—and all about what Trump can do for you! . . .

               How much would it be worth to have Mr. Trump sit in your living room
               and personally endorse ACN as you present the ACN Opportunity to your
               prospects? It would be priceless—and ACN is making that happen. . . .

               Mr. Trump is extremely selective in his speaking engagements and in the
               companies he chooses to work with—and he chose ACN!

(emphases added).

       175.    Finally, ACN’s appearance on The Celebrity Apprentice “added credibility for

[ACN] like none other.” 111 As Provenzano put it in an interview in Success from Home:

               It was the biggest meeting night in ACN history! Independent business
               owners held opportunity meetings in hotels, theaters, restaurants and other
               venues to introduce ACN in a whole new way through the episode,
               providing a new platform for them to share the ACN home-based business
               with their prospects. And the interest didn’t die down during commercial
               breaks, as independent business owners used commercials as prime
               opportunities to answer questions, host contests about ACN and the
               episode, and to share our opportunity through presentations and talks. . . .
               The wave of momentum the episode created is truly incredible!”

(emphases added). 112

       176.    The repeated references to Trump’s wealth were a key part of the use of his brand

to boost ACN’s business. Potential investors were led to credit Trump’s assessments of ACN as

a business opportunity because of his portrayal as exceedingly wealthy—after all, a purportedly

self-made billionaire must know a thing or two about making money. But, as alleged above,

Trump’s apparent wealth was largely an illusion—in the words of a producer of The Apprentice,

“a convenient vacation [from] the truth.” 113


111
    Anne Archer, Catching the Eye of a Billionaire, Success from Home, Aug. 2011, at 24.
112
    Id.
113
    Kelly McEvers, Trump Stories: The Apprentice, NPR (Oct. 11, 2017),
https://www.npr.org/templates/transcript/transcript.php?storyId=555768139.



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       177.   Thus, it was not only the Message conveyed by Trump that so misled investors. It

was ACN’s ability to associate itself with the Trump brand—a right that ACN secretly bought

from the Trump Enterprise—that drove the fraudulent message home and pushed investors to

overcome lingering doubts and invest in the ACN business opportunity.

       178.   Throughout the period of his endorsement, Defendants were in full control of how

the Trump brand was used to bolster ACN in the eyes of potential investors. Indeed, ACN

directed IBOs that they could only use materials featuring Trump that were created by ACN

itself, because ACN had “exclusive and limited permission to reference Donald J. Trump and use

his image on ACN created material that has been approved by the Trump organization”

(emphases added).

       179.   This brand association was not limited to Trump himself. Defendants Donald

Trump Jr., Ivanka Trump, and Eric Trump each appeared repeatedly alongside ACN co-founders

in photographs and other materials and associated themselves with the brand. For example, since

at least 2013, the Eric Trump Foundation (now known as Curetivity) has hosted ACN’s charity

golf tournaments. During these events, the Trumps appeared in photographs with ACN

representatives, which were later publicized on social media and elsewhere. In 2013 and 2014,

Donald Trump Jr. and Eric Trump were photographed golfing with ACN’s co-founders.

Defendant Eric Trump served as a “captain” for ACN’s 2014 Ronald McDonald House Celebrity

Golf Tournament. Eric Trump also authorized ACN to use his image and statements in

recruiting and promotional videos. Following the event, ACN published a photograph of

Defendant Eric Trump with ACN’s chairman and co-founder Robert Stevanovski, telling ACN’s

followers that Stevanoski “spent the day playing with Eric Trump.” In 2015, ACN co-founder

Stevanoski was photographed at the Eric Trump Foundation’s annual fundraising dinner. And




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ACN donated at least $300,000 to the Eric Trump Foundation between 2013 and 2015. In the

eyes of the victims, Defendants and ACN legitimized each other through their cross-branding in

these appearances.




       180.    In February 2015, ACN published on its Facebook page an album containing

photographs of four ACN representatives—including Manny Provenzano, son of ACN

cofounder Greg Provenzano—in Donald J. Trump’s private plane, at a taping of the season finale

of The Celebrity Apprentice, and at the subsequent after-party at Trump Tower. The album

description stated, “Due to ACN’s continued relationship with Donald J. Trump, we were invited

to return to New York with him on his private jet and get exclusive access to the live finale of


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The Celebrity Apprentice.” The album contained a photograph of Eric Trump standing with the

four representatives, which included the caption: “Our VIP Access continued after the show! We

got to chat with the stars of #CelebrityApprentice and members of the Trump family!” The

promotion and endorsement were a collective effort on behalf of the Trump family. As a June

2008 edition of Success explained, in an article titled “Trump Power,” Donald Jr., Ivanka, and

Eric are where “Donald Trump’s professional life and family life intersect.” 114


          A.      Jane Doe

          181.    Plaintiff Doe is resident, citizen, and domiciliary of California. Doe signed up as

an ACN IBO in mid- to late 2014 and pursued the business opportunity for approximately two

years. Throughout that time, she also worked as a hospice caregiver, often working twelve-hour

shifts, seven days a week. Doe continues to work as a hospice caregiver to this day.

          182.    Doe did not attend college. She does not have a retirement-savings plan or life

insurance. Until this year, she has never purchased a stock or a bond.

          183.    Doe was invited to her initial ACN meeting by her friend, Plaintiff Luke Loe.

Doe had first met Loe about five years earlier through a social club, and they connected because

of their mutual interest in business and current events. Doe and Loe were ambitious,

entrepreneurial, and eager to invest in themselves.

          184.    One day in mid- to late 2014, Loe called Doe and told her that he had joined

ACN. He said that he thought that the company was a great opportunity for them both to make

money, and invited her to join him at an ACN meeting. Doe was intrigued. She knew that, like

herself, Loe really needed and wanted to make money. They were both struggling financially.

Doe agreed to attend.


114
      Mike Seemuth, Trump Power, Success, June 30, 2008.


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       185.    The meeting was held in a large meeting room at a hotel in Los Angeles. There

were about 75 people there: a mix of current ACN IBOs at various levels, as well as potential

recruits. The recruits were encouraged to sit right up front.

       186.    The meeting began with speeches by three more senior ACN IBOs. The first

speaker talked at some length about ACN’s charitable giving, and told recruits that, if they

signed up for ACN, they would not need to make charitable donations, since a substantial portion

of their investment would support charitable causes. Doe, a charitable person who regularly

made donations to St. Jude despite her extremely limited means, liked what she was hearing.

       187.    The next IBO talked more about how to pursue the business opportunity. She

emphasized the importance of getting one’s own family involved in the company. Doe thought

this sounded okay, but she was unconvinced.

       188.    The third speaker was a senior ACN IBO. Doe did not care for him at all. She

was extremely put off by her sense that he was talking down to people, fancying himself as better

than lower-level IBOs. She thought he seemed arrogant. She considered leaving the meeting.

       189.    Next, the organizers of the meeting played a seven- to eight-minute promotional

video prominently featuring Donald Trump. This video was the turning point for Doe. Doe

thought very highly of Trump. She was entrepreneurial and ambitious, and she thought of

Trump as a highly successful businessman with many accomplishments. In addition, Doe’s

mother had been a viewer of The Celebrity Apprentice and frequently told Doe all about it. She

emphasized how impressive Trump was—how good he seemed at business.

       190.    As she watched the video, Doe was very impressed by the Trumps’ endorsement

of ACN. She watched as he said that ACN IBOs could make real money from their involvement

in the company, which he said was already worth millions. Then she watched clips of ACN’s




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appearance on The Celebrity Apprentice. Doe saw the Trumps stand alongside the founders and

praise the company.

       191.    Based on what she knew about Trump and The Celebrity Apprentice, Doe was

convinced by his statements that ACN was a great opportunity. Doe trusted Trump. She was

convinced that Trump believed that investing in ACN was a great business opportunity—and

that that was why he was endorsing it. And she believed that, like any businessman promoting a

business opportunity, he had researched ACN extensively and that his statements were supported

by his own research and experience.

       192.    Trump concluded with a call to action to induce Doe and prospective investors to

invest in ACN’s business opportunities and training programs: “I’ve found there are two types

of people: Those who take action and those who let opportunity pass them by. Which one are

you?” Doe recalls this statement having a significant impact on her decision to invest in ACN.

       193.    Doe believed that Trump had her best interests at heart. She believed that Trump

was already very rich, and she thought to herself, “what would he want with my $500?” She

thought, “he already has a lot of money, he’s not trying to scam me.” Doe had no idea Trump

was being paid lavishly for his endorsement—the video made no mention of that. Doe thought

Trump’s only motivation in endorsing ACN was to help people like her make good business

decisions. As a result, Doe trusted Trump when he said that ACN was “one of the best

businesses” and that participants could make a lot of money from investing in ACN. Doe

concluded that Trump would not have associated himself with ACN, brought the company onto

his show, and given it such huge publicity if it were not a genuine opportunity that offered a

strong likelihood of a good return.




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       194.    Moreover, based on the way Trump talked about ACN in the video, Doe believed

that Trump himself had invested in the ACN business opportunity and had made money from it.

She believed that if Trump had made money with ACN, she could too.

       195.    After seeing Trump in the video, Doe was convinced. Based on the speeches she

had seen up to that point, she would not have joined. However, Trump’s endorsement sold her

on the opportunity. She told others at the meeting that she had not liked the third speaker, but

that she had been convinced by Trump.

       196.    Doe joined ACN then and there. She wrote a check for the $499 registration fee

and became an IBO. She also signed up for an upcoming trip for a larger ACN meeting in Palm

Springs, California.

       197.    More senior IBOs told Doe that Palm Springs would be a great way to begin her

career with ACN. They also told her that there would be a “special guest” and an opportunity to

“meet someone very special,” and implied that it would be Donald Trump. Doe wanted to go to

Palm Springs for many reasons: she was excited about the convention; she wanted to be

successful in ACN; she believed the convention was necessary for her success; but, above all,

she wanted to meet Donald Trump.

       198.    Having paid the $499 registration fee, Doe had very limited funds. Despite her

limited resources, Doe used her most recent paycheck to pay for her event expenses, including

her registration fee and her share of a car rental, hotel room, and food. She shared a hotel room

with four other women. She also purchased training materials and other business tools to help

her succeed with ACN. Doe’s cumulative expenses from the convention totaled almost $1,500.

Throughout the event in Palm Springs, Trump’s endorsement was featured prominently,

although Trump himself did not appear.




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           199.   After the event in Palm Springs, Doe returned to Los Angeles and remained fully

committed to ACN. More senior IBOs told her that, to be successful, she had to attend ACN

meetings like the one where she had first signed up. Each meeting cost $20, and Doe often

attended two per month.

           200.   These meetings were held in one of two hotels in Los Angeles. The program at

every meeting was essentially the same: speeches by more senior IBOs, recognition of IBOs

who claimed they were “making money” (rarely was a specific number given), and, the

centerpiece of it all, the promotional video featuring Trump’s endorsement.

           201.   Doe felt substantial pressure to attend these meetings. Attending these meetings

often caused Doe to miss shifts providing hospice care, which reduced Doe’s income.

           202.   Doe worked tirelessly to recruit her friends and family and sell them services.

She hosted events at her home for her family to inform them about ACN. Doe invested money

and considerable time providing food and supplies for these events, preparing her house and

cooking food. Ultimately, she had extremely limited success. In her first few months, Doe was

able to recruit one of her sisters as an IBO, but just two days later, her sister demanded her

money back. Doe, wanting to do right by her sister, refunded her sister’s $499 investment

herself.

           203.   Doe also was able to recruit three of her cousins as customers. Two of her

cousins purchased a TV plan and one changed his cell phone plan.

           204.   Based on those customers, Doe received a check from ACN for $38. It was the

only income she would ever receive from the company.




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       205.    As the months wore on, Doe began to get discouraged. But each time she began

to lose confidence, she would blame it on herself and try to change her approach because she

believed that she was doing something wrong.

       206.    Throughout Doe’s time in ACN, including at the regular meetings, more senior

IBOs constantly touted Trump’s endorsement of ACN. They said things like, “If you are

successful enough with ACN, then you can meet Donald Trump,” and told her that Trump would

help individual IBOs with their businesses if they put in enough work. Doe understood that that

Trump was invested in the company financially and that he had a personal stake it its success.

       207.    About six months after she first signed up, Doe attended a national ACN

convention in Cleveland, Ohio. She was wary of spending the money, but her upline told her

that it could not be missed. They emphasized the community, the training and, importantly, that

Trump might be there as a special guest. At the local meetings leading up to the convention,

Doe’s upline played even more Trump videos than usual, whipping up excitement among the

IBOs. Doe knew that she could not miss out on opportunity to learn about business from

Trump—and she decided to go.

       208.    Doe purchased a convention ticket and gave her upline money for flights and her

share of a hotel room, van service, and miscellaneous expenses. Again, Doe hoped and expected

that Trump would appear personally. And again, Doe was disappointed. Although Trump did

not appear, photos and videos featuring Trump were prominently displayed throughout the

convention.

       209.    Doe had to return from the convention a day earlier than the rest of her group, and

when she got to the airport, she realized that the ticket her upline had given her was one-way




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only. She had to purchase a return ticket herself. Her total investment in attending the

Cleveland convention was approximately $2,000.

       210.    Some months later, Doe attended another multi-day event, this time in Detroit,

Michigan. Again, she invested substantial amounts of money to attend the event, in the hopes of

seeing or meeting Donald Trump. Again, he did not appear, but his endorsement was central to

the event.

       211.    Not long after the Detroit event, Doe’s friend, Plaintiff Luke Loe, who had first

recruited her to the business, decided not to renew his IBO position for a second year. Loe, who

was homeless at the time, simply had no funds to continue pursuing the business opportunity.

Though she was disappointed that Loe would not continue with ACN, Doe herself decided to

soldier on, and she paid the annual renewal fee of $150.

       212.    During her initial recruitment and throughout her experience with ACN, Doe

recalls hearing and relying on various statements from Trump that formed part of the Message,

including:

               •   “It’s my absolute pleasure to speak to you on behalf of ACN. I work
                   with a lot of companies and I can say with 100% confidence that
                   you’ve made the right decision choosing ACN.”

               •   “I’ve been working with ACN for a few years now. Since that time,
                   I’ve developed a great relationship with ACN and the more I learn
                   about them, the more I like and respect them. I see incredible potential
                   in the things they are doing now and are planning in the future.”

               •   “ACN has a reputation for success. Success that is really synonymous
                   with the Trump name, and you can be a part of it.”

               •   “You have a great opportunity before you at ACN without any of the
                   risk most entrepreneurs have to take.”

               •   “I’ve experienced the opportunity that exists when you’re able to jump
                   ahead of the curve and ACN gives you that opportunity.”




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               •   “I’ve found there are two types of people: Those who take action and
                   those who let opportunity pass them by. Which one are you?”

       213.    During her time as an IBO, Doe also recalls reading and relying on articles in

Success from Home magazine featuring Donald Trump’s promotion and endorsement of ACN,

which she understood to be third-party validations of the business opportunities and training

programs ACN offered that were entirely independent from ACN and the Trumps. For example,

Doe recalls reading and relying on the following statements by Trump in Success from Home:

               •   “Direct selling puts the people element back into business. And for
                   thousands and thousands of people, that means good business and a
                   solid opportunity.”

               •   “I’ve known the ACN co-founders for years and I must tell you, I’ve
                   gotten to know them very well. And the level of integrity there is
                   amazing. They love the people involved in ACN. They want to do
                   well for the company and for the people at ACN–far beyond
                   themselves.”

               •   “I love the leadership at ACN. These co-founders know that they are
                   doing. . . . A company is only as good as the people at the top, and
                   ACN has good people behind it.”

               •   “The ACN co-founders love this company and all those years of
                   success that they have already had are going to build a strong future of
                   success.”

               •   “I’ve watched this company grow . . . . I’ve been a fan of the
                   company. I think it’s terrific and the ACN leadership is terrific.”

               •   “I do this . . . because I love it because I think this is a great company
                   and I love these ACN audiences!”

       214.    These statements in Success from Home magazine further comprised, bolstered,

and augmented the Message and encouraged Doe to persevere with ACN.

       215.    For a time, Doe continued attempting to recruit both customers and IBOs,

bringing family members to the local ACN events. She was mindful of how much money she




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had invested in the ACN business opportunity and was eager to find a way to recoup her

investment. But eventually she too simply ran out of money to invest.

       216.    At one point in her second year with ACN, Doe came to one of the regular

meetings without a recruit. Her upline criticized her and told her she would never make money

if she did not bring people to the regular meetings. Doe thought to herself that she had been

bringing people to the meetings for more than a year and had only made $38. Despite her

strenuous efforts, she simply was not making money. She began to have real doubts about the

company. And she was becoming uncomfortable with the idea of trying to recruit people into

the company—she did not see how she could tell people ACN was a good thing when she was

more and more convinced that neither they nor she could make a profit.

       217.    Not long thereafter, the location of the regular meeting was moved to the house of

an IBO. As she paid the fee to enter the meeting, Doe thought to herself, I really am spending a

lot.

       218.    At the meeting, it became clear to Doe that the statements Trump was making

about ACN were not true and that ACN did not provide average IBOs with a realistic chance of

making a profit. She realized that she had been scammed. Trump was selling a dream to people

like her—people who were struggling financially, were really desperate, and would leap at a

promise of the kind of success Trump embodied. It was her last meeting.

       219.    Doe realized that it was a lost cause and that she was just going to continue losing

money. It was at this point that Doe cut her losses and ceased to participate in ACN. When her

next annual renewal date came up, Doe decided not to renew her position.




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       B.      Luke Loe

       220.    Plaintiff Loe is resident, citizen, and domiciliary of California. Loe first heard

about ACN in mid-2014 when he was working for the Salvation Army. Loe was homeless at the

time. A colleague approached Loe and told him about an opportunity to make money by joining

ACN. The colleague invited Loe to join him at an information meeting.

       221.    Loe did not attend college. He has never purchased stocks. And Loe does not

have life insurance or a retirement savings plan.

       222.    The meeting was held at a hotel in Los Angeles. The meeting began with some

short speeches by ACN representatives, followed by a seven- to eight-minute promotional video,

which prominently featured Trump. Loe believed at the time that Trump was a highly successful

businessman. Loe had watched The Celebrity Apprentice a few times and had seen Trump

present himself as a savvy, experienced, and knowledgeable entrepreneur who had achieved

remarkable wealth and celebrity. In the ACN video, Trump spoke about his entrepreneurialism,

describing how he had started businesses and become very successful. Critically for Loe, Trump

promoted ACN as a good moneymaking opportunity. Trump also said that he was glad to be a

part of ACN because he genuinely believed the company provided a path to commercial success.

       223.    The Trump endorsement in the video was the key factor that made Loe decide to

invest in the ACN business opportunity. Loe thought that, if a successful businessperson like

Trump believed in the company, it was worth Loe’s own time and effort.

       224.    After the video, an ACN regional vice president gave a formal presentation. After

that presentation, and some speeches by other ACN members, Loe was asked to join ACN—for

a $499 registration fee.

       225.    Loe was homeless at the time and did not have the money to pay the registration

fee. But Loe’s colleague—the one who had first introduced him to the company and invited him


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to the meeting—offered to loan Loe the money. Although $499 was a very significant amount of

money for Loe, he believed it was worth going into debt because he thought, based largely on

Trump’s endorsement, that he would recoup his investment if he worked hard to build a business

within ACN.

       226.   During his initial recruitment and throughout his experience with ACN, Loe also

recalls hearing and relying on various statements from Trump that formed part of the Message,

which included:

              •   “It’s my absolute pleasure to speak to you on behalf of ACN. I work
                  with a lot of companies and I can say with 100% confidence that
                  you’ve made the right decision choosing ACN.”

              •   “I’ve been working with ACN for a few years now. Since that time,
                  I’ve developed a great relationship with ACN and the more I learn
                  about them, the more I like and respect them. I see incredible potential
                  in the things they are doing now and are planning in the future.”

              •   “Direct selling is actually one of the oldest, most respected business
                  models in the world. And has stood the test of time most importantly.
                  ACN approaches it with a fresh perspective that you won’t find
                  anywhere else. I know what it takes to be a success and ACN has a
                  winning business model, and I mean winning.”

              •   “ACN has a reputation for success. Success that is really synonymous
                  with the Trump name, and you can be a part of it.”

              •   “You have a great opportunity before you at ACN without any of the
                  risk most entrepreneurs have to take.”

              •   “I’ve experienced the opportunity that exists when you’re able to jump
                  ahead of the curve and ACN gives you that opportunity.”

              •   “I’ve found there are two types of people: Those who take action and
                  those who let opportunity pass them by. Which one are you?”

              •   “ACN is leading the way in a new technology that will literally
                  revolutionize the way we communicate with the ACN video phone.
                  And trust me it’s changing everything. The absolute truth is that this
                  technology will be present in every home within the next several
                  years.”



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                •     “No matter who you are, no matter what you do, everyone can find
                      value in this technology. With my busy schedule, the ACN video
                      phone keeps me personally connected to my contacts around the
                      world, without ever leaving my office.”

        227.    After he signed up, Loe began trying to recruit other IBOs and sell ACN services.

He had very limited success. Loe was only able to recruit one other IBO, fellow Plaintiff Jane

Doe. He also sold a handful of services to friends. Loe registered some of the services in his

own name, even though they were intended for a friend who had promised to foot the bill.

Ultimately, Loe’s friend was unable to pay because the prices of the services got too high, and

Loe was stuck with a bill that he too was unable to pay. The unpaid charges remain on his credit

report to this day.

        228.    Loe never received any income whatsoever from ACN.

        229.    Loe’s inability to succeed with ACN was not due to lack of effort. Loe attended

25 to 30 meetings, each costing between $10 to $20. These meetings were held approximately

twice per month in one of two hotels in Los Angeles. The program at every meeting was

essentially the same: speeches by more senior IBOs, recognition of IBOs who claimed they were

“making money” (rarely was a specific number given), and, the centerpiece of it all, the

promotional video featuring Trump’s endorsement.

        230.    Loe felt substantial pressure to attend these meetings; when he missed a meeting,

he was criticized and shunned by more senior IBOs. Attending these meetings often caused Loe

to forgo opportunities to earn income performing one-off projects as a mechanic or handyman.

        231.    Loe also attended three larger ACN events during the year he spent in the

company: a multi-day event in Palm Springs, California, a national convention in Cleveland,

Ohio, and another multi-day event in Detroit, Michigan.




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        232.    Loe was unable to pay for his own event tickets, flights, lodging, and

miscellaneous expenses. In dire straits, Loe borrowed money from his fellow team members so

that he could attend these events, hopeful that if he continued investing in pursuing the ACN

business opportunity he would ultimately recoup his initial investment.

        233.    Like Doe, Loe thought Trump might surprise the audience at the national

convention in Cleveland by appearing on stage personally. While Trump did not appear in

person, his endorsement of the company was center stage. Photos of Trump and word of his

endorsement were widespread, and a promotional video prominently featuring Trump was

played on large screens in the convention arena. When Trump came on the screen, the entire

arena was transfixed. For his part, Loe was again impressed by Trump’s seemingly genuine

support for the company and left the convention re-inspired and reinvigorated, believing that

ACN could still be a good business opportunity.

        234.    After a few more months of meetings, expenses, debt, and zero income to show

for it all, Loe stopped believing in the company. He knew that he had only lost money so far and

could not see a path to making any money in the future. Contrary to what Trump had said in the

promotional videos, Loe concluded ACN was not a good moneymaking opportunity. When the

time came for his next annual renewal, he chose not to pay the fee.


        C.      Richard Roe

        235.    Plaintiff Roe is a resident, citizen, and domiciliary of Maryland. He was an active

IBO for less than one year, from November 2016 until November 2017, when he let his

registration lapse.




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       236.    Richard Roe currently works as a food delivery driver. He does not have life or

health insurance. He has never purchased a stock or bond. He does not have a retirement

account. And he has never owned a home or had a mortgage.

       237.    Roe first learned about ACN in mid-2016. At the time, he was living with his

mother and brother and working for a fast-food restaurant in Columbia, Maryland

       238.    One day in mid-2016, Roe was working an afternoon shift when a customer

beckoned Roe over and told Roe he had a business opportunity for him. The customer said he

was involved with ACN gave Roe his business card bearing the ACN logo, showed Roe an ACN

magazine, and told Roe to give him a call if he was interested.

       239.    Initially, Roe was skeptical. He was not sure the business would be worth his

time and effort. But Roe was spending most of his time as a food-delivery driver and was not

making very much on tips. He wanted to change his life for the better.

       240.    About two weeks later, Roe called the number on the business card the ACN

participant had given him to learn more about the potential opportunity. The ACN participant

texted Roe a link to an informational video that boasted of the lifestyle ACN would provide and

encouraged Roe to join an online conference with other ACN IBOs and potential recruits. Roe

joined the online conference later that evening, where he viewed a presentation providing more

detail about ACN. At the end of the presentation, Roe was told that each recruit would have to

pay $499 if they wanted to “start a business.”

       241.    After the online conference, the ACN participant who had given him the business

card immediately called Roe and pressed Roe to sign up, but Roe said that he would have to

think about it. Five hundred dollars was more than Roe could afford. The ACN participant then

invited Roe to attend a convention in his hometown, Columbia.




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       242.    Intrigued, Roe decided to do some additional research on ACN. Roe first looked

at the Better Business Bureau’s website. He saw that ACN had an A rating, but that there were

some complaints, including from customers who had tried the phone service, who were not

satisfied, and had tried to end the service, but kept getting bills. Because the comments did not

match ACN’s rating, Roe remained unsure. He decided to look up ACN on YouTube. The first

thing that caught his eye was a video of Trump from The Celebrity Apprentice.

       243.    Roe was excited to see Trump. He clicked on the link and watched the video.

For about eight minutes, he watched as the celebrity contestants performed different pitches to

sell ACN video phones. As part of the clip, Donald Trump and Ivanka Trump stood next to two

of the ACN founders, Greg Provenzano and Tony Cupisz, and endorsed ACN, saying that he

knew the company well. Trump then let the founders speak as he remained alongside them.

       244.    Trump’s statements were a turning point for Roe. Roe was fascinated by Donald

Trump. He believed that Trump was a successful businessman who had many kinds of

businesses, including Trump Towers in New York City and a casino in Atlantic City and, thus, a

wide range of business expertise. Roe also knew Ivanka Trump from her appearances on The

Celebrity Apprentice and believed that the Trumps really knew how to make money.

Consequently, the Trumps’ endorsement of the company meant a lot. Roe believed that by

promoting the company, the Trumps were telling others that they too could make money and

become successful business owners like him by investing in ACN. Ultimately, for Roe, Donald

Trump in particular was business. He believed that if Donald Trump said that ACN was great,

then it must be true. After watching this video, Roe was inclined to sign up with ACN and

decided to attend the convention.




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        245.   Roe would not have signed up for ACN if he knew if that Donald Trump was

being paid to endorse ACN. He thought that Trump was endorsing ACN because Trump

genuinely thought it was a good opportunity for someone in Roe’s position.

        246.   Roe attended the convention. He was excited about the ACN opportunity and

how much he could make compared to his fast-food job. But he still could not afford the $500

initiation fee. The customer followed up with Roe over the phone a few days later. When the

customer asked Roe what he was thinking about ACN, Roe said he was not sure because he did

not have the money. The customer kept calling Roe. During these conversations, Roe would tell

the customer that he was not planning to commit to ACN now because it was too much money.

But because of Trump’s endorsement, he wanted to sign up—if only he could find a way to

afford it.

        247.   One weekend, in the beginning of November 2016, Roe and his mother went to a

nearby casino. Roe got on a slot machine and he quickly won $300. He immediately put this in

his bank account. Later that night, he won $200 from a lottery ticket. At that moment,

something clicked: Roe realized he had enough money for the ACN registration fee. He put the

money directly into his account and decided he would sign up.

        248.   Roe then called the ACN participant who gave him the business card and told the

participant that he was ready to sign up. The participant remained on the phone with Roe as he

filled out his registration form and paid the $499 registration fee.

        249.   The participant, who would now become Roe’s ACN “mentor,” invited him to his

house that evening to help train Roe on how to best use the ACN tools.

        250.   After this training, Roe quickly attempted to establish his own success in the

company. He did this both by trying to convince potential customers to purchase ACN services




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and trying to convince others to join ACN as IBOs. He first tried to recruit his mother as a

customer. She said no. Then, about a month later, he visited a friend who had a high electric

bill. Roe thought maybe he could help by providing alternative services through ACN. Roe

attempted to use the ACN pitch to sell the services, but his friend was skeptical and did not

purchase any services. Finally, Roe tried to use social media as a recruiting tool. He sent the

link to the ACN recruitment video to his friends using Snapchat, but received nothing in

response.

        251.    During his first month of ACN, Roe’s mentor repeatedly called him and would

always give him an ACN motivational speech. Roe was motivated at first but began to get

discouraged when he was unable to recruit any additional customers or recruits. Toward the end

of his second month, around the start of 2017, Roe, who followed ACN on multiple social media

accounts, including Facebook, Instagram, and YouTube, started seeing that ACN was posting

videos saying that it was not a scam. These videos caught Roe’s eye, but he did not think much

of it at the time.

        252.    Then, in early 2017, Roe’s mentor invited him to a local seminar on a Saturday

morning. He paid $10 to attend a similar presentation that he had seen months earlier—he

watched the same video featuring Trump, a slideshow, and then participated in a session about

how to pitch ACN.

        253.    After the class, Roe was again feeling more motivated to sell and promote ACN.

Roe had already reached out to his family and friends, who had not signed up. He tried to talk to

people at work, including a new hire who was not making much money. Roe made the pitch and

gave the new hire his mentor’s number, but does not believe the new hire ever signed up.




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       254.   During his initial recruitment and throughout his time with ACN, Roe recalls

hearing and relying on various statements from Trump that formed part of the Message,

including the following:

              •   “It’s my absolute pleasure to speak to you on behalf of ACN. I work
                  with a lot of companies and I can say with 100% confidence that
                  you’ve made the right decision choosing ACN.”

              •   “I’ve been working with ACN for a few years now. Since that time,
                  I’ve developed a great relationship with ACN and the more I learn
                  about them, the more I like and respect them. I see incredible potential
                  in the things they are doing now and are planning in the future.”

              •   “Direct selling is actually one of the oldest, most respected business
                  models in the world. And has stood the test of time most importantly.
                  ACN approaches it with a fresh perspective that you won’t find
                  anywhere else. I know what it takes to be a success and ACN has a
                  winning business model, and I mean winning.”

              •   “ACN has a reputation for success. Success that is really synonymous
                  with the Trump name, and you can be a part of it.”

              •   “ACN provides you with everything you need to be successful. All
                  the training, support and tools, combine that hard work and
                  commitment and you’ll be well in your way to living the lifestyle that
                  you deserve.”

              •   “You have a great opportunity before you at ACN without any of the
                  risk most entrepreneurs have to take.”

              •   “You have all of the basics to be an unbelievable company well into
                  the future.”

              •   “When evaluating a business opportunity, people need to look for
                  strong leadership, a solid track record, success stories, a strong product
                  people really need and want and a clear plan for the future. ACN has
                  all of these things.”

              •   “I’ve experienced the opportunity that exists when you’re able to jump
                  ahead of the curve and ACN gives you that opportunity.”

              •   “I’ve found there are two types of people: Those who take action and
                  those who let opportunity pass them by. Which one are you?”




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       255.    Around March 2017, Roe again saw the videos about ACN not being a scam on

his social media feed. At this point, Roe began to become skeptical of the company. He found it

questionable that the company was having to produce videos that it was not a scam and answer

questions such as, “Is ACN a pyramid scheme?” Instead of convincing Roe that ACN was not a

scam, these videos had the opposite impact: Roe began to become concerned that ACN was a

scam. Roe recognized that he was not making any money and did not see how he could make

any money. It was at this point that Roe began to realize that Trump’s message was false—he

realized he had wasted his time and money on ACN.

       256.    Roe then stopped engaging with ACN. By this time, his mentor had stopped

reaching out to him. He really had no reason or motivation to continue. In October 2017, Roe

received an email asking him to renew his ACN registration. He ignored the email, and as a

result, his account was terminated.

       257.    Roe incurred multiple expenses as an ACN IBO. First, he paid the $499

registration fee. Second, he paid $10 to attend the seminar. Third, he paid his expenses for

travel to and from ACN events. Finally, Roe spent his free time recruiting ACN customers and

recruits. At no time did Roe recover any of the money that he invested in ACN.


       D.      Mary Moe

       258.    Plaintiff Moe is a resident, citizen, and domiciliary of Pennsylvania. Moe works

at a national retail store. Moe has never purchased stocks or bonds, does not have health

insurance, does not own a car, has never had a mortgage or owned a home. Nor does Moe have

any specific understanding of the stock market.

       259.    Moe signed up as an ACN IBO in April 2013. At the time, she was living in a

small town in Pennsylvania with her husband and three children. Moe, who was working in



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customer services at a manufacturing company, was the primary breadwinner for the household,

while her husband was in and out of jobs.

       260.    Moe’s niece initially connected her to ACN. Moe originally attended an ACN

award ceremony to support her niece at a hotel in Pennsylvania. Besides Moe, there were about

twelve other participants in the room. Soon after she arrived, it became clear to Moe that the

main purpose of the event was for the existing IBOs to recruit her and other guests to ACN.

       261.    The event began with short introductions from the ACN IBOs in the room.

       262.    Next, the organizers played a promotional video, which lasted about five minutes

and prominently featured Trump. The video is what led Moe to decide to commit to ACN. Moe

was already extremely impressed by Trump. She was a regular viewer of The Celebrity

Apprentice and she knew him to be an extremely wealthy, savvy businessman. She believed in

his ability to make money.

       263.    The narrator in the video said that “ACN made network marketing history when it

received the personal endorsement of Mr. Trump” and that Trump has “has continued to praise

the company, its co-founders, and home-based business opportunities.” The narrator referred to

ACN’s two appearances on The Celebrity Apprentice as both highly impactful on its success and

reflective of the success it offers IBOs: “The excitement around ACN is spreading and the world

is taking notice. After receiving personal invitations from Donald J. Trump himself, ACN was

featured on two episodes of The Celebrity Apprentice, NBC’s his reality television show, in 2009

and again in 2011.” During this narration, the video showed images of Trump walking into an

ACN convention and of ACN appearing in The Celebrity Apprentice alongside Trump, Ivanka

Trump and Donald Trump Jr.




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       264.    Trump said in the video that “ACN has a reputation for success. Success that is

really synonymous with the Trump name, and you can be a part of it.” Trump also said: “When

evaluating a business opportunity, people need to look for strong leader, a solid track record,

success stories, a strong product people really need and want, and a clear plan for the future.

ACN has all of these things.”

       265.    Trump also advised viewers that investing in ACN’s business opportunities and

training programs lacked the risks associated with most investments and that he had experienced

those opportunities himself: “You have a great opportunity before you at ACN without any of

the risk most entrepreneurs have to take. You have the ability to market breakthrough

technology before it hits the critical mass. I’ve experienced the opportunity that exists when

you’re able to jump ahead of the curb and ACN gives you that opportunity.” Trump concluded

with a call to action to induce Plaintiffs to invest in ACN’s business opportunities and training

programs: “I’ve found there are two types of people: Those who take action and those who let

opportunity pass them by. Which one are you?” This line was so impactful on Moe that she had

almost memorized it verbatim.

       266.    Moe was gripped by the power of the Trump family brand in general—she

recalled that Ivanka Trump and Donald Trump Jr. featured on The Apprentice, which she

watched regularly.

       267.    As the film played, Moe was struck by Trump’s powerful endorsement of ACN.

She watched him describe ACN as a lucrative business opportunity. He praised the ACN

products, and even alluded to the fact that he used ACN products and services himself. Most

importantly, Moe was impressed by Trump’s statement that investors in ACN had enormous

potential to make money, because of the way it was designed.




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       268.    After the video, Moe knew that she was going to sign up for ACN. She believed

that joining the company was a lucrative opportunity; she imagined that, by following Trump

and investing in the company, she would receive something in return. Moe very much needed

the extra money to support her children, one of whom was about to enter college. Largely

because of the video, Moe believed ACN was the way she could generate additional income.

       269.    Moe was ready to sign up immediately, but she had to wait until her payday, the

next Friday, when she would be able to cover the registration fee. Given that Moe’s annual

salary was only $36,000, paying the registration fee was going to be a big risk; the $499 was not

the small change the ACN recruiters made it out to be. Nevertheless, Moe believed it would be

worth it. As soon as her paycheck cleared, she paid the $499 registration fee.

       270.    To ensure that she was fully prepared to pitch ACN’s products effectively, Moe

immersed herself in information about the company. She explored the website, watched videos,

and read pamphlets. Only then did Moe begin to make her recruitment lists and to think about

approaching her friends and other potential customers.

       271.    Moe remembered receiving and reading Success from Home magazine frequently,

which would arrive along with an accompanying DVD, and on several occasions featured

Donald Trump endorsing ACN.

       272.    Moe also began to attend ACN meetings to widen her network and continue to

develop her skills. Meetings occurred almost every weekend and cost between $5 and $10 to

attend. Each Saturday morning, Moe would leave her family at home and drive to a meeting in

Delaware or Pennsylvania. In total, Moe attended about 25 meetings during her time with ACN.




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       273.    In addition to the meetings, Moe attended four Revolution Weekends. These

were extended seminars that lasted from Friday night through mid-day Sunday. Moe paid $49 to

$69 to attend these weekends, in addition to expenses.

       274.    Moe was not particularly excited about spending her weekend with ACN IBOs

rather than her husband and children, but she believed her upline who told her that these

meetings were important and necessary for her success. The meetings consisted of trainings on

how best to recruit IBOs and customers. They also included presentations and videos intended to

motivate and impress IBOs.

       275.    Trump was often referenced at these meetings. Meeting organizers would remind

IBOs of Trump’s involvement with and endorsement of ACN; they would consistently reiterate

that such a successful, wealthy, businessman saw value in and supported the company. Moe was

even given the opportunity to take a picture with a cutout of Trump.

       276.    At the meetings Moe attended, organizers also continually promoted the story of

Casey Snyder. Snyder is an ACN IBO from nearby Pennsylvania who worked his way up in

ACN to the role of Regional Vice President. IBOs would describe Snyder’s trajectory through

the company and explain that ACN had not only helped Snyder become wealthy, but also that it

had allowed him to achieve a celebrity-like status. They would highlight that he had been a

judge on The Celebrity Apprentice. Stories of Snyder’s success, including his connection to

Trump, were especially motivational for Moe; it was powerful to see that an ordinary person

from her area could become such a successful businessman and enter the elite world of someone

like Trump.

       277.    Moe would leave meetings and the Revolution Weekends excited about ACN and

the opportunity. She believed that she could become the next Snyder if she tried hard enough.




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Yet, repeatedly, she would have the wind blown out of her sails. While Moe applied what she

learned at these meetings to her efforts to recruit IBOs and sell additional services, she was

nevertheless unable to find success. When she did find potential clients, she received no support

from the IBOs who had recruited her and promised to mentor her.

       278.    Despite her lack of success with ACN, Moe still had faith in the company. In

fact, she renewed her registration for an additional year and she even purchased a registration for

her son. While Moe spent the last money she had, she was committed to making her investment

in ACN work.

       279.    During the second year of her participation in ACN, Moe paid for, but ultimately

did not attend, a national convention in Los Angeles. Despite the fact that it was extremely

difficult for Moe to find money to pay for the registration fee and to travel across the country,

Moe believed attending the convention was necessary for her to succeed. After paying the non-

refundable registration fee, however, it became clear that the costs associated with attending the

convention would be too high for Moe.

       280.    Finally, in December 2014, Moe realized that she was not going to make any

money in ACN. Moe stopped working with ACN and chose not to renew for another year.

                                          *      *       *

       281.    The Trump Enterprise’s fraudulent promotion and endorsement of ACN alone

constitutes a pattern of racketeering activity in violation of the Racketeer Influenced and Corrupt

Organization (“RICO”) Act, 18 U.S.C. §§ 1961 et seq., and further constitutes mail and wire

fraud under federal law, false advertising under California Business and Professions Code

§ 17500, unfair competition under California Business and Professions Code § 17200, unfair and

deceptive trade practices under the Maryland Consumer Protection Act, unfair and deceptive acts




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under the Pennsylvania Unfair Trade Practices and Consumer Protection Law, common law

fraud, and common law negligent misrepresentation.


VI.    THE TRUMP ENTERPRISE AND ACN’S CO-FOUNDER WERE INVOLVED IN
       SIDE DEALS THAT FACILITATED MONEY FLOW BETWEEN THEM

       282.    Over the years, the Trump Enterprise built a close relationship with ACN and its

co-founders. Upon information and belief, the various interconnections and deals between ACN

and the Trump Enterprise were yet another way that money flowed between the two, in quid pro

quo arrangements that were not disclosed to the vulnerable consumers hearing Trump’s pitch.


       A.      ACN’s Co-Founder Bought Property Around The Trump Organization’s
               Major Golf Course Development in North Carolina

       283.    In March 2012, TNGC Charlotte, LLC (a member of the Trump Enterprise, and

an entity of which Defendants Donald Trump Jr. and Ivanka Trump were executive officers,)

agreed to acquire The Point Lake and Golf Club in Mooresville, North Carolina, and rebranded it

the Trump National Golf Club (“TNGC Charlotte”). That same month, ACN co-founder Robert

Stevanovski and his wife, Sonya Stevanovski, registered Pasicor LLC (“Pasicor”) in North

Carolina. The Stevanovskis used corporate entities managed by Pasicor to acquire several

parcels of land near TNGC Charlotte. 115

       284.    On March 28, 2012, the day before Pasicor was registered, Augusta Lee Capital

Partners LLC (“Augusta Lee”) was registered in North Carolina. Pasicor was appointed its

managing member. Two days after it was registered, Augusta Lee paid $7.3 million to purchase




115
   North Carolina Dep’t of State, Business Registration Division, Limited Liability Company
Information: Pasicor, LLP (2017).



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a 110-acre property known as “Augustalee” in Cornelius, North Carolina, nearby TNGC

Charlotte. 116

        285.     On April 30, 2012, Langtree Development Group LLC and Langtree Capital

Partners LLC (the “Langtree Companies”) were registered in North Carolina with Pasicor as

their managing member. The Langtree Companies purchased multiple properties around the

Lake Norman waterfront nearby TNGC Charlotte. 117

        286.     Meanwhile, the following year, Trump announced the opening of Trump

International Realty Charlotte, a real estate brokerage based at TNGC Charlotte. Trump

International Realty Charlotte is a brokerage specializing in “luxury homes for sale in Lake

Norman, Charlotte, Mooresville, Cornelius, Davison, Huntersville and Statesville, all in the Lake

Norman region of North Carolina.”

        287.     The personal relationship was ongoing at the same time. For example, when

Donald J. Trump tweeted about the birth of Ivanka Trump’s child in October 2013, ACN

retweeted Trump’s tweet, and responded to Trump and Ms. Trump, writing:

“@realDonaldTrump Congratulations to @IvankaTrump on the birth of her beautiful baby boy,

and to grandfather @realDonaldTrump as well!”

        288.     On June 30, 2014, West Catawba Avenue LLC was registered in North Carolina

with Pascior as its managing member. In July 2014, West Catawba Avenue LLC purchased a

property at 19620 W. Catawba Avenue, in Cornelius, North Carolina (near Lake Norman) for




116
    North Carolina Dep’t of State, Business Registration Division, Limited Liability Company
Information: Augusta Lee Capital Partners, LLC (2017).
117
    North Carolina Dep’t of State, Business Registration Division, Limited Liability Company
Information: Langtree Capital Partners, LLC (2017).



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$2.275 million. Xoom Energy, an ACN subsidiary, leased a suite in an office building at that

site. In August 2017, West Catawba Avenue LLC sold the property for $3.1 million. 118

       289.    Plaintiffs have limited information about these real estate deals, but expect that

discovery would shed more light on any connections between these transactions and the Trump

Enterprise, including Trump International Realty.

       290.    In addition, in August 2015, the wedding of Provenzano’s daughter, Autumn

Moheyer, was held at the TNGC Charlotte.


       B.      ACN Has Paid the Trump Enterprise To Hold Charitable Golf Tournaments
               at Trump Golf Clubs

       291.    The financial ties between ACN and the Trump Enterprise were not limited to

payments for Trump’s endorsement and the real estate deals in North Carolina.

       292.    From 2013 to 2016, ACN Global Reach Charities, Inc. (“ACN Global Reach”), a

non-profit affiliated with ACN, staged annual celebrity golf tournaments that were hosted at

TNGC Charlotte. Although these events were billed as fundraisers for Ronald McDonald House,

the Trump Enterprise appears to have been paid substantial sums to host the events. By

associating Trump and ACN and their respective brands and businesses with charitable causes,

the Trump Enterprise created another veneer of legitimacy in the eyes of ACN’s members and

potential recruits—while pocketing large sums of money.




118
   North Carolina Dep’t of State, Business Registration Division, Limited Liability Company
Information: West Catawba Avenue LLC (2017).


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       293.    In 2013, ACN Global Reach reportedly raised $213,000 from the golf tournament.

It reported $86,000 in expenses in raising this amount. It is unclear how much of that expense

amount was paid to the Trump Enterprise for hosting the tournament (and, in so doing, further

promoting and endorsing ACN).

       294.    In 2014, ACN Global Reach reported a “record-breaking” $228,750 raised from

the tournament. Tax filings later revealed that it incurred $107,674 in expenses for the event,

including $15,788 in “rent/facility” costs and $22,128 in food and beverage costs.

       295.    In 2015, ACN Global Reach reported another “record-breaking” $287,560 from

the tournament. Tax filings revealed that it incurred $112,718 in expenses for the event,

including $25,046 in “rent/facility” costs and $21,625 in food and beverage costs.

       296.    In 2016, ACN Global Reach raised a “record-breaking” $261,500 from the

tournament. Tax filings revealed that it incurred $118,000 in expenses for the event, including

$18,871 in “rent/facility” costs and $28,312 in food and beverage costs.

       297.    ACN’s payments to the Trump golf clubs were not limited to direct payments for

hosting ACN Global Reach events. In each of 2013, 2014 and 2015, ACN purchased a

“Titanium” level sponsorship, priced at $100,000, to the Annual Golf Invitational & Auction

Dinner hosted by Defendant Eric Trump and the Eric Trump Foundation. The events were

fundraisers for the St. Jude Children’s Research Hospital. The events were hosted at the Trump

International Golf Club in Westchester, New York, which is owned by an entity within The

Trump Organization. It is unclear how much of ACN’s sponsorship donation was paid over to

the Trump club.




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          C.      Trump Joined the Advisory Board of the SUCCESS Foundation, an Affiliate
                  of Success from Home Magazine, Which Distributed Millions of “Personal
                  Development” Books to Teens

          298.    In March 2009, during production of the first The Celebrity Apprentice episode

featuring ACN, Trump also became involved in a nonprofit organization called the SUCCESS

Foundation. As described in one edition of Success from Home, in 2009, “when Trump learned

through ACN about the SUCCESS Foundation, a nonprofit that provides personal development

books for teens, he signed onto the advisory board.” 119 The article announcing Trump’s

involvement noted that “Trump has become a household name synonymous with success” and

included a full-page cover image depicting teens on stage at an event, with the headline: “The

TRUMPS of TOMORROW.”




119
      Sarah Paulk, The Trumps of Tomorrow, Success from Home, Vol. 5, No. 4, at 86.


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          299.    SUCCESS Foundation aimed to reach a huge number of teens with advice on how

to “create their goals,” “fulfill their potential,” and embrace “the principles that are the

fundamentals to success.” In reality, it was laying groundwork with a new generation of

potential recruits. And it was a massive operation: the Foundation set an “honorable goal of

distributing 10 million copies of SUCCESS for Teens free of charge to nonprofit youth-

development organizations.” There were also other publications, such as a Success for Teens

“Facilitator’s Guide,” which purported to teach young people “a philosophy of self-

actualization.” 120 The Executive Director (who had a long history with direct selling) candidly

noted, “If you give these away, the information is bound to impact someone.” 121




120
      SUCCESS Foundation, Facilitator’s Guide for Success for Teens, at III (2008).
121
      Sarah Paulk, The Trumps of Tomorrow, Success from Home, Vol. 5, No. 4, at 86.


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            300.   ACN’s President, Greg Provenzano, sat alongside Trump on the advisory board.

As explained in Success from Home, “[a]s a proponent and major supporter of the SUCCESS

Foundation, Provenzano and ACN introduced Trump to the organization because of his affinity

for personal development and the effect it has on youth.” 122 The article went on:

                   “Perhaps no one knows better than Mr. Trump the importance of
                   personal development for our youth and the direct impact it can have on
                   their future,” Provenzano says. “This understanding, combined with his
                   personal relationship with ACN, resulted in him enthusiastically
                   accepting a position on the board.”

                   Provenzano understand what a boon it is to the SUCCESS Foundation to
                   have Trump associated with it. “Having someone with Mr. Trump’s
                   reputation on the board is the greatest endorsement there is,” Provenzano
                   says. “With his help, the SUCCESS Foundation can continue doing
                   what it does best: providing our youth with the personal-development
                   tools they need to build successful tomorrows.” 123



122
      Id.
123
      Id.


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          301.   The same article announcing Trump’s involvement with SUCCESS Foundation

and its books for teens also referred extensively to Trump’s children (“Donald Jr., Ivanka and

Eric, who all now work with the Trump dynasty”) and to the “incredibly marketable and

profitable brand” associated with the Trump name—“a brand his children, the next generation,

now take part in.” 124 The children all appeared in a photo in the very same article, along with a

caption naming each of them:




          302.   In an interview transcribed in the article, Trump said, “I think children learn by

example” and “I’m happy to lend my support to charitable organizations like the SUCCESS

Foundation that make a difference on the next generation of leaders.” 125 And the SUCCESS

Foundation was happy to have him. According to Fleming:

                 The Trump name is a brand in itself. To have that brand affiliated with
                 the SUCCESS Foundation obviously gives us credibility. For the public
                 at large, he is someone who most people have heard of, and whose name
                 is synonymous with achievement. That results in attracting possible
                 donors who are looking for a good cause to donate to and an ease in
                 finding vehicles of distribution for the book. In addition, it will help us
                 gain the attention of teenagers who may be readers of this book. We, at
                 the foundation, are ecstatic about his participation. 126



124
    Id.
125
    Id.
126
    Id.


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       303.    Trump’s involvement with SUCCESS Foundation lent a gloss of legitimacy to

ACN’s efforts to reach a new generation of potential recruits. Thus, Trump’s involvement with

the SUCCESS Foundation is yet another example of him selling his image and brand to lend

purported credibility to ACN, and also is emblematic of his many close ties to ACN and its co-

founders.

       304.    The SUCCESS Foundation Advisory Board disappeared from the SUCCESS

Foundation’s website in or around May 2016.


VII.   THE TRUMP ENTERPRISE’S ONGOING PROMOTION AND ENDORSEMENT
       OF ACN

       305.    In August 2015, just days after a Wall Street Journal reporter interviewed Trump

about his relationship with ACN, ACN deleted all references to Trump from its website, stating

that it did so “in conjunction and with the full support of the Trump organization” because of

Trump’s presidential campaign. 127

       306.    In an article published on August 13, 2015, the Wall Street Journal reported that

Trump had “not only endorsed ACN, he twice featured the company on his former reality TV

Show, ‘The Celebrity Apprentice.’” 128 The article quoted some of Trump’s statements

promoting and endorsing the ACN videophone and then reported that, in fact (and contrary to

Trump’s statements), “the ACN video phone was in trouble. It sold poorly in part because it

only worked with other ACN video phones, unlike Skype’s video-calling technology.” The

article further reported that ACN “had slashed orders for the phone from its supplier, which laid

off 70% of its staff just before the show aired and later filed to liquidate in federal bankruptcy


127
    James V. Grimaldi & Mark Maremont, Donald Trump Made Millions from Multilevel Marketing Firm,
The Wall Street Journal (Aug. 13, 2015), https://www.wsj.com/articles/trump-made-millions-from-
multilevel-marketing-firm-1439481128.
128
    Id.


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court.” Critically, the article reported that “[t]he bad news about the phones was never

mentioned by Mr. Trump on the show, nor did he disclose to viewers he had been paid by ACN

for appearances over the years.”

       307.    The article recognized that Trump’s promotion and endorsement of ACN posed a

threat to his presidential campaign: “Mr. Trump, who currently leads the field of Republican

candidates for president, bills himself on the campaign trail as a straight talker and says he will

use his business savvy to solve America’s problems.”

       308.    Recognizing this threat, Trump attempted to distance himself from ACN. He

stated (falsely): “I do not know the company. I know nothing about the company other than the

people who run the company. . . . I’m not familiar with what they do or how they go about doing

that, and I make that clear in my speeches.” 129

       309.    Notwithstanding Trump’s purported dissociation from ACN in August 2015,

numerous videos remain on YouTube and other streaming services with footage of Trump’s

endorsement of ACN, including in ACN’s appearances on The Celebrity Apprentice. These

videos have continued to induce people to sign up to ACN after Trump purportedly ended his

endorsement.

       310.    Moreover, despite the claimed separation between Defendants and ACN, the

financial ties between ACN and the individuals with ties to the Trump Enterprise have remained.

For example, in September 2017, ACN sponsored a hole at the annual golf tournament for the

Eric Trump Foundation (now known as Curetivity). 130




129
   Id.
130
   Dan Alexander, Eric Trump’s Old Foundation Apparently Held Secret Event at Trump-Owned Golf
Club, Forbes (Sep. 18, 2017), https://www.forbes.com/sites/danalexander/2017/09/18/eric-trumps-old-
foundation-apparently-held-secret-event-at-trump-owned-golf-club/#67e53e665759.


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       311.   In addition, on August 14, 2017, ACN held its Seventh Annual Ronald McDonald

House Celebrity Golf Tournament at Trump National Golf Club in Mooresville, North

Carolina. Photographs of the event confirm the timing and location:




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VIII. THE TRUMP ENTERPRISE’S FRAUDULENT PROMOTION AND
      ENDORSEMENT OF THE TRUMP NETWORK

       312.    A few years after the beginning of its relationship with ACN, the Trump

Enterprise sought to deepen its involvement in the MLM industry. In 2009, Defendants entered

into a licensing agreement with Ideal Health, another MLM. As part of the agreement, Ideal

Health was officially re-branded “The Trump Network.” The Trump Network deal reflected the

Defendants’ attempt to capitalize on what they had learned from their relationship with ACN:

that owners of MLMs could reap enormous profits fueled by widespread losses at the expense of

average investors’ initial investments. With the promise of such riches, Trump agreed to

promote and endorse The Trump Network, in exchange for royalty payments, as well as

additional fees contingent upon ongoing promotional activities. Thus, in the Trump Network

deal, Defendants gave even more access to use the Trump brand than had been agreed upon with

ACN, in exchange for a greater share of the upside.

       313.    From 2009 until December 2011, the Trump Enterprise received secret payments

to endorse and promote the Trump Network. 131 As they had done repeatedly with ACN,

Defendants, acting through the Trump Enterprise, made or disseminated a series of knowingly

false statements (1) that prospective investors would have a reasonable probability of

commercial success if they bought into the Trump Network; (2) that Trump was promoting and

endorsing the Trump Network because he believed that they offered a reasonable probability of

commercial success (rather than because the Trump Enterprise was being paid); and (3) that

Trump’s endorsement was predicated on Defendants’ extensive due diligence, inside

information, and personal experience with the Trump Network. And as with ACN, the use of the



  See Adam Feuerstein & Damian Garde, Donald Trump and the Vitamin Company that Went Bust,
131

STAT News (Nov. 4, 2015), https://www.statnews.com/2016/03/02/donald-trump-vitamin-company/.


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Trump brand amplified Trump’s fraudulent message and encouraged potential investors to take it

seriously.


       A.      Ideal Health Background & DSNC Licensing Deal

       314.    Ideal Health, Inc. was founded in 1997 by Lou DeCaprio and brothers Scott and

Todd Stanwood. From its inception, the company sold dietary supplements, health-related

products, and customized vitamins as part of an MLM business model.

       315.    Between 1999 and 2004, at least twenty different complaints were submitted to

the Federal Trade Commission (“FTC”) by both salespeople and customers of Ideal Health,

according to FTC records. 132 Complaints from Ideal Health salespeople stated that they had

invested thousands of dollars in the company and had received no returns on the work or

investment. In addition, customers of the company submitted complaints stating that the vitamin

supplements sold by the company had caused illnesses and that Ideal Health had refused their

requests to cancel their subscriptions and continued charging for the vitamins.

       316.    In 2007, Ideal Health was under-capitalized and looking for a strategic partnership

that could help grow brand recognition and expand its existing network of sales representatives.

In early 2008, the Stanwood brothers and DeCaprio were introduced to Trump to discuss a

possible partnership.

       317.    In January 2009, “TTN, LLC”—TTN may stand for The Trump Network—was

registered in the state of Delaware. Corporate records show that the company planned to

“engage in the marketing, selling and distributing of health and wellness products.” 133 Scott and



132
    Federal Trade Commission, Aug. 16, 2004 Freedom of Information Act Request Response: Consumer
Complaints to Federal Trade Commission (FTC).
133
    TTN, LLC Foreign Limited Liability Company Application for Registration, The Commonwealth of
Massachusetts, Secretary of the Commonwealth, Corporations Division (Jan 10, 2011).


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Todd Stanwood, as well as DeCaprio, were listed as the company’s managers. Shortly after

TTN, LLC’s formation, Ideal Health agreed to “conduct its business exclusively” through TTN,

LLC, essentially merging the corporate activities with the new business entity.

        318.    On March 4, 2009, TTN, LLC entered into a licensing agreement with DSN

Licensing, LLC, a member of the Trump Enterprise. 134 According to court records, Ideal Health,

Inc. created TTN, LLC as a wholly owned subsidiary for the specific purposes of its licensing

agreement with DSN Licensing, LLC. 135

        319.    The initial agreement between DSN Licensing, LLC and Ideal Health stated that

“Ideal [Health] would license various trademarks principally owned by, and the likeness of, Mr.

Trump, to utilize in [Ideal Health’s] direct marketing efforts.” 136 In addition, Trump agreed

“personally to promote and support The Trump Network, including, without limitation, to appear

personally at a number of Company events each year and to appear on the Company’s marketing

and promotional videos and other materials.” 137

        320.    Shortly after the deal, a senior advisor and “Top-Rank” representative at ACN,

Marty Hale, was brought on board at the Trump Network as Chief Strategist to help redesign the

compensation plan and ensure some of the same success that Trump had experienced with ACN.


        B.      Background on The Trump Network

        321.    The Trump Network, as the new venture was named, was an MLM that purported

to sell an array of diet supplements and multivitamins. As is typical with MLMs, The Trump

Network relied on participants to sell the products, person-to-person, and to recruit others to do



134
    Compl. ¶ 37, Ideal Health, Inc. v. Blechman, No. 1:09 Civ. 10791 (D. Mass. Apr. 12, 2010).
135
    Id.
136
    Id. ¶ 36.
137
    Id.


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the same. Each additional salesperson that someone recruited to The Trump Network would

become a member of the recruiter’s “downline” sales team. The incentive to continue to build

out one’s own “downline” sales team was inherent in the structure of the scheme; for each

commission of The Trump Network products sold, a percentage of that commission would pass

to each “upline” recruiter, with the individuals at the top of the pyramid earning the greatest

income. Those salespeople then, in turn, would recruit additional people to become part of their

own downline sales team, and so on, with each additional salesperson undertaking to resell The

Trump Network products, and a percentage of each sale funneling all the way up the pyramid.

       322.    Becoming a Trump Network salesperson, however, was costly. Beginner sales

representatives were told to buy a starter kit of products costing nearly $497, 138 and encouraged

to attend expensive seminars. In order to join at the “FastStart Gold” level, a marketer could

spend about $600 just to purchase a kit of sample products, even before paying to attend a

seminar or purchasing additional supplies. 139


       C.      Trump Promoted and Endorsed the Trump Network with a Widely
               Distributed and Pervasive Message

       323.    Shortly after DSN Licensing, LLC entered an agreement with the Trump

Network, Trump widely disseminated false statements promoting and endorsing the Trump

Network. Trump’s false statements were distributed through various channels, including

television infomercials, news outlets, printed promotional and editorial material, and in-person

promotional events.


138
    Julianna Goldman & Laura Strickler, Behind the collapse of the “recession-proof” Trump Network,
CBS News (Apr. 12, 2016), https://www.cbsnews.com/news/donald-trump-network-cbs-news-
investigation-supplements-multi-level-marketing/.
139
    Jessica Pressler, If I Can’t Trust Donald Trump, Who Can I Trust? The Donald Has a New Scheme.
Seller Beware, New York Magazine (Jan. 23, 2011),
http://nymag.com/nymag/features/70831/index2.html#print.


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       324.   First, Trump featured prominently in infomercials promoting The Trump

Network, beginning with a 2009 infomercial announcing The Trump Network’s official

launch. 140 The infomercial simulated a television talk-show in which a host interviewed Trump

about his thoughts on The Trump Network to frequent applause from actors portraying an

excited studio audience.

       325.   Second, Trump took advantage of opportunities to disseminate false statements

about The Trump Network through news outlets. For example, in December of 2010, he issued a

press release announcing that former contestants from The Apprentice would be joining The




140
   The Trump Network—Donald Trump and Ideal Health Team Up, YouTube (Dec. 6, 2009),
https://www.youtube.com/watch?v=fK9AhOo3Fj0 (The Trump Network YouTube channel).



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Trump Network. 141 The same month Trump also discussed the strength of The Trump Network

business model with reporters from the Boston Globe, 142 among others.

       326.    Third, Trump’s false statements touting the Message, described more fully below,

appeared in numerous printed promotional materials of The Trump Network, as well as dozens

of interviews with reporters about the Trump Network business opportunity. Moreover, between

the years of 2009 and 2011, for example, at least two different letters addressed to potential

Trump Network investors or marketers and signed by Trump personally were posted to The

Trump Network website. 143




141
    The Trump Network, NBC’s The Apprentice Leads Candidates to The Trump Network, PR Newswire
(Dec. 10, 2010), https://www.prnewswire.com/news-releases/nbcs-the-apprentice-leads-candidates-to-the-
trump-network-111679704.html.
142
    Erin Ailworth, Firm’s New Moniker May be its Trump Card: After Partnering with the Donald, the
Former Ideal Health Takes Off, Boston Globe (Dec. 7, 2010),
http://archive.boston.com/business/articles/2010/12/07/firms_new_moniker_may_be_its_trump_card/.
143
    Julianna Goldman & Laura Strickler, Trump’s Failed Venture: Vitamin Business Fails After Get Rich
Quick Pledge, CBS This Morning (Apr. 12, 2016), available at https://www.cbsnews.com/news/donald-
trump-network-cbs-news-investigation-supplements-multi-level-marketing/; How Trump’s “recession-
proof” supplement venture failed, CBS This Morning (Apr. 12, 2016), available at
https://www.youtube.com/watch?v=opA9gBmcQkw; see also Tim Murphy, The Trump Files: The Saga
of Donald Trump’s Short-Lived Weight-Loss Program, Mother Jones (Oct. 3, 2016),
https://www.motherjones.com/politics/2016/10/trump-files-weight-loss-snazzle-snaxxs/.


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       327.   Fourth, Trump appeared as the keynote speaker at several in-person promotional

events for The Trump Network. For example, Trump spoke at the 2009 Trump Network launch

in Miami, Florida, heralding the launch of The Trump Network to a room of several thousand




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people: “[The Trump Network] is not a long shot,” he proclaimed. “This is going to be

something that’s really amazing.” 144




       D.     Trump Falsely Represented That Consumers Had a Reasonable Probability
              of Commercial Success in The Trump Network

       328.    Throughout the relevant period, Trump frequently misrepresented the nature of

The Trump Network’s business model and offered false and misleading promises of success.

Trump’s statements promoting The Trump Network, and his depiction in countless promotional



144
   Trump Speaks at Miami Launch 2009 (Apr. 1, 2010), YouTube,
https://www.youtube.com/watch?time_continue=1&v=XyRE5MN8jrA; see also Ian Tuttle, Add Another
Yuuge Failure to Trump’s Pile: The Trump Network, National Review (Mar. 8, 2016),
https://www.nationalreview.com/2016/03/donald-trump-networks-failure-harmed-small-investors/.


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materials, were intentionally calculated to give the false impression that The Trump Network

Investment opportunity offered a reasonable probability of commercial success for those who

invested in it.




        329.      Trump made repeated statements calculated to cause the listener to believe that

investing in The Trump Network was a sound financial decision, that it was without risk, and

that it would provide sufficient return to save them from the threat of financial ruin in the wake

of the recession. From 2009 until 2011, Trump traveled around the country promoting The

Trump Network and promising people that it was a safe investment. 145 During his in-person




145
   How Trump’s “recession-proof” supplement venture failed, CBS This Morning (Apr. 12, 2016),
available at https://www.youtube.com/watch?v=opA9gBmcQkw, at 1:48.



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appearances, Trump spoke to large crowds and enthusiastically gave The Trump Network

scheme his personal stamp of approval, referencing his own track record of success. 146

       330.    In a 2009 infomercial heralding the launch of The Trump Network, Trump

specifically targeted vulnerable individuals suffering from the effects of the economic recession:

“The Trump Network wants to give millions of people renewed hope and with an exciting plan

to opt-out of the recession,” he said. “I hope you’re going to join us” (emphasis added). 147




       331.    Similarly, in an open letter to potential investors, signed by Trump personally and

posted on the Trump Network website in or around 2009, Donald Trump wrote: “The Trump

Network can provide you with a solution to help you and your family create a more secure




146
    Trump Speaks at Miami Launch 2009 (Apr. 1, 2010), YouTube,
https://www.youtube.com/watch?time_continue=1&v=XyRE5MN8jrA; see also Ian Tuttle, Add Another
Yuuge Failure to Trump’s Pile: The Trump Network, National Review (Mar. 8, 2016),
https://www.nationalreview.com/2016/03/donald-trump-networks-failure-harmed-small-investors/.
147
    The Trump Network—Donald Trump and Ideal Health Team Up, YouTube (Dec. 6, 2009),
https://www.youtube.com/watch?v=fK9AhOo3Fj0.


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future. Diversifying is a way to protect your income so that you can continue to do what you

know and love, and still make money.”

       332.    And at a 2009 appearance in Miami, Florida, for the official launch of the Trump

Network, Trump made similar statements extolling the commercial prospects for those who

invested in The Trump Network: “When I did ‘The Apprentice,’ it was a long shot. This is not a

long shot. This is going to be something that’s really amazing . . . . We are going to be the

biggest in the industry” (emphasis added). 148

       333.    Trump also made misrepresentations about the products that The Trump Network

sales representatives sold.

       334.    For example, in an open letter posted on the Trump Network website titled “A

Personal Letter from Donald J. Trump” and containing Donald Trump’s personal signature at the

bottom, Trump wrote that the “Trump Network works with some of the best nutritionists,

scientists, and technologists . . . [and] as a result, our products are leaders in their categories—

designed to help improve your health and wellness, putting you on a path to the lifestyle you’ve

always wanted” (emphases added). 149




148
   Id.
149
   A Personal Letter from Donald J. Trump, Trump Network, available at
https://web.archive.org/web/20120103185757/http:/trumpnetwork.com/About/HowIsDonaldInvolved.asp
x.


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       335.    A few years later, however, when questioned about reports that The Trump

Network products were ineffective and based on flawed or non-existent science, Trump

representatives told reporters that Trump was never personally involved in the creation of The

Trump Network’s products and that he did not guarantee their effectiveness. 150 Trump did not

own the company or make the products, an attorney speaking on Trump’s behalf claimed. 151

       336.    Trump encouraged investors to rely on his statements by emphasizing his record

of success in business and assuring prospective recruits that his past achievements assured their

success.




150
    How Trump’s “recession-proof” supplement venture failed, CBS This Morning (Apr. 12, 2016),
available at https://www.youtube.com/watch?v=opA9gBmcQkw.
151
    Id.



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       337.    In a 2010 interview with the Boston Globe, for example, Trump said that “The

Trump Network has a big advantage over other network marketing concerns because of the fact

that I am so well known.” 152 He continued: “It is very important for me to be associated with

success, [so] it’s very important for me that the Trump Network be a big success.” 153

       338.    As with ACN, the fact that the Trump Enterprise had sold the Trump Network a

license to use the Trump brand dramatically increased the impact of Trump’s false and

misleading statements. For example, in a 2011 interview with New York Magazine, when asked

about his decision to partner with Trump, DeCaprio explained the critical importance of having

the Trump endorsement in getting people to invest: “When you think of Donald Trump as a

brand, what do you think of? . . . Prestige products, best in class, really being successful.” 154

DeCaprio went on to note that “[n]o matter what happens, [Trump] can come back out of the

ground like a phoenix and get right back on top again. He represents entrepreneurialism for this

country. He represents success.” 155

       339.    In one Trump Network infomercial, a man explains that he left a “six-figure job”

to join Trump’s new business when he “realized . . . how huge this is gonna be.” 156 Another man

said that when he learned that Trump was starting his own company, “[i]t [was] a no brainer.” 157

He continued, explaining that Trump’s involvement “brings so much to the industry. It brings



152
    Erin Ailworth, Firm’s New Moniker May be its Trump Card: After Partnering with the Donald, the
Former Ideal Health Takes Off, Boston Globe (Dec. 7, 2010),
http://archive.boston.com/business/articles/2010/12/07/firms_new_moniker_may_be_its_trump_card/.
153
    Id.
154
    Jessica Pressler, If I Can’t Trust Donald Trump, Who Can I Trust? The Donald Has a New Scheme.
Seller Beware, New York Magazine (Jan. 23, 2011),
http://nymag.com/nymag/features/70831/index2.html#print.
155
    Id.
156
    The Trump Network—Donald Trump and Ideal Health Team Up, YouTube (Dec. 6, 2009),
https://www.youtube.com/watch?v=fK9AhOo3Fj0.
157
    Id.



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credibility, it brings us to a new level, because everyone recognizes and trusts that Trump brand

name, and so, when we talk business, Trump means business.” 158

       340.    Trump’s statements—and the use of the Trump brand—had the desired effect.

Vulnerable consumers relied on his assurances; they believed him when he promised that the

Trump Network was a low-risk way to escape the financial impacts of the Recession, and that if

people worked hard enough, they would make a good return.

       341.    For example, Eileen and George Kelley, two Florida residents and retired college

professors, spoke about their experience with the Trump Network in a 2016 CBS investigative

report. “They were sowing hope there, to a lot of people, in the middle of the Recession,”

George Kelley stated. Eileen Kelley elaborated: “I was sold on the product, and the message,

and the testimonials, and then, of course, Donald Trump coming on.” 159




       342.    The experiences of Eileen and George Kelley were typical of other investors in

The Trump Network. In the months following the launch of the newly rebranded Trump


158
   Id.
159
   Julianna Goldman & Laura Strickler, Trump’s Failed Venture: Vitamin Business Fails After Get Rich
Quick Pledge, CBS This Morning (Apr. 12, 2016), https://www.cbsnews.com/news/donald-trump-
network-cbs-news-investigation-supplements-multi-level-marketing/.



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Network, recruitment increased significantly. In just one year, the company recruited 15,000

new participants, growing from 5,000 to 20,000 after securing the Trump endorsement. 160 In a

2010 press release, the company stated that it had grown “373 percent” since partnering with

Trump. 161 According to a complaint filed by Dean Blechman with the Supreme Court of New

York in Suffolk County in 2009, at the time that Ideal Health announced the deal with Trump

Corporation to rebrand the company as The Trump Network, company leadership told its

existing network of marketers that they expected the company’s revenue to grow to $1 billion. 162

       343.    Trump’s statements that The Trump Network offered a reasonable probability of

commercial success were false. In reality, the chances of commercial success were miniscule.

Approximately a year after its official launch, the company stopped regularly paying its

salespeople. 163 In 2009, for example, a former salesperson told reporters that she was making

“six figures, enough to support her children as a single mom.” 164 After barely a year, however,

the paychecks stopped, and the salesperson “lost her house and car.” 165




160
    Erin Ailworth, Firm’s New Moniker May be its Trump Card: After Partnering with the Donald, the
Former Ideal Health Takes Off, Boston Globe (Dec. 7, 2010),
http://archive.boston.com/business/articles/2010/12/07/firms_new_moniker_may_be_its_trump_card/.
161
    The Trump Network, NBC’s The Apprentice Leads Candidates to The Trump Network, PR Newswire
(Dec. 10, 2010), https://www.prnewswire.com/news-releases/nbcs-the-apprentice-leads-candidates-to-the-
trump-network-111679704.html.
162
    Compl. ¶ 26, Blechman v. Ideal Health, Inc., No. 09 Civ. 2617 (E.D.N.Y. June 16, 2019) (attached to
Notice of Removal).
163
    Ana Swanson, The Trump Network Sought To Make People Rich but Left Behind Disappointment,
Washington Post (Mar. 23, 2016), https://www.washingtonpost.com/news/wonk/wp/2016/03/23/the-
trump-network-sought-to-make-people-rich-but-left-behind-disappointment/?utm_term=.9b13221c0f9c.
164
    3 Trump-backed companies that raise troubling questions, CBS News (Jan. 27, 2016),
https://www.cbsnews.com/news/3-companies-that-raise-questions-about-the-trump-brand/.
165
    Id.



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       344.    In December 2011, Trump’s licensing agreement with Ideal Health expired and

was not renewed. 166 By 2012, the company was sold and renamed Bioceutica LLC, 167 and

people who had bought into Trump’s promises of success lost everything. George and Eileen

Kelley, for example, who invested their retirement savings into The Trump Network precisely

because of Trump’s assurances, lost nearly $10,000 in only a couple of years. 168

       345.    By 2012, numerous judgements totaling in excess of $1.75 million were awarded

against The Trump Network, Inc., TTN, LLC, Scott Stanwood, Todd Stanwood, and DeCaprio in

various state courts.


       E.      Trump Falsely Represented that He Was Endorsing The Trump Network
               Because It Was His Company and Because He Genuinely Believed It Would
               Be a Success

       346.    When Ideal Health partnered with Defendants in 2009, the name and face of the

company was changed and rebranded, but the fundamental products and business model

remained the same. Nonetheless, Trump promoted The Trump Network products and business

opportunities as if it were a new venture that he himself had created, in which he had personally

invested, and upon which he had conducted appropriate due diligence. Trump sent a message

that investors should trust him because he had access to superior information than they did upon

which he had based his investment decisions.




166
    Ike Swetlitz, Donald Trump, Bad Science, and the Vitamin Company That Went Bust, STAT News
(Mar. 2, 2016), https://www.statnews.com/2016/03/02/donald-trump-vitamin-company/.
167
    See Bioceutica Review: Neutraceuticals, Cosmeceuticals & Retail, Behind MLM (Jan. 26, 2016),
http://behindmlm.com/mlm-reviews/bioceutica-review-neutraceuticals-cosmeceuticals-retail/; see also
Ted Nuyten, The Trump Network Sold to Antoine Nohra, Business for Home (Feb. 18, 2012),
https://www.businessforhome.org/2012/02/the-trump-network-sold-to-antoine-nohra/.
168
    Julianna Goldman & Laura Strickler, Trump’s Failed Venture: Vitamin Business Fails After Get Rich
Quick Pledge, CBS This Morning (Apr. 12, 2016), https://www.cbsnews.com/news/donald-trump-
network-cbs-news-investigation-supplements-multi-level-marketing/.


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       347.     He suggested that his belief was predicated on, among other things, his personal

stake in the company. He failed to disclose to consumers that he did not, in fact, own a majority

of the company or that he was being paid for each of his promotional statements and

endorsements.

       348.     In a 2016 investigation into The Trump Network, for example, CBS reported that

Donald Trump had personally signed a letter addressed to Trump Network marketers, that

plainly stated: “I believe in the Trump Network products.”




       349.     Moreover, at his appearance at The Trump Network launch in 2009, Trump told

attendees: “It’s going to be our company as a group.” 169 He assured them: “We’re all going to

be successful together.” 170 Trump was conveying to eager listeners that he wanted them to join a

business of which he was a part and whose success he would ensure.




169
    Trump Speaks at Miami Launch 2009 (Apr. 1, 2010), YouTube,
https://www.youtube.com/watch?time_continue=1&v=XyRE5MN8jrA.
170
    Id.


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        350.    Trump urged people to believe in his endorsement of The Trump Network and to

trust his judgment, all the while obfuscating his lack of actual involvement in the company. As

alleged above, a Trump Enterprise entity, DSN Licensing LLC, and Ideal Health had entered into

a simple licensing agreement in which DSN Licensing LLC received payments for Trump’s

promotions and endorsements of the company in exchange for the use of the Trump name and

brand. Trump was neither the owner nor the operator of the Trump Network, but created that

impression in the minds of potential recruits.

        351.    A June 2008 proposal from then-President of Ideal Health, DeCaprio, to Cathy

Glosser, former executive Vice President of Global Licensing for The Trump Organization,

provides additional insight into the details of the agreement between DSN Licensing LLC and

Ideal Health. 171 According to the proposal, The Trump Organization would receive an initial

licensing fee of $1 million, as well as a 17 percent equity stake in Ideal Health, Inc., additional

income, and “cash distributions.” 172 In return, Trump would, among other things, attend the

company’s Annual National Meeting as a keynote speaker, participate in two of the company’s

leadership conferences “with compensation,” participate in two conference call interviews with

the founders and two audio and video productions. 173 Finally, Trump would agree to have his

image and quotes used in company marketing and recruiting materials. 174

        352.    Notably, the proposal stated that under the terms of the agreement, Trump would

agree to allow The Trump Network to use “his image and quotations for press releases and

marketing materials with [Trump’s] approval, which will not [] be unreasonably withheld”


171
    Exhibit 3 to Declaration of Dean Blechman, Ideal Health, Inc. v. Blechman, No. 1:09 Civ. 10791 (D.
Mass. Apr. 12, 2010).
172
    Id.
173
    Id.
174
    Id.



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(emphasis added). 175 As was the case with ACN, because Trump’s image could only be used

with his approval, the Trump Enterprise very likely approved the company’s statements about

Trump’s endorsement and role in The Trump Network.

       353.    In addition to Trump’s own endorsement, the Trump Enterprise also facilitated

the endorsement of, and participation in, The Trump Network by several former contestants from

The Apprentice. In a 2010 press release discussing those endorsements, Trump echoed the idea

that he was endorsing The Trump Network because he genuinely believed in the company:

               When I started The Apprentice television show, everyone told me it was
               a long shot. We are now in our 10th season. The Trump Network is not
               a long shot. I want people to be successful, and to enjoy what they are
               doing. I see unbelievable enthusiasm for the company’s products and
               business model.

(emphasis added). 176

       354.    Trump’s misrepresentation about the meaning of, and motivations for, his

endorsement succeeded in bringing many new recruits to The Trump Network. In the span of a

little over two years, thousands of people were induced to invest in the business opportunities

offered by The Trump Network because of Trump’s seemingly genuine endorsement and false

statements about the company.

       355.    For example, Richard Chester, a marketer for The Trump Network, based out of

Long Island, New York, told New York Magazine: “Who in their right mind would not go with

something Donald Trump is promoting?”177 Chester explained that although he was initially


175
    Id.
176
    The Trump Network, NBC’s The Apprentice Leads Candidates to The Trump Network, PR Newswire
(Dec. 10, 2010), https://www.prnewswire.com/news-releases/nbcs-the-apprentice-leads-candidates-to-the-
trump-network-111679704.html.
177
    Jessica Pressler, If I Can’t Trust Donald Trump, Who Can I Trust? The Donald Has a New Scheme.
Seller Beware, New York Magazine (Jan. 23, 2011),
http://nymag.com/nymag/features/70831/index2.html#print.



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hesitant to join, promotional videos of Donald Trump on The Trump Network’s website

convinced him. He said: “I felt like he was speaking to me. This is a man who was down in the

dumps and came back! Now everything he touches turns to gold!” 178

           356.   Chester went on: “I feel like in [Donald Trump’s] heart, he wants to help people

who are down and out,” Chester said. “If I thought he was just in it for the money, I wouldn’t do

it.” 179

           357.   Alex Izzo, another former sales representative or “marketer” of The Trump

Network, was quoted in the same article explaining her motivation for deciding to quit her job to

become a marketer full-time: “People have said, ‘This is Donald Trump’s network-marketing

company? I want in,’” Izzo said. 180 “I was talking to a woman the other day and she said, ‘If I

can’t trust Donald Trump, who can I trust?’ And I said, ‘You’re totally right.’” 181


IX.        THE TRUMP ENTERPRISE’S FRAUDULENT PROMOTION AND
           ENDORSEMENT OF THE TRUMP INSTITUTE

           358.   At some point between 2005 and early 2006, Trump University, LLC entered into

a licensing agreement with Business Strategies Group, LLC to form the “Trump Institute.” The

Trump Institute was a live-seminar program that purported to sell Trump’s “secrets to success”

in the real estate business in several extravagantly priced seminars. Trump agreed to endorse and

promote the Trump Institute lectures and products in exchange for franchise fees and secret

lump-sum payments.

           359.   As with ACN and The Trump Network, the Trump Enterprise disseminated the

Message as it related to the Trump Institute pervasively. It used various channels to disseminate


178
    Id.
179
    Id.
180
    Id.
181
    Id.


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the Message, including television infomercials, advertorials, and printed promotional materials.

For example, in informercials, Trump promoted the purported successes of the Trump Institute

and the quality of the Seminar contents, including the “Donald Trump Way to Wealth”

seminar. 182 In addition, Trump disseminated false statements about the Trump Institute in

printed promotional materials mailed to consumers across the country. In a promotional mailing,

for example, Trump’s signature is prominently featured on a letter to potential Trump Institute

recruits, extolling the quality of the information contained in “The Trump Institute’s Way to

Wealth” seminar series. 183 And Trump was prominently emblazoned on promotional materials

displayed on the Trump Institute website.




182
    Donald Trump Way to Wealth Seminars infomercial (2007), YouTube (Jan. 22, 2017),
https://youtube.com/watch?v=0Ogz-wuN40I; Donald Trump Way to Wealth, YouTube (July 25, 2008),
https://www.youtube.com/watch?v=775yy9Rusc4.
183
    Mailing, “The Trump Institute’s Way To Wealth” (Feb. 2009); see also Sam Stein, Trump Tried to Get
Bush’s Labor Secretary to Attend His Get-Rich-Quick Seminar, Huffington Post (Dec. 28, 2016),
https://www.huffingtonpost.com/entry/donald-trump-elaine-chao_us_57abaeb9e4b0ba7ed23f0993.


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       360.    The Message as applied to the Trump Institute was substantively the same as the

Message applied to The Trump Network and ACN. As with ACN and The Trump Network,

Trump falsely represented that (1) prospective students would have a reasonable probability of

commercial success if they invested in the training program offered by the Trump Institute;

(2) Trump was endorsing the Institute because he believed it offered a reasonable probability of

commercial success (rather than because the Trump Enterprise was being paid); and (3) his

endorsement was predicated on Defendants’ extensive due diligence, inside information, and

personal experience with the Trump Institute.


       A.      Trump Falsely Represented That Consumers Had Reasonable Probability of
               Commercial Success in The Trump Institute

       361.    From the period of 2005 until 2009, Donald Trump appeared in numerous

television infomercials, and online and printed promotional materials for the Trump Institute. In

all these promotions, Trump emphatically stated that by participating in the Trump Institute

seminars, students would learn industry secrets and advice from him about how to succeed in the

real estate business, which would afford them a reasonable probability of commercial success.




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Ultimately, he promised that the skills taught would help people make money and become

successful in the real estate business, just as he did.

        362.    The website and other materials directly predicated the reasonable probability of

success promised with the fact that Trump was intimately involved in the Institute. On the

Trump Institute’s website, for example, Trump falsely claimed that prospective students would

learn Trump’s “secret recipe for success” and other tactics to “improve their lives through

financial success.” 184 The website proclaimed that “there are two great ways to create wealth—

owning a business and investing in real estate. Donald Trump is a master of both, and his

strategies for both have been packed into this seminar.” 185 Promotional materials promised that

by attending Trump Institute seminars, customers could learn the “right knowledge and the right

mindset to create unlimited riches.” 186




184
    The Seminar, The Trump Institute , available at
https://web.archive.org/web/20080703213536/http://www.trumpinstitute.com/seminar.php.
185
    Id.
186
    Id.


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       363.    Repeatedly, Trump’s assurances of success were premised on the fact that the

seminars purportedly contained his personal knowledge and advice about how to succeed in the

real estate market. Another infomercial from 2007, for example, proclaimed that at the “Donald

Trump Way to Wealth” seminars, customers would “learn the secrets and strategies that have

made Donald Trump a billionaire!” 187 Trump personally promised that customers would, among




187
   Donald Trump Way to Wealth Seminars informercial (2007), YouTube (Jan. 22, 2017)
https://www.youtube.com/watch?v=0Ogz-wuN40I.



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other things, learn “the Trump way to get cash back when you buy a property.” 188 “There are

many, many great deals out there, and I’m going to teach you how to find them” he continued. 189

The infomercial also featured clips of what appear to be interviews with actual customers who

had recently attended one of the “Way to Wealth” seminars: “Everything he touched turned to

gold, and now it’s rubbing off on us the same way,” a man says, while standing in the middle of

what appears to be the lobby of a busy hotel convention center. 190 “I think it’s the greatest thing

I’ve ever gone to. Better than a college education,” asserts another. “Learn from the best. That’s

how I see it, that’s why I’m here, that’s why I came.” 191

        364.    Extensive promotional materials also heralded the Trump Institute seminars as

containing “Donald Trump’s ‘secret recipe’ for success—a combination of the right knowledge

and the right mind set to create unlimited riches” the Trump Institute website promised. 192 “As

you’ll discover, there are two great ways to create wealth—owning a business and investing in

real estate. Donald Trump is a master of both, and his strategies for both have been packed into

this seminar.” 193

        365.    In a promotional mailing from the Trump Institute, prospective customers

received what appeared to be a personal letter, written and signed by Trump, in his capacity as


188
    Id.
189
    Id.
190
    Id.
191
    Id.
192
    The Seminar, The Trump Institute , available at
https://web.archive.org/web/20080703213536/http://www.trumpinstitute.com/seminar.php; see also Alex
Leary, In Trump Institute, Donald Trump Had Florida Partners With a Record of Fraud, Tampa Bay
Times (Jun. 20, 2016), http://www.tampabay.com/news/politics/stateroundup/in-trump-institute-donald-
trump-had-florida-partners-with-a-record-of-fraud/2283767.
193
    The Seminar, The Trump Institute , available at
https://web.archive.org/web/20080703213536/http://www.trumpinstitute.com/seminar.php; see also Alex
Leary, In Trump Institute, Donald Trump Had Florida Partners With a Record of Fraud, Tampa Bay
Times (Jun. 20, 2016), http://www.tampabay.com/news/politics/stateroundup/in-trump-institute-donald-
trump-had-florida-partners-with-a-record-of-fraud/2283767.



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“Chairman, Trump Institute.” 194 “What you have in your hands right now is my personal

invitation for you and your guest to attend a special event featuring a hand-picked member of my

organization who will teach you many of the strategies and techniques that are the reasons for

my success,” it read. 195 “This is what I have learned the hard way, in the streets, fighting to

grow my empire.” 196

       366.    The Trump Enterprise further promoted and endorsed the Trump Institute through

a separate company, Trump Mortgage, that Donald Trump Jr. has described as “really my

baby.” 197 Trump Mortgage was a company based in Trump Tower and licensed by The Trump

Organization that refinanced and originated a range of commercial and residential mortgages,

including subprime mortgages. As early as May 2006, Trump Mortgage listed The Trump

Institute as one of its “Trusted Partners,” according to an archived version of the Trump

Mortgage website. 198 The Trump Mortgage website featured the following endorsement and

promotion of the Trump Institute:

               The Trump Institute is a nationwide learning organization based on the
               vast knowledge and insight Donald J. Trump has garnered during his
               renowned career. The Institute hosts The Donald Trump Way to Wealth
               Seminar in multiple cities, on a weekly basis, throughout the year. This
               seminar provides a powerful, practical introduction to the wealth-




194
    Mailing, “The Trump Institute’s Way to Wealth” (Feb. 2009); see also Sam Stein, Trump Tried to Get
Bush’s Labor Secretary to Attend His Get Rich Quick Seminar, Huffington Post (Dec. 28, 2016),
https://www.huffingtonpost.com/entry/donald-trump-elaine-chao_us_57abaeb9e4b0ba7ed23f0993.
195
    Id.
196
    Id.
197
    Stephanie Fitch, The Real Apprentices; At 60, Donald Trump is preparing for the day when he turns
the family real estate empire over to his son Don Jr. and daughter Ivanka. He has taught them well.,
Forbes (Oct. 9, 2006).
198
    Our Trusted Partners, Trump Mortgage,
https://web.archive.org/web/20060522190349/https:/www.trumpmortgage.com/aboutus/trusted_partners.
php.



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               building strategies in real estate and business that have made Trump one
               of the most successful and respected businessmen of our time. 199

       367.    Later in 2006, Trump Mortgage marketed to customers a “TRUMP Corporate

Mortgage Program” that included access to Trump Institute seminars, according to a November

2006 archived webpage. 200

       368.    A description of the “Donald Trump Way to Wealth” seminar on the Trump

Institute website explained to prospective customers that at the seminar they would learn about

the secrets to Donald Trump’s success. The website proclaimed: “The Donald Trump Way to

Wealth Seminar . . . provides a powerful introduction to the wealth-building strategies in real

estate and business that have made Donald Trump a multi-billionaire.” 201




199
    Id.
200
    Trump Mortgage, LLC
https://web.archive.org/web/20061122173247/https:/www.trumpmortgage.com/corporate/..
201
    About Us, Trump Institute , available
athttps://web.archive.org/web/20080703213608/http://www.trumpinstitute.com/aboutus.php.


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       369.    But these statements were plainly false. Trump had no actual involvement in the

creation of course materials. No matter how much people paid to attend the seminars, they

would never actually be able to learn what Trump had to teach, because he never spent any time

reviewing the course materials or drafting the contents. In fact, large portions of the materials

sold as part of the Trump Institute seminars were plagiarized from another source.




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       370.    One of the products marketed by the Trump Institute was a workbook containing

tips and strategies for ways to acquire wealth in real estate and other related businesses. 202 In

2016, the New York Times reported that substantial portions of the content of the course materials



202
   See Jonathan Martin, Trump Institute Offered Get Rich Schemes with Plagiarized Lessons, New York
Times (Jun. 29, 2016), https://www.nytimes.com/2016/06/30/us/politics/donald-trump-institute-
plagiarism.html.


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contained in the workbook, called “Billionaire’s Roadmap to Success,” had been plagiarized

from a book that was part of a collection of training materials titled “Real Estate Mastery System,”

published in 1995 by Success. 203 As alleged above, Trump was an advisory board member of the

SUCCESS Foundation in 2009, an affiliate of the Success magazine. In addition, Trump and his

family have been featured in articles in Success, which detailed Trump’s relationship with ACN.




203
      Id.


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            371.   In 2016, the New York Times reported that Susan G. Parker, the editor of the

Trump Institute manual, said that she was hired to write the manual after responding to a

Craigslist ad and that she certainly never met Donald Trump or received any guidance from him

about what to write in the manual. Instead, Parker said that she wrote it based on her own

personal knowledge about real estate and a cursory review of prior books that Trump had

written. 204




204
      Id.


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       B.      Trump Falsely Represented that He Supported the Trump Institute Because
               He Believed It Offered a Reasonable Probability of Commercial Success
               (Rather than Because the Trump Enterprise Was Being Paid)

       372.    Trump falsely represented that he was endorsing the Institute because he believed

it would result in a reasonable probability of commercial success (and not because he was being

paid). For example, the “FAQ” section of the Trump Institute website explicitly misstated the

basis for Trump’s endorsement. “Why did Donald Trump create the Trump Institute?” read one

question. 205 “America has been very good to Mr. Trump,” the answer explained, “and this is his

way of giving back knowledge to those who want to learn more about becoming successful.” 206




       373.    In yet another Trump Institute infomercial, Trump asserted that if customers

attended the seminar titled “The Donald Trump Way to Wealth,” they would learn about his

personal advice and real estate knowledge. “I put all of my concepts that have worked so well

for me, new and old, into our seminar,” he proclaimed. 207 “I’m teaching what I’ve learned. And

I’m real” (emphasis added). 208 The infomercial was staged to look like an interview between

Donald Trump and a reporter-narrator. “In continuing that effort to share his knowledge,” the

interviewer explained directly to the camera, “he has created the Trump Institute . . . so his




205
    FAQ, Trump Institute, available at
https://web.archive.org/web/20080703213552/http://www.trumpinstitute.com/faq.php#g1.
206
    Id.
207
    Donald Trump Way to Wealth, YouTube (July 25,. 2008),
https://www.youtube.com/watch?v=775yy9Rusc4.
208
    Id.



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methods of success can be taught to anyone who wants to have that power, knowledge, and

know-how.” 209




       374.    Trump and the Trump Enterprise intentionally concealed the nature of the

licensing agreement with the Trump Institute, the fact that Trump received large fees to license

out the Trump brand, and the fact that the Trump Enterprise had no ownership or day-to-day

control over the operation of the company. To the contrary, the Trump Institute was initially

created as part of a business plan involving Trump University, Donald Trump’s online university

that has been widely investigated and accused of operating fraudulent business practices. Some

of the key allegations against Trump University involved misleading advertisements that Trump

himself would be integrally involved in the selection of professors and course materials when, in

fact, he was not. While Trump had a majority interest in Trump University, he had no personal

equity stake in the Trump Institute. As Alan Garten, then executive vice president and general

counsel of The Trump Organization, told the Huffington Post in 2016: “The Trump Institute was

a licensee of Trump University and was not owned or controlled by Mr. Trump or any of his

companies.” 210



209
   Id.
210
   Christina Wilkie, Trump Institute Fired Veteran for ‘Absences’ after He Was Deployed to Afghanistan,
Huffington Post (Apr. 22, 2016), https://www.huffingtonpost.com/entry/trump-institute-fired-
veteran_us_5718fda7e4b024dae4f1517e.


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       375.    In fact, the Trump Institute deal was the culmination of an effort by the Trump

Enterprise to find and partner with individuals who had run legally problematic live seminars in

the past. In a July 2012 deposition taken as part of the New York Attorney General’s

investigation into Trump University, President of Trump University Michael Sexton explained

that when he and Trump were searching for people to license the live seminar business out to,

they did, in fact, consider several different companies with relevant experience.

       376.    Sexton further explained that they later planned to bring the Trump Institute live

seminar business “back in-house” at Trump University once they understood the business of

producing live seminars better. That is, Trump and Sexton were looking to learn the live

seminar business from their licensing partner.

       377.    Ultimately, he explained, they decided to license to Michael and Irene Milin, a

Florida couple who owned and operated another live seminar company called National Grants

Conferences (“National Grants”). Over a period of decades, the Milins operated a variety of get-

rich-quick schemes in which they sold educational seminars and materials that purported to teach

people how to easily obtain wealth. In each case, the companies were accused of making false

promises; luring customers in with deceptive marketing; using aggressive sales tactics to

persuade people to buy increasingly expensive products; and providing little accountability in the

way of customer service or refunds, according to news articles. 211


211
   Gideon Resnick, Trump’s Get Rich Seminar Partnered With Couple Prosecuted for Fraud, Daily Best
(Apr. 7, 2016), https://www.thedailybeast.com/trumps-get-rich-seminar-partnered-with-couple-
prosecuted-for-fraud; Drew Garber, Meet the Shadowy Jewish Couple at the Center of the Trump Institute
Scandal, Forward (July 9. 2016); Alex Leary, In Trump Institute, Donald Trump had Florida Partners
With Record of Fraud, Tampa Bay Times (July 3, 2016); Jonathan Martin, Trump Institute Offered Get-
Rich Schemes With Plagiarized Lessons, New York Times (June 29, 2016),
https://www.nytimes.com/2016/06/30/us/politics/donald-trump-institute-plagiarism.html; Spencer
Woodman, Documents Show Just How Trump Suckered Students of the Trump Institute Felt, The Nation
(March 28, 2016), https://www.thenation.com/article/documents-show-just-how-suckered-students-of-
the-trump-institute-felt/.


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       378.    In June 2007, 33 state attorneys general (and the attorney general of Guam)

signed a letter to the Federal Trade Commission, noting the Milins’ deceptive trade practices

through National Grants. 212 And in January 2010, then-Texas Attorney General Greg Abbott

sued National Grants and its executives Mike and Irene Milin, Matt Orlando and Gail Amen in

Harris County District Court in Texas, alleging that National Grants had misled consumers. 213

National Grants did not admit any wrongdoing, but the action resulted in their being barred from

conducting the kind of deceptive advertising they had previously used.




212
   Letter from Attorneys General to the Federal Trade Commission (June 18, 2007).
213
   Assurance of Voluntary Compliance, In re: Proven Methods Seminars, LLC, No. 2010-04032 (Harris
Cty. Dist. Ct. Jan. 21, 2010).


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       379.    The Milins effectively ran the Trump Institute. The Trump Institute even shared

office space in Boca Raton, Florida, with the Milins’ other companies, according to Florida

corporate records.

       380.    The Trump Institute even shared staffers with the Milins’ other companies.

According to an April 2016 article in the Daily Beast, for example, National Grants used its

staffers and office space to help operate the Trump Institute. 214 Two such staffers were speakers

Rick Wiseman and Saen Higgins, who had worked as salespeople for National Grants before



214
   Gideon Resnick, Trump’s Get Rich Seminar Partnered With Couple Prosecuted for Fraud, Daily Best
(Apr. 7, 2016), https://www.thedailybeast.com/trumps-get-rich-seminar-partnered-with-couple-
prosecuted-for-fraud.



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doing the same work for the Trump Institute. 215 There was also “recycled NGC material” in

Trump Institute pitches, including a story about how Wiseman obtained over $100,000 in

government money to renovate his Utah home.

       381.    The Milins ran the Trump Institute in a similarly problematic way. In 2009, the

Better Business Bureau gave the Trump Institute an F rating. 216 This was reflective of the

overall experience that consumers had with the company during the years it was operational.

       382.    Records compiled by Attorneys General across the country during the years that

Trump Institute was in operation also demonstrate widespread dissatisfaction with the Trump

Institute seminars by customers who could not receive refunds and felt as though they had been

scammed out of thousands of dollars.

       383.    As part of a 2010 investigation into Trump-entity for-profit education schemes,

for example, then-Texas Attorney General Greg Abbott had compiled about 400 pages of

documents and complaints that had been filed against the Trump Institute (and Trump

University), according to reporting by The Nation in 2016. 217 Included in Abbott’s documents

were complaints that were not only submitted to the Texas Attorney General’s office, but also




215
    Joe Mullin & Jonathan Kaminsky, Firm’s Claims for Grants Get Legal Scrutiny, Sacramento Bee (July
5, 2006), available at https://drive.google.com/file/d/0B4yHJZsoGnJBeHVJVzNtQ3NZbW8/view; see
also Joe Mullin * Jonathan Kaminsky, Trump University and the Art of the Get Rich Seminar, ARS
Technica (Apr. 29, 2016), https://arstechnica.com/tech-policy/2016/04/we-witnessed-the-birth-of-trump-
university/.
216
    Douglas Feiden, Trump U. Hit by Complaints from Those Who Paid Up to 30G, And Say They Got
Very Little in Return, NY Daily News (May 30, 2010), http://www.nydailynews.com/news/trump-u-hit-
complaints-paid-30g-return-article-1.44632.
217
    Spencer Woodman, Documents Show Just How Suckered Students of the Trump Institute Felt, The
Nation (Mar. 28, 2016), https://www.thenation.com/article/documents-show-just-how-suckered-students-
of-the-trump-institute-felt/.



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filings from Better Business Bureaus in the states of Florida and New York, where there were

additional Trump Institute and Trump University offices. 218

       384.    The Trump Enterprise profited enormously from this fraud. The Trump Institute

seminars and course material could cost participants tens of thousands of dollars in total fees. At

the initial “free” seminars, for example, participants were prodded to purchase an additional

three-day conference, a “Wealth Building Weekend,” for $1,500. 219

       385.    In its first full year of operation, the Trump Institute held about 120 different

seminars in 30 different cities across the country. 220

       386.    As one man wrote in a complaint to the Florida Attorney General’s office about a

2009 seminar: “They are using our money to make money.” 221 Another complaint from a

woman who wrote to the Attorney General’s office requesting aid in receiving a refund of

$19,000, after she was allegedly misled about the Trump Institute by its advertising, stated: “We

spent numerous hours placing calls & most times were only able to leave a message in a general

mailbox or were disconnected without allowing a voicemail.” “Trump Institute took our money,

did not provide any mentoring service, is virtually unavailable by phone, email or fax and has

failed to live up to their agreement.”




218
    Id.;see also Scott Maxwell, Trump Funds Bondi as the AG Considered a Probe, Orlando Sentinel (Oct.
15, 2013), http://articles.orlandosentinel.com/2013-10-15/news/os-scott-maxwell-bondi-trump-
20131015_1_attorney-general-pam-bondi-donald-trump-campaign-event.
219
    Gideon Resnick, Trump’s Get Rich Seminar Partnered with Couple Prosecuted for Fraud, The Daily
Beast (Apr. 7, 2016), https://www.thedailybeast.com/trumps-get-rich-seminar-partnered-with-couple-
prosecuted-for-fraud.
220
    Alex Leary, In Trump Institute, Donald Trump Had Florida Partners with a Record of Fraud, Tampa
Bay Times (Jun. 20, 2016), http://www.tampabay.com/news/politics/stateroundup/in-trump-institute-
donald-trump-had-florida-partners-with-a-record-of-fraud/2283767.
221
    Id.



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       387.    Another student wrote to the Florida Attorney General’s office seeking help in

obtaining a refund from Trump Institute: “Please help me. . . . I was laid off work for the first

time in my life and really need this money to support my family. $1,400 is so much money for

my family.” 222 Another woman wrote a complaint directly addressed to Donald Trump, which

was then forwarded to the Attorney General’s office: “Mr. Trump, I am an 85-year-old woman

living on a fixed, modest income. The monthly payment your organization has been deducting

from my bank account is creating an ongoing hardship for me.” 223

       388.    Another complaint submitted in 2010 by a Connecticut couple explained that they

attended a Trump Institute seminar and were led to believe by the person conducting the seminar,

“that he was absolutely broke and his wife was about to leave him and he found the Trump

Institute which saved his life.” A few days later, the couple received a phone call from someone

at the Trump Institute who convinced them to sign up for a more extended program. “This man

knew that we were already in a lot of debt and we were going to pay for this part [on] credit card

and the other part my husband was to borrow from his 401k retirement Plan,” the complaint

stated. A few days later, when the course materials and the contract did not arrive in the mail,

the couple tried to cancel their membership and receive a refund. Several phone calls and over

ten days later, they were told that their membership was past the cancellation date and they

would not be able to receive a refund. “The Trump Institute failed us by not . . . staying true to

their word,” they wrote.




222
    Spencer Woodman, Documents Show Just How Suckered Students of the Trump Institute Felt, The
Nation (Mar. 28, 2016), https://www.thenation.com/article/documents-show-just-how-suckered-students-
of-the-trump-institute-felt.
223
    Alex Leary, In Trump Institute, Donald Trump Had Florida Partners with a Record of Fraud, Tampa
Bay Times (June 30, 2016) https://www.tampabay.com/news/politics/stateroundup/in-trump-institute-
donald-trump-had-florida-partners-with-a-record-of-fraud/2283767.


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       389.    Another Florida resident submitted a complaint to the Attorney General’s office

in 2010, seeking help obtaining a refund from the Trump Institute. The customer had been

waiting several months for a response from the Trump Institute regarding a refund. “[T]he

company . . . [is] trying to get rid of me!” the complaint states. “This company is a Donald

Trump company, so I felt it was legitimate.”

       390.    A California resident wrote to the Florida Attorney General’s office in January of

2010, explaining that he had paid $12,000 for a real estate course over a year earlier and has

since been unable to get a refund. “I received nothing” from the course, he wrote. “I have called

repeatedly to get a refund . . . I think this is a big scam. Can you help me?”


       C.      Trump Falsely Represented that His Endorsement Was Predicated on
               Appropriate Due Diligence and/or Inside Information

       391.    In addition to misrepresenting the probability of prospective students’ commercial

success based on the material and the nature of his own involvement and compensation, Trump

repeatedly misstated that he had access to inside information regarding the Institute and that he

was intimately aware of the educational content in which he was asking students to invest.

       392.    As part of Trump’s claim that he was intimately familiar with the content of the

Trump Institute’s educational services, he suggested that he himself had chosen the course

material. Trump claimed that he has “put all of [his own] concepts” into the seminars for people

to learn from. 224 “Additional educational materials will be for sale at the seminar” is written

across the bottom of the screen during one portion of one of the infomercials.

       393.    Not only was it patently false that Trump had authored the course materials (as

alleged above), but Trump’s own attorneys made clear just how little diligence Trump had done


224
   Donald Trump Way to Wealth, YouTube (July 25 2008),
https://www.youtube.com/watch?v=775yy9Rusc4.


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on the Institute he was endorsing. For example, when Alan Garten, then-executive vice

president and general counsel of The Trump Organization, spoke to the New York Times in 2016,

he claimed that Donald Trump was “obviously” unaware of the plagiarism issue, since he had

little actual involvement with the Trump Institute in the first place. 225 Garten underscored that

the Trump Institute was simply a “short-term licensing deal,” though Trump’s own statements at

the time were directly to the contrary. 226

        394.    Moreover, Garten directly contradicted Trump’s many assertions that he was

involved in designing the Trump Institute program and in selecting mentors. Garten stated that

“[t]he Trump Institute was a licensee of Trump University and was not owned and controlled by

Mr. Trump or any of his companies.” Garten continued, “As such, Mr. Trump had nothing

whatsoever to do with the employment of any of the Trump Institute’s employees or mentors.” 227

        395.    In his 2012 deposition, Sexton said that he did not “believe” that anyone at The

Trump Organization would have reviewed the Trump Institute’s curriculum. 228 He further

emphasized that Trump, personally, “would never do that.” 229


X.      CLASS ALLEGATIONS

        396.    Plaintiffs bring this action on their own behalf and pursuant to Federal Rule of

Civil Procedure 23(a), each of the three subdivisions of Rule 23(b), and Rule 23(c)(4).




225
    See Jonathan Martin, Trump Institute Offered Get Rich Schemes with Plagiarized Lessons, New York
Times (Jun. 29, 2016), https://www.nytimes.com/2016/06/30/us/politics/donald-trump-institute-
plagiarism.html.
226
    Id.
227
    Christina Wilkie, Trump Institute Fired Veteran for ‘Absences’ After he was Deployed to Afghanistan,
Huffington Post (Apr. 22, 2016), https://www.huffingtonpost.com/entry/trump-institute-fired-
veteran_us_5718fda7e4b024dae4f1517e.
228
    Sexton Dep. at 126, Makaeff v. Trump University, LLC, No. 10 Civ.00940 (S.D. Cal. July 25, 2012).
229
    Id. at 127.


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       397.       Plaintiffs seek certification of a nationwide class under Rule 23(b)(1)(A) and/or

23(b)(2) consisting of all persons and entities who invested in, subscribed to, or made payments

to ACN Opportunity, LLC (“ACN”) or its affiliates (the “Nationwide Equitable Class”) for

purposes of asserting common law fraud and common law negligent misrepresentation claims,

and claims under RICO.

       398.       Plaintiffs Jane Doe and Luke Loe also seek certification of a class or subclass

under Rule 23(b)(1)(A) and/or 23(b)(2) consisting of all persons and entities who, from

California, invested in, subscribed or made payments to ACN Opportunity, LLC (“ACN”) or its

affiliates (the “California Equitable Class”) for purposes of asserting statutory claims under

California law.

       399.       Plaintiff Richard Roe also seeks certification of a class or subclass under

Rule 23(b)(1)(A) and/or 23(b)(2) consisting of all persons and entities who, from Maryland,

invested in, subscribed or made payments to ACN Opportunity, LLC (“ACN”) or its affiliates

(the “Maryland Equitable Class”) for purposes of asserting statutory claims under Maryland law.

       400.       Plaintiff Mary Moe also seeks certification of a class or subclass under

Rule 23(b)(1)(A) and/or 23(b)(2) consisting of all persons and entities who, from Pennsylvania,

invested in, subscribed or made payments to ACN Opportunity, LLC (“ACN”) or its affiliates

(the “Pennsylvania Equitable Class”) for purposes of asserting statutory claims under

Pennsylvania law.

       401.       The proposed Nationwide Equitable Class, the proposed California Equitable

Class, the proposed Maryland Equitable Class and the proposed Pennsylvania Equitable Class

are referred to collectively as the “Equitable Classes.”




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       402.    The prosecution of separate actions by individual members of the

Rule 23(b)(1)(A) and (b)(2) Equitable Classes would create the risk of inconsistent or varying

adjudications, which would establish incompatible standards of conduct for Defendants.

       403.    Defendants have acted, or failed to act, on grounds generally applicable to the

Rule 23(b)(1)(A) and (b)(2) Equitable Classes, thereby making appropriate final injunctive and

declaratory relief with respect to the Equitable Classes as a whole.

       404.    The individual members of the Rule 23(b)(1)(A) and (b)(2) Equitable Classes are

so numerous that joinder is impracticable. The precise size of the each of the Equitable Classes

is not yet fully known but easily meets the threshold for certification. In each of the years from

2011 to 2016, ACN reported that it had 200,000 IBOs. 230 Moreover, single conventions held by

ACN in the United States multiple times a year during the same period drew typically at least

15,000 IBO attendees each. 231

       405.    Second, Plaintiffs seek certification of a nationwide class under Rule 23(b)(3)

consisting of all persons and entities who invested in, subscribed to or made payments to ACN

Opportunity, LLC (“ACN”) or its affiliates, but did not recoup an amount equal to or more than

those payments from ACN (the “Nationwide Damages Class”) for purposes of asserting common

law fraud and common law negligent misrepresentation claims, and claims under RICO.

       406.    Plaintiffs Jane Doe and Luke Loe also seek certification of a class or subclass

under Rule 23(b)(3) consisting of all persons and entities who, from California, invested in,



230
   ACN, Direct Selling News, https://www.directsellingnews.com/company-profiles/acn/.
231
   See, e.g., Lisa Krass, ACN Hosts 20th Anniversary in Charlotte, PRWeb (Feb. 20, 2013),
https://www.prweb.com/releases/acn/events/prweb10450330.htm; ACN Welcomed Nearly 15,000
Independent Business Owners to San Jose, CA for Its International Training Event, Business Wire (Dec.
13, 2012), https://www.businesswire.com/news/home/20121213006232/en/ACN-Welcomed-15000-
Independent-Business-Owners-San; The Opportunity of a Lifetime, Success from Home, July 2012, at 26-
27.


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subscribed to or made payments to ACN Opportunity, LLC (“ACN”) or its affiliates, but did not

recoup an amount equal to or more than those payments from ACN (the “California Damages

Class”) for purposes of asserting statutory claims under California law.

          407.    Plaintiff Richard Roe also seeks certification of a class or subclass under

Rule 23(b)(3) consisting of all persons and entities who, from Maryland, invested in, subscribed

to or made payments to ACN Opportunity, LLC (“ACN”) or its affiliates, but did not recoup an

amount equal to or more than those payments from ACN (the “Maryland Damages Class”) for

purposes of asserting statutory claims under Maryland law.

          408.    Plaintiff Mary Moe also seeks certification of a class or subclass under Rule

23(b)(3) consisting of all persons and entities who, from Pennsylvania, invested in, subscribed to

or made payments to ACN Opportunity, LLC (“ACN”) or its affiliates, but did not recoup an

amount equal to or more than those payments from ACN (the “Pennsylvania Damages Class”)

for purposes of asserting statutory claims under Pennsylvania law.

          409.    The proposed Nationwide Damages Class, the proposed California Damages

Class, the proposed Maryland Damages Class and the proposed Pennsylvania Damages Class are

referred to collectively as the “Damages Classes.”

          410.    The individual members of the Damages Classes are so numerous that joinder is

impracticable. The precise size of the each of the Damages Classes is not yet fully known but

easily meets the threshold for certification. In each of the years from 2011 to 2016, ACN

reported to have 200,000 IBOs. 232 Moreover, single conventions held by ACN in the United




232
      ACN, Direct Selling News, https://www.directsellingnews.com/company-profiles/acn/.



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States multiple times a year during the same period drew typically at least 15,000 IBO attendees

each. 233

        411.   All of the members of the Damages Classes have been injured as a result of

Defendants’ conduct.

        412.   Third, as an alternative to seeking class certification under Rule 23(b), Plaintiffs

may also seek certification of the classes defined above, but limited to specific identified

common issues under Rule 23(c)(4).

        413.   Plaintiffs reserve the right to amend the definitions of the Classes if discovery

and/or further investigation reveal that the Classes should be expanded or otherwise modified.

        414.   There are numerous questions of law and fact common to the Equitable Classes

and the Damages Classes (collectively, the “Classes”). Chief among them are whether

Defendants actions, as described in this Complaint violated RICO or the consumer protection

statutes of California, Maryland or Pennsylvania, or constituted common law fraud or common

law negligent misrepresentation. These common issues predominate over any individual issues

pertaining to the members of the Damages Classes and include, without limitation, whether:

                   a) The Trump Association-in-Fact is an “enterprise” within the meaning of

                       18 U.S.C. § 1961(4);

                   b) The Trump Corporation is an “enterprise” within the meaning of 18

                       U.S.C. § 1961(4);




233
   See, e.g., Lisa Krass, ACN Hosts 20th Anniversary in Charlotte, PRWeb (Feb. 20, 2013),
https://www.prweb.com/releases/acn/events/prweb10450330.htm; ACN Welcomed Nearly 15,000
Independent Business Owners to San Jose, CA for Its International Training Event, Business Wire (Dec.
13, 2012), https://www.businesswire.com/news/home/20121213006232/en/ACN-Welcomed-15000-
Independent-Business-Owners-San; The Opportunity of a Lifetime, Success from Home, July 2012, at 26-
27.


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                  c) Defendants operated, directed, and controlled the Trump Association-in-

                      Fact;

                  d) The Individual Defendants operated, directed, and controlled the Trump

                      Corp. Enterprise;

                  e) Defendants engaged or conspired to engage in a pattern of mail fraud,

                      indictable under 18 U.S.C. § 1341;

                  f) Defendants engaged or conspired to engage in a pattern of wire fraud,

                      indictable under 18 U.S.C. § 1343;

                  g) Defendants promoted the ACN business opportunity with false and

                      misleading statements;

                  h) Defendants engaged in a scheme to defraud members of the Classes;

                  i) Members of the Classes are entitled to an award of treble, statutory,

                      punitive damages, attorneys’ fees, and expenses;

                  j) Members of the Classes are entitled to equitable relief, and if so, the

                      nature of such relief;

                  k) Defendants’ conduct injured members of the Classes and whether those

                      injuries, including monetary and out of pocket pecuniary losses, are

                      compensable.

       415.    Defendants’ practices and the claims alleged in this complaint are common to all

members of the Classes.

       416.    The violations and injuries suffered by Plaintiffs are typical of those suffered by

members of the Classes. Plaintiffs, like all members of the Classes, are individuals who were

lured into investing in the ACN business opportunity and incurred costs and suffered losses as a




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result of Defendants’ misrepresentations and scheme to defraud. The Classes will benefit from

the remedial and monetary relief sought in this action.

       417.       Plaintiffs and their counsel will adequately and fairly protect the interests of all

members of the Class because they have the requisite personal interest in the outcome of this

litigation and they have no interest antagonistic to others in the Classes.

       418.       Plaintiffs are represented by counsel competent and experienced in federal class

action, consumer protection, and RICO litigation. Kaplan Hecker and Fink LLP (“KHF”) is a

prominent New York City law firm whose lawyers have extensive experience litigating complex

civil cases and in civil rights litigation. Emery Celli Brinckerhoff & Abady LLP (“ECBA”) is

also a prominent New York City law firm with extensive experience in class action lawsuits, and

in consumer and civil rights litigation. ECBA served as class counsel in Sykes v. Mel Harris &

Associates, LLC, 285 F.R.D. 279 (S.D.N.Y. 2012) (certifying Rule 23(b)(2) and (3) classes of

hundreds of thousands of persons injured by fraudulent scheme to obtain default judgments in

violation of, inter alia, RICO and the New York Consumer Protection Act), aff’d, 780 F.3d 70

(2d Cir. 2015).

       419.       A class action is the superior method for a fair and efficient adjudication of this

matter in that Defendants have acted in a manner generally applicable to the Classes, joinder of

all members of the Classes is impracticable, and a class action may avoid numerous separate

actions by class members that would unduly burden the courts.

       420.       Additionally, the damages suffered by class members of at least $500 each,

although substantial, are small in relation to the extraordinary expense and burden of complex

litigation, and it is therefore highly unlikely that any significant number of individual actions will

be pursued, particularly because members of the Classes are primarily low-income individuals




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with limited access to counsel. Hence, their rights under the law may well be meaningless

without certification of a class action seeking common redress.

        421.    This case can be efficiently and easily managed as a class action.

                                       CAUSES OF ACTION

COUNT ONE:               Racketeering in Violation of the Racketeering Influenced and Corrupt
                         Organizations Act, 18 U.S.C. § 1962(c)

        422.    Plaintiffs incorporate by reference all preceding paragraphs and re-allege them as

if set forth fully herein.

        423.    Plaintiffs are natural persons, and as such are “persons” within the meaning of 18

U.S.C. § 1961(3).

        424.    Defendants are “persons” within the meaning of 18 U.S.C. § 1961(3) who

conducted the affairs of the Trump Association-in-Fact through a pattern of racketeering activity

in violation of 18 U.S.C. § 1962(c).

        425.    The Individual Defendants are “persons” within the meaning of 18 U.S.C.

1961(3) who conducted the affairs of the Trump Corp. Enterprise through a pattern of

racketeering activity in violation of 18 U.S.C. § 1962(c).

        426.    At all times relevant to this Complaint, the Trump Association-in-Fact was an

association-in-fact within the meaning of 18 U.S.C. § 1961(4), comprised of a network of

companies and associates that shared a common purpose, including but not limited to

(i) Defendant The Trump Corporation; (ii) Defendant Donald J. Trump; (iii) Defendant Ivanka

Trump; (iv) Defendant Donald Trump Jr.; (v) Defendant Eric Trump; (vi) Trump Productions;

(vii) DSN Licensing, LLC; (viii) Trump University LLC; (ix) Trump International Realty;

(x) Trump National Golf Club, LLC; and (xi) TNGC Charlotte, LLC.




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       427.    At all times relevant to this Complaint, the Trump Corp. Enterprise was legal

entity and an enterprise within the meaning of 18 U.S.C. § 1961(4) operated, directed, and

controlled by the Individual Defendants.

       428.    The Trump Association-in-Fact and the Trump Corp. Enterprise (referred to

collectively as the “Trump Enterprise”) had the common purpose of earning revenue from the

Endorsed Entities in exchange for conveying a false and misleading Message on behalf of the

Endorsed Entities, namely: (1) that prospective investors would have a reasonable probability of

commercial success if they bought into the Investments; (2) that Trump was promoting and

endorsing the Investments because he believed that they offered a reasonable probability of

commercial success (rather than because the Trump Enterprise was being paid); and (3) that

Trump’s endorsement was predicated on extensive due diligence, insider information, and

personal experience with the Investments. The Enterprise’s pursuit of this common purpose by

the actions alleged in this Complaint amounted to the conduct of a scheme to defraud Plaintiffs

(the “Fraudulent Scheme”).

       429.    The Individual Defendants exercised substantial control over the Trump

Enterprise through the following means:

               A.     directing the business activities of The Trump Corporation and its

                      subsidiaries and affiliates to carry out the Trump Enterprise;

               B.     approving marketing and advertising materials which featured

                      Trump’s name, likeness and/or voice, including materials produced

                      by ACN, the Trump Institute, and Trump Network;




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               C.      authorizing companies within the Trump Enterprise to license the

                       right to use Trump’s name to other companies, including the

                       Trump Institute and Trump Network.

               D.      authorizing companies within the Trump Enterprise to enter into

                       arrangements that facilitated payments from the Endorsed Entities

                       to the Trump Enterprise in consideration for Defendants’

                       fraudulent promotion and endorsement of the Investments.

       430.    Defendant The Trump Corporation exercised substantial control over the

Association-in-Fact entities through its position as the principal controlling and operating entity

under The Trump Organization umbrella.

       431.    At all relevant times, the Trump Association-in-Fact had an ascertainable

structure that was separate and distinct from Defendants, and its operations were separate from

the pattern of racketeering activity in which Defendants engaged. The Trump Corporation, by

virtue of its status as a legal corporation, is separate and distinct from the Individual Defendants

who operated, directed, and controlled the Trump Corp. Enterprise.

       432.    In carrying out the Fraudulent Scheme, the Trump Enterprise engaged in interstate

commerce and/or its activities affected interstate commerce, including because the businesses

that Trump endorsed offered their products nationally and because Trump made appearances in

several states in conducting the Enterprise.

       433.    Under the direction of Defendants, the Trump Enterprise had an ongoing

organizational framework for carrying out its objectives and functioned as a continuing unit with

a common purpose. Each participant in the Trump Enterprise had a systematic linkage to each




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other participant through corporate ties, contractual relationships, financial ties, and the

continuing coordination of their activities.

       434.    By engaging in the Fraudulent Scheme, Defendants conducted the affairs of the

Trump Enterprise through a pattern of racketeering activity. The racketeering activity was made

possible by the regular and repeated use of the facilities, services, legal entities, and employees

of the Trump Enterprise.

       435.    Defendants carried out the Fraudulent Scheme through numerous acts of mail and

wire fraud, which acts are indictable under 18 U.S.C. §§ 1341 and 1343, respectively, and thus

constitute racketeering activity within the meaning of 18 U.S.C. § 1961(1). Defendants used

thousands of interstate mail and wire communications to create and perpetuate the Fraudulent

Scheme, through communications between and among Defendants and members of the

Enterprise, money transfers, false statements, misrepresentations, and misleading omissions

alleged in this Complaint. These acts of mail and wire fraud together constitute a pattern of

racketeering activity within the meaning of 18 U.S.C. § 1962(c).

       436.    The pattern of racketeering activity commenced in late 2005, when Trump began

to endorse ACN. The pattern extended to Trump’s endorsement of The Trump Network and

Trump Institute. The pattern continued until at least August 2017, when the ACN Charity golf

tournament was hosted at the TNGC Charlotte. Though the pattern of racketeering extended to

the Trump Network and the Trump Institute, the Trump Enterprise’s fraudulent promotion and

endorsement of ACN alone constitutes a pattern of racketeering activity.

       437.    Defendants’ use of the mails in furtherance of their Fraudulent Scheme included

communications from and between Defendants and members of the Enterprise, in addition to the

following communications sent by interstate mail to Plaintiffs, class members, and other third




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parties via U.S. mail or commercial carrier by Defendants, at their behest, with their express

authorization, or consistent with reasonable expectations, and which involved knowingly false

statements, misrepresentations, and misleading omissions:

               A.      The ACN Opportunity Discs featuring the Trumps;

               B.      Issues of ACN Newsmagazine featuring the Trumps and/or

                       detailing Trump’s endorsement of ACN;

               C.      Issues of Success from Home magazine and Success magazine

                       featuring the Trumps and/or detailing Trump’s endorsement of

                       ACN;

               D.      Episodes of The Celebrity Apprentice featuring ACN and

                       Individual Defendants that were distributed in physical media

                       (such as DVDs);

               E.      Promotional materials for Trump Institute containing Trump’s

                       name and image;

               F.      Advertising materials for the Trump Institute containing a signed

                       letter from Trump promoting the Donald Trump Way to Wealth

                       seminar;

               G.      Advertising materials for Trump Network containing Trump’s

                       name, image, and promotional statements.

       438.    Defendants’ use of interstate wire services in furtherance of their Fraudulent

Scheme included email communications and money transfers from and between Defendants and

members of the Enterprise, in addition to the following communications that were broadcast or

distributed using interstate wire services or other interstate electronic media by Defendants, at




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their behest, with their express authorization, or consistent with reasonable expectations, and

which involved the knowingly false statements, misrepresentations, and misleading omissions:

               A.      Videos of Trump’s speeches at ACN events that were posted on

                       YouTube;

               B.      Posts authored by Trump on ACN’s blog;

               C.      Videos of Trump’s speeches at Trump Network events that were

                       posted on YouTube;

               D.      Posts authored by Trump on the Trump Network’s website;

               E.      Promotional videos featuring Trump for Trump Network that were

                       posted on YouTube;

               F.      Promotional videos featuring Trump for the Trump Institute that

                       were posted on YouTube.

       439.    Throughout the relevant time period, on or about the dates set forth below,

Plaintiffs received the Message about ACN that was at the core of the Fraudulent Scheme

through the following fraudulent mail and/or wire communications:

               A.      In mid-to-late 2014, Plaintiff Doe viewed an ACN DVD in which Trump

                       delivered the Message directly to viewers at an ACN recruitment meeting

                       in Los Angeles. The Message was repeated in and augmented by clips of

                       ACN’s appearance on The Celebrity Apprentice, which Plaintiff Doe also

                       viewed.

               B.      Plaintiff Doe also received the Message at ACN meetings she attended

                       every two weeks throughout late 2014 to late 2015 at two hotels in Los




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            Angeles, during which ACN DVDs prominently featuring Trump’s

            endorsement were played.

      C.    Plaintiff Doe also received the Message at ACN conferences in 2015 in

            Cleveland, Ohio, and Detroit, Michigan, during which videos featuring

            Trump conveying the Message were prominently displayed.

      D.    Plaintiff Doe also received the Message from reading Trump’s statements

            and images in Success from Home and Success magazines throughout the

            relevant period.

      E.    In mid-2014 at an ACN recruitment meeting in Los Angeles, Plaintiff Loe

            viewed an ACN DVD in which Trump delivered the Message directly to

            viewers.

      F.    Plaintiff Loe also received the Message at approximately 25 to 30 ACN

            meetings he attended every two weeks throughout late 2014 to late 2015 at

            two hotels in Los Angeles, during which ACN DVDs prominently

            featuring Trump’s endorsement were played.

      G.    Plaintiff Loe also received the Message at ACN conferences in 2015 in

            Palm Springs, California; Cleveland, Ohio; and Detroit, Michigan, during

            which videos featuring Trump conveying the Message were prominently

            displayed.

      H.    Around mid-2016, Plaintiff Roe received the Message by watching video

            of Trump from an episode of The Celebrity Apprentice featuring ACN.

            The Message was repeated and augmented by other clips featuring

            Trump’s promotion and endorsement of ACN.




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                I.       Around mid-2013, Plaintiff Moe received the Message by watching a

                         promotional video prominently featuring Trump at an event held at a hotel

                         in Pennsylvania. The Message was repeated in and augmented by other

                         clips featuring Trump’s promotion and endorsement of ACN.

        440.    In reliance on the Message conveyed by Defendants in furtherance of the

Fraudulent Scheme, Plaintiffs and class members invested in ACN, incurred expenses in

connection therewith, and suffered loss and damage thereby.

        441.    Had Defendants not been complicit and had they not bolstered and furthered the

deception of consumers, Plaintiffs and class members would not have been injured. Thus,

Plaintiffs’ and class members’ injuries were directly and proximately caused by the pattern of

racketeering activity described above.

        442.    By virtue of these violations of 18 U.S.C. § 1962(c), Defendants are liable to

Plaintiffs and class members for three times the damages Plaintiffs and class members have

sustained, plus the cost of this suit, including reasonable attorneys’ fees.

COUNT TWO:               Conspiracy to Conduct the Affairs of a Racketeering Enterprise, 18
                         U.S.C. § 1962(d)

        443.    Plaintiffs incorporate by reference all preceding paragraphs and re-allege them as

if set forth fully herein.

        444.    Defendants have agreed and conspired to violate 18 U.S.C. § 1962(c), as set forth

above, in violation of 18 U.S.C. § 1962(d). Defendants have intentionally conspired and agreed

to directly, and indirectly, conduct and participate in the conduct of the affairs of the Trump

Enterprise through a pattern of racketeering activity.




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       445.      Defendants knew that their predicate acts of mail and wire fraud were part of a

pattern of racketeering activity and agreed to the commission of those acts to further their

scheme to defraud hopeful investors.

       446.      As a direct result and proximate result of Defendants’ conspiracy, and the

multiple overt acts taken by all Defendants in furtherance of that conspiracy, Plaintiffs and class

members have been injured in their business and property.

COUNT THREE:            Dissemination of Untrue and Misleading Public Statements in
                        Violation of California Business and Professions Code § 17500 et seq.

       447.      Plaintiffs incorporate by reference all preceding paragraphs and re-allege them as

if set forth fully herein. Plaintiffs Jane Doe and Luke Loe (“California Plaintiffs”) assert Count

Three on behalf of themselves and members of the California classes.

       448.      Defendants are “persons” within the meaning of California Business &

Professional Code § 17506.

       449.      California Business & Professions Code § 17500 prohibits the dissemination, in

any manner or means, of any untrue or misleading statements or representations concerning

property or services.

       450.      Defendants violated California Business & Professions Code § 17500 by

disseminating to the public a false and misleading Message on behalf of the ACN,

namely: (1) that prospective investors would have a reasonable probability of commercial

success if they bought into ACN; (2) that Trump was endorsing and promoting ACN because he

believed that they offered a reasonable probability of commercial success (rather than because

the Trump Enterprise was being paid); and (3) that Trump’s endorsement was predicated on

extensive due diligence, insider information, and personal experience with the ACN business

opportunities.


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       451.   On or about the dates set forth below, Plaintiffs Doe and Loe received the

following fraudulent statements by Trump:

              A.     In mid-to-late 2014 at an ACN recruitment meeting in Los Angeles,

                     Plaintiff Doe viewed an ACN DVD in which Trump delivered the

                     Message directly to viewers. The Message was repeated and augmented

                     by clips of ACN’s appearance on The Celebrity Apprentice, which

                     Plaintiff Doe also viewed.

              B.     Plaintiff Doe also received the Message at ACN meetings she attended

                     every two weeks throughout late 2014 to late 2015 at two hotels in Los

                     Angeles during which ACN DVDs prominently featuring Trump’s

                     endorsement were played.

              C.     Plaintiff Doe also received the Message at ACN conferences in 2015 in

                     Cleveland, Ohio and Detroit, Michigan, during which videos featuring

                     Trump conveying the Message were prominently displayed.

              D.     Plaintiff Doe also received the Message from reading Trump’s statements

                     and images in Success from Home and Success magazines throughout the

                     relevant period.

              E.     In mid-2014 at an ACN recruitment meeting in Los Angeles, Plaintiff Loe

                     viewed an ACN DVD in which Trump delivered the Message directly to

                     viewers.

              F.     Plaintiff Loe also received the Message at approximately 25 to 30 ACN

                     meetings he attended every two weeks throughout late 2014 to late 2015 at




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                       two hotels in Los Angeles—during which ACN DVDs prominently

                       featuring Trump’s endorsement were played.

               G.      Plaintiff Loe also received the Message at ACN conferences in 2015 in

                       Palm Springs, California; Cleveland, Ohio; and Detroit, Michigan, during

                       which videos featuring Trump conveying the Message were prominently

                       displayed.

       452.    As set forth in this Complaint, Defendants knew, or by exercise of reasonable care

should have known, that the statements regarding ACN were false and misleading. The

statements referenced above, which Defendants disseminated to the public, were material and

likely to deceive a reasonable consumer.

       453.    As set forth in this Complaint, Defendants intended that consumers rely on the

false and misleading representations that they disseminated regarding ACN.

       454.    Plaintiffs Doe and Loe and members of the California classes invested in ACN,

and incurred expenses in connection therewith, as a direct result of, and in reliance on, the false

and misleading representations disseminated by Defendants.

       455.    Had Defendants not been complicit and had they not bolstered and furthered the

deception of consumers, Plaintiffs Doe and Loe and members of the California classes would not

have been injured. Thus, their injuries were directly and proximately caused by Defendants’

dissemination of untrue or misleading statements and representations of property or services to

individuals within the state of California, in violation of California Business & Professions Code

§ 17500.

       456.    In accordance with California Business & Professions Code § 17500, Plaintiffs

Doe and Loe and members of the California classes request that this Court enter such orders or




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judgments as may be necessary, including disgorgement of any money Defendants obtained by

false advertising, and for such other relief as may be appropriate.

COUNT FOUR:            Unfair Competition in Violation of California Business and
                       Professions Code § 17200 et seq.

       457.    Plaintiffs incorporate by reference all preceding paragraphs and re-allege them as

if set forth fully herein. Plaintiffs Doe and Loe assert Count Four on behalf of themselves and

members of the California classes.

       458.    Defendants are “persons” within the meaning of California Business &

Professions Code § 17021.

       459.     Defendants have violated California Business & Professions Code § 17200’s

prohibition against “unlawful, unfair, or fraudulent” business practices by disseminating

materially false and misleading representations about ACN to Plaintiffs Doe and Loe.

       460.    Defendant’s actions constitute “unfair” business acts and practices within the

meaning of California Business & Professions Code § 17200. Defendants’ practices offend

public policy and are unethical, oppressive, unscrupulous and violate the laws stated herein.

Moreover, Defendants’ conduct has caused substantial injury to Plaintiffs Doe and Loe and

members of the California classes. The gravity of Defendants’ wrongful conduct significantly

outweighs any purported benefits that can be attributed to such conduct.

       461.    Defendants’ actions also constitute fraudulent business acts and practices within

the meaning of California Business & Professions Code § 17200. Defendants’ omissions

regarding the nature of Trump’s relationship with the ACN, as well as Defendants’ assertions

regarding the quality and value of the investing in ACN and the likelihood of financial success,

were all intended to deceive consumers like Plaintiffs Doe and Loe.




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       462.   On or about the dates set forth below, Plaintiffs Doe and Loe received the

following fraudulent statements by Trump:

              A.     In mid-to-late 2014 at an ACN recruitment meeting in Los Angeles,

                     Plaintiff Doe viewed an ACN DVD in which Trump delivered the

                     Message directly to viewers. The Message was repeated and augmented

                     by clips of ACN’s appearance on The Celebrity Apprentice, which

                     Plaintiff Doe also viewed.

              B.     Plaintiff Doe also received the Message at ACN meetings she attended

                     every two weeks throughout late 2014 to late 2015 at two hotels in Los

                     Angeles, during which ACN DVDs prominently featuring Trump’s

                     endorsement were played.

              C.     Plaintiff Doe also received the Message at ACN conferences in 2015 in

                     Cleveland, Ohio and Detroit, Michigan, during which videos featuring

                     Trump conveying the Message were prominently displayed.

              D.     Plaintiff Doe also received the Message from reading Trump’s statements

                     and images in Success from Home and Success magazines throughout the

                     relevant period.

              E.     In mid-2014 at an ACN recruitment meeting in Los Angeles, Plaintiff Loe

                     viewed an ACN DVD in which Trump delivered the Message directly to

                     viewers.

              F.     Plaintiff Loe also received the Message at approximately 25 to 30 ACN

                     meetings he attended every two weeks throughout late 2014 to late 2015 at




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                       two hotels in Los Angeles, during which ACN DVDs prominently

                       featuring Trump’s endorsement were played.

               G.      Plaintiff Loe also received the Message at ACN conferences in 2015 in

                       Palm Springs, California; Cleveland, Ohio; and Detroit, Michigan, during

                       which videos featuring Trump conveying the Message were prominently

                       displayed.

       463.    As set forth in this Complaint, Defendants knew or, by exercise of reasonable care

should have known, that the statements regarding the property and services of ACN were false

and misleading. The statements referenced above, which Defendants disseminated to the public,

were material and likely to deceive a reasonable consumer.

       464.    As set forth in this Complaint, Defendants intended that consumers rely on the

false and misleading representations that they disseminated regarding the property and services

of ACN.

       465.    Plaintiffs Doe and Loe and members of the California classes invested in ACN,

and incurred expenses in connection therewith, as a direct result of, and in reliance on, the false

and misleading representations disseminated by Defendants.

       466.    Had Defendants not been complicit and had they not bolstered and furthered the

deception of consumers, Plaintiffs Doe and Loe and members of the California classes would not

have been injured. Thus, Plaintiffs’ and California class members’ injuries were directly and

proximately caused by Defendants’ conduct, including unlawful, fraudulent and unfair business

practices in violation of California Business & Professions Code § 17200 et seq.




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       467.    Defendants’ conduct was also unlawful in violation of California Business &

Professions Code § 17200’s prohibition against business practices which constitute violations of

other statutes, including California Business & Professions Code § 17500.

       468.    In accordance with California Business & Professions Code § 17200, California

Plaintiffs and members of the California classes request that this Court enter such orders or

judgment as may be necessary, including disgorgement of any money Defendants gained by

unfair competition, and for such other relief as may be appropriate.

COUNT FIVE:             Unfair and Deceptive Trade Practices in Violation of Maryland
                        Consumer Protection Act, Md. Code Ann., Com. Law § 13-301

       469.    Plaintiffs incorporate by reference all preceding paragraphs and re-allege them as

if set forth fully herein. Plaintiff Roe asserts Count Five on behalf of himself and members of

the Maryland classes.

       470.    Maryland’s Consumer Protection Act (“MCPA”) prohibits any unfair or deceptive

trade practices, including “false or misleading representations of any kind” which have the

“capacity, tendency, or effect of deceiving or misleading customers.” Md. Code Ann., Com.

Law § 13-301(1). The statute further prohibits all “deception, fraud, false pretense, false

premise, misrepresentation, or knowing concealing, suppression, or omission of any material

fact” with the intent to induce reliance “in connection with the promotion or sale of any

consumer goods . . . or service.” Md. Code Ann., Com. Law § 13-301(9).

       471.    Defendants engaged in deceptive trade practices in violation of the MCPA by

knowingly disseminating to the public a false and misleading Message regarding ACN, namely:

(1) that prospective investors would have a reasonable probability of commercial success if they

bought into the ACN; (2) that Trump was endorsing and promoting ACN because he believed

that they offered a reasonable probability of commercial success (rather than because the Trump


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Enterprise was being paid); and (3) that Trump’s endorsement was predicated on extensive due

diligence, insider information, and personal experience with the ACN business opportunities.

       472.    Defendants used mail and wire communications to create and disseminate false

statements, misrepresentations, and misleading omissions, to Plaintiff Roe and members of the

Maryland classes.

       473.    On or around mid-2016, Plaintiff Roe received the fraudulent Message by

watching video of Trump from an episode of The Celebrity Apprentice featuring ACN. The

Message was repeated in and augmented by other clips featuring Trump’s promotion and

endorsement of ACN.

       474.    As set forth in this Complaint, Defendants intended that Plaintiff Roe and

members of the Maryland classes rely on the false and misleading representations that they

disseminated regarding the property and services of ACN.

       475.    Had Defendants not been complicit and had they not bolstered and furthered the

deception of consumers, Plaintiff Roe and members of the Maryland classes would not have

been injured. Thus, his injuries were directly and proximately caused by Defendants’

dissemination of untrue or misleading statements and representations regarding property or

services to individuals within the state of Maryland in violation of Md. Code Ann., Com. Law §

13-301(9).

       476.    Plaintiff Roe and members of the Maryland classes are entitled to equitable relief,

actual damages and attorneys’ fees under Md. Code Ann., Com. Law § 13-408(a), in an amount

to be proven at trial, and any other just and proper relief available under the Maryland CPA.




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COUNT SIX:             Unfair and Deceptive Acts or Practices in Violation of Pennsylvania
                       Unfair Trade Practices and Consumer Protection Law (“UTPCPL”)
                       73 Pa. Stat. Ann. § 201-2(4) et seq.

       477.    Plaintiffs incorporate by reference all preceding paragraphs and re-allege them as

if set forth fully herein. Plaintiff Mary Moe asserts Count Six on behalf of herself and members

of the Pennsylvania classes.

       478.    Defendants are “persons” within the meaning of 73 Pa. Stat. Ann. § 201-2(2).

       479.    Section 201-2(4)(ii) of the Pennsylvania Unfair Trade Practices and Consumer

Protection Law prohibits business acts or practices that “caus[e] likelihood of confusion or of

misunderstanding as to the sources, sponsorship, approval or certification of goods or services.”

73 Pa. Stat. Ann. § 201-2(4)(ii). Section 201-2(4)(iii) prohibits business acts or practices that

“caus[e] likelihood of confusion or of misunderstanding as to affiliation, connection or

association with, or certification by, another.” 73 Pa. Stat. Ann. § 201-2(4)(iii).

       480.    Section 201-2(4)(v) further prohibits business acts or practices which include

“[r]epresenting that goods or services have sponsorship, approval, characteristics, ingredients,

uses, benefits or quantities that they do not have or that a person has a sponsorship, approval,

status, affiliation or connection that he does not have.” 73 Pa. Stat. Ann. § 201-2(4)(v).

       481.    Section 201-2(4)(vii) prohibits business acts or practices which include

“[r]epresenting that goods or services are of a particular standard, quality or grade, or that goods

are of a particular style or model, if they are of another.” 73 Pa. Stat. Ann. § 201-2(4)(vii).

Finally, section 201-2(4)(xxi) prohibits “[e]ngaging in any other fraudulent or deceptive conduct

which creates a likelihood of confusion or misunderstanding.” 73 Pa. Stat. Ann. § 201-2(4)(xxi).

       482.    Defendants violated 73 Pa. Stat. Ann. § 201-2(4)(ii), (iii), (v), (vii), and (xxi) by

disseminating to the public a false and misleading Message on behalf of ACN, namely: (1) that




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prospective investors would have a reasonable probability of commercial success if they bought

into ACN; (2) that Trump was endorsing and promoting investment in ACN because he believed

that it offered a reasonable probability of commercial success (rather than because the Trump

Enterprise was being paid); and (3) that Trump’s endorsement was predicated on extensive due

diligence, insider information, and personal experience with the ACN business opportunities.

       483.    Around mid-2013, Plaintiff Moe received the fraudulent Message by watching a

promotional video prominently featuring Trump at an event held in a Pennsylvania hotel. The

Message was repeated in and augmented by other clips featuring Trump’s promotion and

endorsement of ACN.

       484.    All of the acts complained of herein were perpetrated by Defendants in the course

of trade or commerce within the meaning of 73 Pa. Cons. Stat. § 201-2(3).

       485.    As set forth in this Complaint, Defendants knew or, by exercise of reasonable care

should have known, that the statements regarding the property and services of ACN were false

and misleading. The statements described above, which Defendants disseminated to the public,

were material and likely to deceive a reasonable consumer.

       486.    As set forth in this Complaint, Defendants intended that consumers rely on the

false and misleading representations that they disseminated regarding the property and services

of ACN.

       487.    Plaintiff Moe and members of the Pennsylvania classes invested their money in

ACN as a direct result of, and in reliance on, the false and misleading representations

disseminated by Defendants.

       488.    Had Defendants not been complicit and had they not bolstered and furthered the

deception of consumers, Plaintiff Moe and members of the Pennsylvania classes would not have




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been injured. Thus, Plaintiffs’ and Pennsylvania class members’ injuries were directly and

proximately caused by Defendants’ dissemination of untrue or misleading statements and

representations of property or services to individuals within the state of Pennsylvania, in

violation of 73 Pa. Stat. Ann. § 201-2(4)(ii), (iii), (v), (vii), and (xxi).

        489.    In accordance with 73 Pa. Stat. Ann. § 201-9.2, Plaintiff Moe and members of the

Pennsylvania classes are entitled to treble their actual damages or $100, whichever is greater,

equitable relief and attorneys’ fees and costs. 73 Pa. Cons. Stat. § 201-9.2(a). Plaintiff Moe and

members of the Pennsylvania classes are also entitled to an award of punitive damages given that

Defendants’ conduct was malicious, wanton, willful, oppressive, or exhibited a reckless

indifference to the rights of others.

COUNT SEVEN:             Common Law Fraud

        490.    Plaintiffs incorporate by reference all preceding paragraphs and re-allege them as

if set forth fully herein.

        491.    As alleged herein, Defendants intentionally made false representations of material

fact regarding the nature of the ACN business opportunities, namely: (1) that prospective

investors would have a reasonable probability of commercial success if they bought into the

ACN business opportunities; (2) that Trump was endorsing and promoting the ACN business

opportunities because he believed that they offered a reasonable probability of commercial

success (rather than because the Trump Enterprise was being paid); and (3) that Trump’s

endorsement was predicated on extensive due diligence, experience, and/or access to inside

information about the ACN business opportunities.

        492.    On or about the dates set forth below, Plaintiffs received the following fraudulent

statements by Trump:




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      A.    In mid-to-late 2014 at an ACN recruitment meeting in Los Angeles,

            Plaintiff Doe viewed an ACN DVD in which Trump delivered the

            Message directly to viewers. The Message was repeated and augmented

            by clips of ACN’s appearance on The Celebrity Apprentice, which

            Plaintiff Doe also viewed.

      B.    Plaintiff Doe also received the Message at ACN meetings she attended

            every two weeks throughout late 2014 to late 2015 at two hotels in Los

            Angeles, during which ACN DVDs prominently featuring Trump’s

            endorsement were played.

      C.    Plaintiff Doe also received the Message at ACN conferences in 2015 in

            Cleveland, Ohio and Detroit Michigan, during which videos featuring

            Trump conveying the Message were prominently displayed.

      D.    Plaintiff Doe also received the Message from reading Trump’s statements

            and images in Success from Home and Success magazines throughout the

            relevant period.

      E.    In mid-2014 at an ACN recruitment meeting in Los Angeles, Plaintiff Loe

            viewed an ACN DVD in which Trump delivered the Message directly to

            viewers.

      F.    Plaintiff Loe also received the Message at approximately 25 to 30 ACN

            meetings he attended every two weeks throughout late 2014 to late 2015 at

            two hotels in Los Angeles, during which ACN DVDs prominently

            featuring Trump’s endorsement were played.




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              G.      Plaintiff Loe also received the Message at ACN conferences in 2015 in

                      Palm Springs, California; Cleveland, Ohio; and Detroit, Michigan, during

                      which videos featuring Trump conveying the Message were prominently

                      displayed.

              H.      Around mid-2016, Plaintiff Roe received the Message by watching video

                      of Trump from an episode of The Celebrity Apprentice featuring ACN.

                      The Message was repeated in and augmented by other clips featuring

                      Trump’s promotion and endorsement of ACN.

              I.      Around mid-2013, Plaintiff Moe received the Message by watching a

                      promotional video prominently featuring Trump at an event held in a

                      Pennsylvania hotel. The Message was repeated in and augmented by other

                      clips featuring Trump’s promotion and endorsement of ACN.

       493.   As set forth in this Complaint, Defendants knew or, by exercise of reasonable care

should have known that the statements regarding the property and services of Investments ACN

were false and misleading. The statements referenced above, which Defendants disseminated to

the public, were likely to deceive a reasonable consumer and therefore were material.

       494.   As set forth in this Complaint, Defendants intended that consumers rely on the

false and misleading representations that they disseminated regarding the property and services

of ACN.

       495.   Plaintiffs and class members invested their money in ACN as a direct result of,

and in reliance on, the false and misleading representations disseminated by Defendants.

       496.   Had Defendants not been complicit and had they not bolstered and furthered the

deception of consumers, Plaintiffs and class members would not have been injured. Thus,




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Plaintiffs’ and class members’ injuries were directly and proximately caused by Defendants’

conspiracy and making and dissemination of untrue or misleading statements and representations

of property or services to members of the public in violation of the law.

        497.    Plaintiffs and class members are entitled to equitable relief and damages in an

amount to be proven at trial.

COUNT EIGHT:             Common Law Negligent Misrepresentation

        498.    Plaintiffs incorporate by reference all preceding paragraphs and re-allege them as

if set forth fully herein.

        499.    As alleged herein, Defendants negligently made material misrepresentations of

fact regarding the nature of ACN. Defendants’ misrepresentations were furnished for the

purpose of influencing Plaintiffs’ and class members’ financial choices (and ultimately inducing

them to invest in the Endorsed Entities’ business opportunities and training programs).

        500.    As alleged herein, Defendants negligently made false representations of material

fact regarding the nature of the ACN business opportunities, namely: (1) that prospective

investors would have a reasonable probability of commercial success if they bought into the

ACN business opportunities; (2) that Trump was endorsing and promoting the ACN business

opportunities because he believed that they offered a reasonable probability of commercial

success (rather than because the Trump Enterprise was being paid); and (3) that Trump’s

endorsement was predicated on extensive due diligence, experience, and/or access to inside

information about the ACN business opportunities.

        501.    On or about the dates set forth below, Plaintiffs received the following negligent

misrepresentations Trump:




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      A.    In mid-to-late 2014 at an ACN recruitment meeting in Los Angeles,

            Plaintiff Doe viewed an ACN DVD in which Trump delivered the

            Message directly to viewers. The Message was repeated and augmented

            by clips of ACN’s appearance on The Celebrity Apprentice, which

            Plaintiff Doe also viewed.

      B.    Plaintiff Doe also received the Message at ACN meetings she attended

            every two weeks throughout late 2014 to late 2015 at two hotels in Los

            Angeles, during which ACN DVDs prominently featuring Trump’s

            endorsement were played.

      C.    Plaintiff Doe also received the Message at ACN conferences in 2015 in

            Cleveland, Ohio and Detroit, Michigan, during which videos featuring

            Trump conveying the Message were prominently displayed.

      D.    Plaintiff Doe also received the Message from reading Trump’s statements

            and images in Success from Home and Success magazines throughout the

            relevant period.

      E.    In mid-2014 at an ACN recruitment meeting in Los Angeles, Plaintiff Loe

            viewed an ACN DVD in which Trump delivered the Message directly to

            viewers.

      F.    Plaintiff Loe also received the Message at approximately 25 to 30 ACN

            meetings he attended every two weeks throughout late 2014 to late 2015 at

            two hotels in Los Angeles, during which ACN DVDs prominently

            featuring Trump’s endorsement were played.




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              G.      Plaintiff Loe also received the Message at ACN conferences in 2015 in

                      Palm Springs, California; Cleveland, Ohio; and Detroit, Michigan, during

                      which videos featuring Trump conveying the Message were prominently

                      displayed.

              H.      Around mid-2016, Plaintiff Roe received the Message by watching video

                      of Trump from an episode of The Celebrity Apprentice featuring ACN.

                      The Message was repeated in and augmented by other clips featuring

                      Trump’s promotion and endorsement of ACN.

              I.      Around mid-2013, Plaintiff Moe received the Message by watching a

                      promotional video prominently featuring Trump at an event held in a

                      Pennsylvania hotel. The Message was repeated in and augmented by other

                      clips featuring Trump’s promotion and endorsement of ACN.

       502.   As set forth in this Complaint, Defendants intended that consumers rely on the

false and misleading representations that they disseminated regarding the property and services

of ACN.

       503.   Defendants had no reasonable grounds for believing that the misrepresentations

were true and failed to exercise reasonable care and/or diligence in communicating the

misrepresentations. Defendants’ misrepresentations were material to the reasonable consumer,

and therefore reliance upon such representations may be presumed as a matter of law.

       504.   Had Defendants not been complicit and had they not bolstered and furthered the

deception of consumers, Plaintiffs and class members would not have been injured. Thus,

Plaintiffs’ and class members’ injuries were directly and proximately caused by Defendants’




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conspiracy and making and dissemination of untrue or misleading statements and representations

of property or services to members of the public in violation of the law.

        505.    Plaintiffs and class members are entitled to equitable relief and damages in an

amount to be proven at trial.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray that this Court:

        A.      An order certifying this case as a class action pursuant to Federal Rule of Civil

Procedure 23;

        B.      A judgment declaring that Defendants have committed the violations of law

alleged in this case;

        C.      Award actual, compensatory, statutory, consequential damages;

        D.      Award punitive and treble damages;

        E.      Award equitable monetary relief, including restitution and disgorgement of all ill-

gotten gains, and the imposition of a constructive trust upon, or otherwise restricting the

proceeds of Defendants’ ill-gotten gains, to ensure an effective remedy;

        F.      Award Plaintiffs the costs of this action, including reasonable attorneys’ fees and

expenses and expert fees;

        G.      Enjoin Defendants from continuing to falsely market and advertise, conceal

material information from the public, and commit unlawful and unfair business acts and

practices; and order Defendants to engage in a corrective notice campaign;

        H.      Award declaratory relief;

        I.      Award pre-judgment and post-judgment interest at the highest rate allowed by

law; and

        J.      Grant such further relief as this Court may deem just and proper.


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                                 JURY DEMAND

Plaintiff demands a trial by jury on all claims so triable as a matter of right.




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Dated: January 31, 2019              Respectfully submitted,




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